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                               Exhibit 3

Transcript from Day 1 of Elaine Dowling’s testimony, August 13, 2020
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                                                                 Page 1
      THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION



      In the Matter of:                         )

                                                )

      POTENTIAL MISCONDUCT RELATING TO          )   File No.    GC-0813

      DISBARRED ATTORNEY                        )



      WITNESS:    Elaine Dowling

      PAGES:      1 through 305

      PLACE:      Securities and Exchange Commission

                  100 F Street NE

                  Washington, D.C. - WebEx

      DATE:       Thursday, August 13, 2020



              The above-entitled matter came on for hearing,

      pursuant to notice at 10:42 a.m. EST.




              Diversified Reporting Services, Inc.

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 1   APPEARANCES:                                            1          C O N T E N T S(CONT.)
 2                                                           2
 3   On behalf of the Securities and Exchange Commission:    3   EXHIBITS: DESCRIPTION                  IDENTIFIED
 4     ERIC REICHER, ESQ.                                    4   818   E-mail from Jeremy Davey            218
 5     KAREN SHIMP, ESQ.                                     5   819 A 10-K for Cyclone Power              221
 6     Securities and Exchange Commission                    6   819   E-mail dated 7/25/17             222
 7     Division of Enforcement                               7
 8     100 F Street NE                                       8
 9     Washington, D.C.                                      9
10     (202)551-4529                                        10
11     reichere@sec.gov                                     11
12                                                          12
13   On behalf of the Witness:                              13
14     ROBERT CARDWELL, ESQ.                                14
15     Robert L. Cardwell & Associates                      15
16     2360 Corporate Cir #425                              16
17     Henderson, NV 89074                                  17
18     (702)789-7026                                        18
19                                                          19
20                                                          20
21                                                          21
22                                                          22
23                                                          23
24                                                          24
25                                                          25


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 1            CONTENTS                                       1          PROCEEDINGS
 2                                                           2         MR. REICHER: Why don't we go on the
 3   WITNESS                      EXAMINATION                3   record. Are you ready? Do you swear or affirm to
 4   Elaine Dowling                   5                      4   tell the truth, the whole truth, and nothing but
 5                                                           5   the truth.
 6   EXHIBITS: DESCRIPTION                 IDENTIFIED        6          MS. DOWLING: Yes.
 7   A     Form 1662                    6                    7   Whereupon,
 8   B     Subpoena                    7                     8                ELAINE DOWLING
 9   C    Subpoena for documents              8              9   was called as a witness and, having been first
10   C-1    Subpoena to law firm             8              10   duly sworn, was examined and testified as follows:
11   52    E-mail from Hackman to Kimds          77         11              EXAMINATION
12   44    E-mail to Tommy B                98              12         BY MR. REICHER:
13   121 A E-mail string dated 2/28/17         124          13     Q Please state your full name and spell your
14   811 A E-mail dated 8/28/19             170             14   name, for the record.
15   815    Venmo payments                 173              15     A Elaine Dowling, E-L-A-I-N-E, Dowling,
16   811    Letter from Chris Martin        175             16   D-O-W-L-I-N-G.
17   811 B Venmo refund statement              176          17      Q Do you have a middle name or initial?
18   703    Celexus Inc. transfer journal 178               18      A Alexandra.
19   931    Issuance resolution          179                19      Q Can you just spell that, please?
20   929    Telupay Internation Resolution 180              20      A A-L-E-X-A-N-D-R-A.
21   930    5/17/19 opinion letter        192               21      Q My name is Eric Reicher. With me is my
22   162    E-mail                   196                    22   colleague Karen Shimp. We are both officers of
23   163    E-mail string dated 10/15/18 199                23   the Commission for the purposes of this
24   163 A Attachment to Exhibit 163           200          24   proceeding. This is an investigation by the
25                                                          25   United States Securities and Exchange Commission



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 1   in the matter of potential misconduct relating to          1      Q I'll scroll down. So now that you've had
 2   a disbarred attorney to determine whether there            2   a chance to see it, is that the subpoena to which
 3   have been violations of certain provision of the           3   you're appearing?
 4   federal securities laws, including SEC rules.              4     A I believe so. Yes.
 5         However, the facts developed in this                 5      Q Then let me -- I'm going to pull up what's
 6   investigation might constitute violations of other         6   been marked as Exhibit C and this -- is this --
 7   federal, civil, or criminal laws.                          7   I'll scroll so you can see it a little better. Is
 8          Prior to the opening of the record, you             8   this a subpoena for documents that we sent to you
 9   have been provided a copy of the formal order of           9   in September of 2019?
10   the investigation in this matter. It will be              10      A I believe so.
11   available for your information during the course          11       Q Let me -- very quickly, Exhibit C-1, which
12   of this proceeding. Ms. Dowling, have you had an          12   is a copy of the substantially similar subpoena
13   opportunity to review the formal order?                   13   that we sent to your law firm in September of
14     A Yes.                                                  14   2019?
15      Q Prior to the opening of the record, you              15      A As far as I can tell.
16   were provided with a copy of the Commission               16         (Reporter interruption.)
17   Supplemental Information Form. We sometimes refer         17           BY MR. REICHER:
18   to it as the 1662. A copy of that notice has been         18      Q I'm going to -- Exhibit C and C-1
19   marked as Exhibit A, and that's actually up on the        19   essentially ask for the same documents. Are you
20   screen right now.                                         20   comfortable if I discuss the subpoena
21      A Okay.                                                21   collectively?
22      Q Have you had the opportunity to read                 22      A Yes.
23   Exhibit A?                                                23     Q Have you tendered to the staff all
24     A Yes.                                                  24   documents called for by the subpoena in C and C-1?
25      Q Do you have any question concerning this             25        MR. CARDWELL: Well, let me just interject


                                                      Page 7                                                     Page 9
 1   notice?                                                    1   there. As far as the subpoena is concerned, the
 2      A No, not at this time.                                 2   document request, obviously, we've been going
 3      Q Ms. Dowling, are you represented by                   3   through that. So I think we sent you everything
 4   counsel?                                                   4   per the agreement we have with you guys. So I'm
 5      A I am.                                                 5   not going to -- I don't want to discuss specific
 6        MR. REICHER: Counsel, could you please                6   elements of the subpoena here. We've already done
 7   identify yourself?                                         7   that.
 8          MR. CARDWELL: Yes, Robert Cardwell.                 8           BY MR. REICHER:
 9         MR. REICHER: Could you just provide your             9      Q I'd like to -- Ms. Dowling, do you believe
10   firm name, address, and telephone number?                 10   that you have produced all documents called for by
11         MR. CARDWELL: You can use my cell number,           11   the subpoena?
12                . The firm name is Cardwell &                12      A Aside from those that I objected to
13   Associates, actually Robert L. Cardwell &                 13   producing, yes.
14   Associates, and it's located at 2360 Corporate            14      Q What are the documents that you objected
15   Circle, Suite 425, Henderson, Nevada 89047.               15   to producing?
16         MR. REICHER: Mr. Cardwell, are you                  16         MR. CARDWELL: The prior -- I think we've
17   representing Ms. Dowling as her counsel today?            17   already been through this, guys.
18         MR. CARDWELL: Correct. My Nevada bar                18         MR. REICHER: Mr. Cardwell, can I -- can
19   number is 8395. My California number is 121986.           19   Ms. Dowling please answer.
20        MR. REICHER: Okay. Thank you. I have                 20        MR. CARDWELL: Well, can you please
21   pulled up and you should be able to see what's            21   address my point? I mean, we're -- we're here --
22   been marked as Exhibit B. This is -- is this a            22   she's here to give you her oral testimony today.
23   copy of the subpoena pursuant to which you're             23   You and I have been around the world on this
24   appearing here today?                                     24   subpoena and producing these documents.
25      A I believe it is.                                     25           So I mean, I'll let her answer the



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 1   question, but as long as it's understood on the       1   and I'll make clear on the record here, that the
 2   record that we all know what documents were           2   texts that we would be asking for are purely
 3   produced, and we all know what objections were        3   work-related texts, not personal matters. Only
 4   raised. And so when you say did you produce           4   texts that are related to work done at the EAD Law
 5   everything called for by the subpoena, well, we       5   and work done at EAD Law related to securities
 6   produced everything called for by the subpoena        6   laws.
 7   supplemented by the agreements we have with you       7          So if it were something entirely unrelated
 8   about what's been produced. That she can answer.      8   to securities issues, some insurance defense
 9          MR. REICHER: And to make sure we have it       9   matter, for example, that wouldn't be called for.
10   all clear, on the same page, on the record,          10          If they were private texts to Ms.
11   because other than text messages, I don't have       11   Dowling's family member, or to anyone else that
12   anything else.                                       12   had nothing to do with the practice of securities
13          MR. CARDWELL: Well, first of all, the         13   law, they would not be called for. The only thing
14   text messages were -- they're still a question of    14   we have asked for or would be asking for are
15   whether they were called for by the subpoena. I      15   work-related texts.
16   would maintain they're not, but I agree with you     16          MR. CARDWELL: I understand what you're
17   no texts have been agreed to one way or the other    17   saying and to your credit, you have said that
18   and no text have been produced.                      18   before. All I'm saying is I would have to look at
19          MR. REICHER: Okay. And we did discuss         19   the subpoena and also, you've got to understand,
20   whether texts were called for by the subpoena. It    20   with hundreds of thousands of text messages, each
21   was my understanding, Mr. Cardwell, that you were    21   and every one would have to be analyzed before it
22   not taking the position that they weren't, even      22   was determined to be whether it was producible or
23   though you said you thought you could. To obviate    23   not.
24   the need for this, when we're done with this, I'm    24          So you really are -- aside from the
25   going to issue a supplemental subpoena that makes    25   substantive, you really are talking about a


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 1   very clear texts are covered.                         1   serious task. But in any event, you're gonna send
 2          What is your -- assuming that I issue a        2   a subpoena, send a subpoena, and then we'll go
 3   supplemental subpoena where there's no question       3   from there.
 4   that texts are covered and asked for by the           4           MR. REICHER: Other than the texts, are
 5   subpoena, will those be produced to us?               5   there other categories of documents that have been
 6          MR. CARDWELL: It's going to depend on          6   withheld?
 7   what the subpoena says, for one thing. And, you       7           MR. CARDWELL: Other than what we've
 8   know, I have bearing feelings about text messages.    8   discussed? I don't think so.
 9   I think they're highly private. It would be           9           MR. REICHER: No, I'm not -- when you say
10   extremely overburden and difficult for many          10   what we've discussed, I'm unaware of other things.
11   reasons because there are all kind of context        11   There's been back and forth regarding -- you know,
12   issues with stuff like that.                         12   there have been some times of trying to find
13          It's just -- there are all kinds of           13   e-mails and recover archives, but it is my
14   irrelevant text that have nothing to do with the     14   understanding, and if I'm wrong please correct me,
15   practice of law or any kind of work related          15   that other than the text messages, Ms. Dowling now
16   whatsoever and they are private. And I think         16   believes she has produced everything she has. So
17   the -- at the end of the day, the investigation is   17   if that's not correct, then I'd like that
18   going to have to really lay out some offer of        18   clarified now.
19   proof as to why something like that would be         19           MR. CARDWELL: Other than what was
20   something that's necessary in this investigation.    20   objected to and what we discussed, she can answer.
21   Having said that, I would have to be -- having       21       A Yeah. In so far as I'm aware, everything
22   said that, we have to respond to the subpoena        22   that we have, and understanding that we would be
23   appropriately, so we'll do that.                     23   producing pursuant to the subpoena, has been
24          MR. REICHER: I don't want to spend too        24   produced.
25   much time with this, but I've made clear before      25           MR. CARDWELL: And more and more.


4 (Pages 10 to 13)
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 1         THE WITNESS: A lot more.                            1   and then for your e-mails, the search that you
 2         MR. REICHER: I just want to make sure               2   just mentioned with the list that you did e-mail
 3   we're clear. What are the things that we've               3   me, would this have been done at the
 4   agreed to not be produced?                                4   EAD@EADlawgroup@gmail.com address or at the --
 5         MR. CARDWELL: I'm not going through every           5      A I think it was done for both.
 6   element in that subpoena with you, Eric. We've            6      Q It was done for both.
 7   already done that. We did file a written                  7      A I believe so. Yes.
 8   response. There were objections raised to certain         8      Q It was only done with -- for both it was
 9   categories, and we ultimately produced what we all        9   done for the search terms that you e-mailed?
10   agreed that we needed to produce at least for the        10     A I believe so. Yes.
11   time being. I know you want texts, but I'm not           11      Q As far as for Shawn@EADlawgroup.com, am I
12   going to go through every element of the subpoena.       12   understanding, frankly, that you believe you
13   We've done that. She's here to give her live             13   produced everything that you have for that?
14   testimony today.                                         14      A To the best of my knowledge, it was a
15         MR. REICHER: It's completely fair in an            15   nightmare, quite frankly, trying to get everything
16   investigation or litigation to discuss document          16   produced but to the best of my knowledge.
17   production. My understanding is that you haven't         17      Q Have any documents called for by the
18   produced things that aren't relevant such as             18   subpoena not been produced based on a claim of
19   personal matters, or in some cases not -- we             19   privilege?
20   haven't asked for things unrelated to securities         20          MR. CARDWELL: Other than what's already
21   laws, although I know some of that has not been          21   been raised and discussed. No. But you've got to
22   produce and that's fine.                                 22   answer that, not me. Sorry.
23         MR. CARDWELL: Correct.                             23      A Right, I mean, so I'm not waiving any
24         THE WITNESS: Uh-huh.                               24   privilege that, you know, that I have, but I
25         MR. REICHER: Other than that, I'm not              25   produced -- I mean, I told you what I produced.


                                                    Page 15                                                         Page 17
 1   aware of other categories that have not been              1   So I produced all of Shawn@EAD. I produced Shawn
 2   produced.                                                 2   -- all of Shawn@gmail. I produced those documents
 3      A From -- here's the confusion. I'm really             3   from EAD@EADlawgroup that were relevant, in my
 4   not trying to be difficult about this, but we had         4   opinion, to the subpoena, as well as probably a
 5   discussed EADs e-mails, meaning immediate EAD Law         5   bunch of documents that I claim still are
 6   Firm e-mails. So I haven't produced my entire             6   privileged and that are completely irrelevant.
 7   inbox, but I did searches for certain companies           7   That's pretty much the best I can answer your
 8   which would be securities related or securities           8   question.
 9   filings related. Those were produced.                     9         BY MR. REICHER:
10         BY MR. REICHER:                                    10      Q I understand that. The question is a
11      Q Okay. In terms of for your inbox, you did           11   little different. I understand that you're not --
12   searches to try to find things that were tied to         12   you're saying you haven't waived anything.
13   securities laws?                                         13   Understanding, have you withheld anything based on
14      A Yes, sir.                                           14   privilege?
15      Q What search terms did you use for those             15         MR. CARDWELL: You know, to be honest with
16   searches?                                                16   you, that may -- I better answer that question,
17      A Off the top of my head, I do not know. I            17   because there -- in the initial -- as you guys
18   think they were provided in an e-mail.                   18   know, literally because you went through it with
19      Q Now, right, you did provide me an e-mail,           19   her, with us, ultimately documents were produced
20   and then I provided additional search terms. Were        20   without any real serious review, without any
21   there any additional searches done based on those        21   waiver so that you could get them because it was
22   search terms?                                            22   taking so long.
23      A No, I just wound up producing all of                23         And also there were serious technical
24   Shawn@EAD, all of the e-mails.                           24   problems getting them. However, the initial
25      Q So for Shawn@EAD, you produced everything,          25   production that was sent to you, I had gone



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 1   through every single e-mail. And if I saw             1         MR. CARDWELL: Okay. Because we have
 2   something that was completely irrelevant or           2   discussed it before. So I don't see why we're
 3   something that was potentially privileged and for     3   doing it -- I'm not sure why we're doing it now.
 4   the most part relating to something other than the    4         BY MR. REICHER:
 5   SEC, I did remove it.                                 5      Q Okay. Do you know of any documents
 6          There were too many to make a log, but I       6   responsive to the subpoena but not provided that
 7   will say this also. Since that time, so many          7   were in your possession at a prior time that were
 8   documents have been produced; I got a feeling you     8   once destroyed or otherwise disposed of?
 9   got all those, too. So I can't give you, as we        9      A I'm sorry. I'm afraid I don't understand.
10   sit here right now, a list of things that were       10      Q Okay. I've never -- this is one of our
11   withheld. You actually know -- you actually know     11   form questions. I don't like that either. Were
12   what I did when I went through that first set.       12   there any documents that would be responsive to
13   So --                                                13   our subpoena that you don't have at this juncture
14          MR. REICHER: Well, this is the first --       14   because they were lost or destroyed or anything
15          MR. CARDWELL: That's the best answer          15   like that?
16   you're going to get, Eric.                           16      A It's entirely possible but I don't know.
17          MR. REICHER: I understood that you had        17   So I can't tell you exactly what those documents
18   gone through and kept out irrelevant things. I       18   would be.
19   did not know that you had taken out things that      19      Q Do you have any -- did you use at some
20   you thought were privileged and simply hearing       20   point a computer. Do you have any particular
21   that there are voluminous -- is something we'll      21   reason to think that there were documents that you
22   have to press, because --                            22   had at one point that you don't have now?
23       A I think actually that I've produced            23      A Not of particular, no.
24   documents that I do -- so I haven't withheld         24      Q Let's do some other preliminaries. Is
25   documents that I believe to be related to            25   there any reason you can't fully testify today?


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 1   securities matters. I have not withheld any           1      A No.
 2   documents that I'm otherwise -- I still maintain      2      Q For example, have you had any drugs or
 3   are privileged, I have produced them --               3   alcohol this morning?
 4          BY MR. REICHER:                                4      A Did you say this weekend?
 5      Q I understand that.                               5      Q No. This morning?
 6      A -- just from those search terms that I           6      A No.
 7   did. So putting Shawn's e-mails aside --              7      Q I'm not asking specifics, but to the
 8      Q Ms. Dowling, is it your understanding that       8   extent that you take any medication regularly,
 9   your counsel, at least from the first production,     9   have you taken whatever medication you do take?
10   took out some e-mails not because they weren't       10      A I don't take any medication.
11   relevant but because they were privileged?           11      Q Is there anything that would affect your
12      A It's not my understanding.                      12   memory today or any reason -- let me just ask is
13          MR. CARDWELL: Here's what you have to         13   there anything that would affect your memory
14   understand. When I say "privileged," they could      14   today?
15   be both not relevant and privileged. Okay.           15      A No.
16          MR. REICHER: If they're not relevant, I       16      Q Do you understand that even though we're
17   don't care. So if they were not relevant and         17   doing this via WebEx, we're under rules just as if
18   privileged, fine. But not relevant alone, I don't    18   we would be if we were sitting in the same room
19   want them. Were there otherwise relevant             19   together?
20   documents that you withheld because of privilege?    20      A Understood.
21          MR. CARDWELL: Could be but I have a           21      Q And I just want to do a few things given
22   feeling, as I said, they were ultimately all         22   that this is a WebEx. Can you confirm that you
23   produced.                                            23   won't take any screenshots of any exhibits that we
24          MR. REICHER: Well, we'll discuss this         24   put up today?
25   further off the record.                              25      A Yes.


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 1          MR. REICHER: And Mr. Cardwell, can you         1   certainly reserve the right to that.
 2   confirm the same?                                     2          MR. REICHER: Well, I was talking about on
 3          MR. CARDWELL: Yes. I will not take any         3   the record.
 4   screen printouts.                                     4          MR. CARDWELL: I am, too. I mean, I'm
 5          BY MR. REICHER:                                5   taking notes here. She's taking notes here.
 6      Q And when I say screenshots, I mean               6   Sure.
 7   recording in any way; screen printouts, using your    7          I would do nothing different than if we
 8   phone, any sort of mechanism to, in essence, make     8   were all in the same room. I can tell you that.
 9   a copy or partial copy of an exhibit; is that         9          MR. REICHER: But if you pass her a note
10   understood?                                          10   right in the middle of questioning, in the room we
11          MR. CARDWELL: That is understood. We          11   would be able to see that. Here we probably
12   will not be doing that.                              12   won't.
13          BY MR. REICHER:                               13          MR. CARDWELL: No, you would not be able
14      Q Ms. Dowling, you agree as well?                 14   to see that. That would be privileged. For all
15      A Yes.                                            15   you know it says what kind of pizza do you want
16      Q And obviously, if you're in the same room,      16   for lunch, and the only thing I can do is
17   we could see each other. Now, Ms. Dowling, I can     17   acknowledge to you that as a bar member in two
18   see you. Rob, I can see a tiny, small piece of       18   states for 35 years, I've never coached a witness,
19   your shoulder.                                       19   never would coach a witness, and that's what
20          MR. CARDWELL: Hi there.                       20   you're going to get.
21          MR. REICHER: It's more important to have      21          BY MR. REICHER:
22   Ms. Dowling any way.                                 22       Q And Ms. Dowling, you agree that you will
23          MR. CARDWELL: I know. She looks better,       23   not accept coaching in any way or any --
24   doesn't she?                                         24       A Yes. I agree that I will not accept
25          MR. REICHER: That was not what I was          25   coaching.


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 1   saying.                                               1          MR. CARDWELL: Believe me, she won't. You
 2          MR. CARDWELL: I'm not exactly eye candy.       2   try and coach her. See how that works.
 3          THE WITNESS: Thanks.                           3          THE WITNESS: Also, can I ask a question
 4          MR. REICHER: You see the beard I'm             4   also, sort of digitally related here? Can you see
 5   sporting at the moment.                               5   everything on my screen because I'm noticing that
 6          BY MR. REICHER:                                6   the way that my e-mail populates, it actually
 7       Q All joking aside. Will you both confirm         7   comes up on my screen on the side, so I just don't
 8   that you won't communicate with each other            8   want you guys reading my e-mails?
 9   separate and apart -- obviously, when we're off       9          MR. REICHER: The only screen that can be
10   the record, that's different -- but in terms of      10   seen is my screen because I'm sharing it. I can
11   when we're on the record, that you won't             11   see you, I can see the blinds, and at times I can
12   communicate with each other via passing notes,       12   see Mr. Cardwell's shoulder.
13   nodding heads, or anything else that might           13          THE WITNESS: Okay. All right.
14   indicate how to testify?                             14          MR. REICHER: That's all I can see.
15          MR. CARDWELL: Let me say something about      15          MR. CARDWELL: And since we know that's
16   that. The answer is that we will agree, and I        16   happening now, I'll confirm to you that there's --
17   have discussed this with her and we both know        17   there are no e-mails coming to you or anything
18   this. We've been -- I've been doing this for 35      18   that she'll be reading or referring to in any way
19   years. So I don't coach my witnesses. I don't        19   during the testimony and neither will I.
20   prompt my witnesses.                                 20          THE WITNESS: It's just my work e-mails
21          However, I certainly can't agree not to       21   coming through.
22   communicate with her in any form I want. The only    22          BY MR. REICHER:
23   thing that I can agree to do is not to coach her,    23       Q Understood. And can you confirm there's
24   feed her answers in any way, which I would never     24   nobody else in the room with you?
25   do, never have done. But communication, I            25       A No one else.



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 1          MR. CARDWELL: Currently, there's no one        1   indicate it's some other person?
 2   else in the room. I can't guarantee that that         2      A Yes.
 3   will be the case all day but probably.                3     Q Otherwise, I'll just assume Gewerter means
 4          MR. REICHER: Okay.                             4   Harold Gewerter.
 5          MR. CARDWELL: Now if someone else is in        5      A We can make that assumption.
 6   the room, there's someone un -- completely            6      Q Same thing with if I refer to Mr. Hackman,
 7   unrelated to this, not a lawyer or anything.          7   can we assume it's Shawn Hackman?
 8   Could be a family member, could be --                 8      A Yes.
 9          MR. REICHER: Are we doing this from            9      Q So you went to interview with Mr. Gewerter
10   Mr. Cardwell's home or Ms. Dowling?                  10   in approximately 2014?
11          MR. CARDWELL: My home.                        11       A I'm -- yeah, I'm a little bit confused if
12          MR. REICHER: I don't need the address.        12   it was '13 or '14, but I believe it's '14.
13   What city and state is it?                           13     Q So prior to that point, had you heard of
14          MR. CARDWELL: It's Henderson, Nevada.         14   Mr. Hackman in any way?
15   Both my office and home are in Henderson, Nevada.    15      A No.
16          BY MR. REICHER:                               16      Q Can you briefly -- how did you come to
17      Q In terms of -- and I know you guys have         17   interview with Mr. Gewerter?
18   both -- you've done this a lot. But if there's       18      A If memory serves, I settled a case with
19   any point that you don't understand me or don't      19   him in a litigation matter. We became friendly.
20   understand the question I'm asking, will you         20   I think we just became friendly. He was going to
21   please ask me to repeat or clarify?                  21   do some sort of will or something like that for me
22      A Will do.                                        22   and he said he could use another attorney, so I
23      Q If -- so if you don't ask me to repeat or       23   came in to meet him in person.
24   clarify, I'm going to assume that you've             24     Q Did you meet Mr. Hackman after the
25   understood the question. Is that fair?               25   in-person interview?


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 1      A Sure.                                            1      A Not as I recall, no.
 2      Q And let me finish a question before you          2        (Reporter interruption.)
 3   answer. Obviously -- you may not realize but we       3         MR. REICHER: I will go back a little from
 4   can start with that. Does that make sense?            4   the computer, but this is the computer I've set up
 5      A Sure.                                            5   on previously.
 6      Q And Karen and I control the record which         6      (An off-the-record discussion was held.)
 7   means we're the only ones that can ask the            7         MR. REICHER: Let's -- so we're back on at
 8   reporter to go off the record, but if you need a      8   11:15.
 9   break, just let me know.                              9         BY MR. REICHER:
10      A All right.                                      10      Q So you mentioned that you didn't meet Mr.
11      Q And again, we'll try to do that. When is        11   Hackman at the first interview. When, to the best
12   the first time you met -- and here I mean it can     12   of your recollection, did you meet Mr. Hackman the
13   be in person, phone call, e-mail, what have you --   13   first time?
14   Shawn Hackman?                                       14       A I honestly don't know for certain that it
15       A So you're going to find this out. I'm so       15   was when I first interviewed. I can't remember.
16   terrible with dates. I want to say the first time    16   I'm sorry. What was the question?
17   I met him would have been some time in 2014 maybe    17      Q So I guess did you start -- let me ask it
18   when I went to interview with Harold Gewerter.       18   differently. Did you start at Mr. Gewerter's firm
19     Q We're obviously going to talk a lot about        19   relatively soon after your interview?
20   Mr. Gewerter, Mr. Hackman. Today, if I refer to a    20      A I think so. I think it was a few weeks.
21   Mr. Gewerter, can you understand that to be Harold   21     Q Once you had started at the firm, did you
22   Gewerter?                                            22   meet Mr. Hackman some time in a relatively early
23     A Yes.                                             23   enough time period?
24      Q If at any point there is another Gewerter       24      A Sure. Yes.
25   that would be relevant, will you specifically        25      Q What was your understanding of Mr.



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                                                   Page 30                                                      Page 32
  1   Hackman's role at the Gewerter firm?                    1   put it this way, I knew that he had been in
  2     A That he was a legal assistant.                      2   trouble with the SEC, but I just knew he wasn't to
  3      Q How was that --                                    3   practice law as an attorney.
  4      A Pardon.                                            4       Q When he was still licensed to practice
  5      Q How was the fact that he was a legal               5   law, what was your understanding of his practice
  6   assistant conveyed to you?                              6   area?
  7      A I honestly don't know.                             7       A I missed the first part of what you said.
  8      Q Let me ask you, do you view legal                  8       Q When he was still licensed, before his
  9   assistant and paralegal differently, or are they        9   disbarment, what was your understanding of what
 10   more or less interchangeable?                          10   area of law he practiced?
 11      A I use them interchangeably.                       11       A Honestly, I don't know if I truly had an
 12      Q Do you remember, did he have a business           12   understanding, but I presumed that it was
 13   card that indicated that he was a legal assistant?     13   something securities related because he had been
 14      A I can't remember what his business card           14   in trouble with the SEC.
 15   said. I know he had one.                               15       Q Were there any other reasons for you to
 16      Q Did you know that he had been an attorney?        16   have any assumptions on what area of law he
 17      A Yes. I learned that at some point. Yes.           17   practiced while licensed?
 18      Q Do you think you learned that relatively          18       A Not really. I mean, it may have been
 19   early in your time knowing him?                        19   mentioned that he did securities work. I knew he
 20      A I think so.                                       20   was very knowledgeable about corporations
 21      Q Did you know that he had been disbarred?          21   generally.
 22      A Yes.                                              22       Q So I take it your general understanding
 23      Q Did you know that he had been suspended           23   was that he was a securities law/brokered
 24   from appearing and practicing before the SEC?          24   attorney?
 25      A Well, practicing before the SEC, I think I        25       A Something like that, yes.


                                                   Page 31                                                      Page 33
  1   was made aware of that some months into my time        1       Q What is your understanding of why Mr.
  2   with Harold. I couldn't tell you exactly when.         2    Hackman was disbarred?
  3   I -- for a while, I just knew he was disbarred. I      3      A At this time?
  4   didn't really know why.                                4       Q No, at the time of when you met him?
  5      Q Okay. So did you -- I understand that you         5       A At some point, I can't even remember how,
  6   learned fairly early on that he had been disbarred     6    I think I asked -- I think at some point I asked
  7   but then some period of time a decent bit later        7    Harold, like, what happened. And then at some
  8   that he had been suspended by the SEC?                 8    point, I read an article online.
  9          MR. CARDWELL: That's something                  9       Q Okay. So when you asked Mr. Gewerter what
 10   different -- I mean, sorry.                            10   happened, what did he tell you?
 11      A Yeah. So yes. I learned that he was not           11     A Generally speaking -- he said it had
 12   to practice law in any way.                            12   something to do with securities, but honestly, I
 13         BY MR. REICHER:                                  13   do not remember his wording; that he had gotten in
 14      Q Understood. I guess, was there any point          14   trouble with the SEC. But as to specifics, as to
 15   where in addition to his disbarment he had a           15   what he did, I really don't know.
 16   separate ban by the SEC?                               16      Q When you say you don't know, are you
 17      A Actually, I don't think I really knew             17   referring to at that time or are you referring,
 18   that.                                                  18   you know, sitting here today?
 19      Q Okay. I guess, prior to getting our               19     A So sitting here today, I'm still not
 20   subpoena in September last year, were you aware of     20   entirely sure what happened, but obviously, I've
 21   him having a separate SEC bar?                         21   read more to date.
 22     A Not really, other than that he was not to          22      Q Is that what you referenced the article
 23   practice law.                                          23   you read separate from your Gewerter conversation;
 24      Q Because of the disbarment?                        24   is that what you're referring to?
 25      A Right. Exactly. I mean, I knew -- let's           25       A I was referring to today. Meaning, today



                                                                                   9 (Pages 30 to 33)
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 1   I had a better understanding of what happened but     1   they're still practicing law.
 2   still, to be perfectly honest, I don't entirely       2     Q Do you know why it was dismissed?
 3   know the whole story.                                 3     A I don't want to tell you the wrong answer.
 4     Q This article you referenced, estimate --          4   Something in my head tells me that there was some
 5   and I know you won't be able to give me               5   sort of prosecutorial misconduct, but I could be
 6   necessarily the day exactly -- but roughly            6   confusing that with another situation, so I'm not
 7   speaking, when did you read that article?             7   sure.
 8      A Geez, I really, really don't know. Months        8      Q No, I understand and I appreciate you
 9   maybe into my employment there.                       9   giving me your understanding but mentioning --
10     Q And what was your best recollection of           10      A Right.
11   what that article said?                              11      Q Did you ever hear anyone sort of express
12     A I really don't remember. I Googled it and        12   that Mr. Hackman got somewhat of a bum rap and
13   it came out that he had been indicted. That other    13   that he was either the only or one of the only
14   people were charged with him and it was securities   14   people convicted in this matter?
15   related. That's about what I remember. And yeah      15      A Yes.
16   -- that's what I remember the article.               16      Q Did Mr. Hackman express that?
17      Q And then so was it your understanding           17      A Yes. He's not a man of many words, but
18   after reading that article that his disbarment had   18   yeah, that's the general impression I had from
19   something to do with his indictment?                 19   him, yes.
20     A Yes.                                             20      Q Do you have any idea whether Mr. Gewerter
21      Q And after the indictment, was Mr. Hackman       21   shared that impression?
22   ultimately either convicted or pled guilty?          22      A Yes, Harold did.
23     A So I understand it. Yes.                         23     Q I take it Mr. Gewerter conveyed that to
24     Q And so was it your understanding that his        24   you?
25   disbarment related to that conviction?               25     A Yes.


                                              Page 35                                                      Page 37
 1       A Yes, that's my understanding.                   1      Q Do you know, did that influenced at all,
 2       Q And I just want to make sure, so that was       2   Mr. Gewerter's willingness to hire Mr. Hackman
 3   your understanding after reading the article. Is      3   notwithstanding his criminal conviction?
 4   that still your understanding today?                  4      A You would have to ask him that.
 5       A As I understand it.                             5      Q Do you have any sense of that?
 6       Q So it relates to his criminal conviction?       6      A Not entirely, no.
 7       A As far as I know. I'm not with the state        7      Q Do you have any reason to believe that
 8   bar, but yeah, I'm assuming.                          8   there were any other factors that went into Mr.
 9       Q The conviction -- what do you know about        9   Hackman's disbarment?
10   that? I know you said it was securities related.     10      A Not really, no.
11   Do you know anything else?                           11      Q Do you have any reason to believe that
12       A So I guess what I understand about it is       12   there were other bar discipline relating to him?
13   that he was involved in or allegedly involved in     13      A No, not that I know of.
14   taking stock in some way in one of the companies.    14      Q Any reason to believe of any bar
15   And that one of the clients in the firm was doing    15   investigations or charges?
16   things he shouldn't have been doing and -- or        16      A Not that I know of.
17   allegedly so and that Shawn knew or should have      17      Q Any reason to believe that the bar ever
18   known that that was wrong and shouldn't              18   questioned his competency as an attorney?
19   have profited from it.                               19      A No, I don't.
20       Q Do you have any recollection of what -- I      20      Q Any reason to believe the bar ever
21   think you mentioned there were a number of other     21   questioned his diligence as an attorney?
22   people who were indicted. Do you have any            22      A No, I don't.
23   understanding of what happened to most or all of     23      Q Any reason to believe the bar ever
24   the other people in the case?                        24   questioned his communication with clients?
25       A I believe the case was dismissed and           25      A Don't know.


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  1     Q Any reason to believe that the bar ever            1   client funds, would that have made you less
  2   questioned whether he properly handled client          2   comfortable working in a law firm?
  3   funds?                                                 3       A I don't know. I mean, I'm really just not
  4      A I don't know.                                     4   sure. It would really be circumstantial.
  5      Q I take it you have no reason to believe           5           MR. CARDWELL: The hypothetical is a
  6   there were any issues along these lines?               6   little incomplete. I think you probably need to
  7      A I have no reason to believe it. I'm not           7   be a little bit more specific.
  8   saying it's not true. I just don't know.               8          BY MR. REICHER:
  9      Q But to your knowledge, there is nothing --        9      Q I'm just asking as somebody working in a
 10      A To my best knowledge.                            10   law firm, would it give you any pause if a fellow
 11      Q Today you're not aware of any other claims       11   employee --
 12   or allegations by the bar of misconduct by Mr.        12     A I suppose if he had access post-conviction
 13   Hackman when he was an attorney?                      13   to funds, that would concern me more. Yeah, but
 14     A Can you repeat that?                              14   he, of course, did not and would not, as far as I
 15      Q Are you aware of any other claims or             15   know.
 16   allegations by the bar about misconduct by Mr.        16      Q Okay. So --
 17   Hackman when he was a licensed attorney?              17      A He's not in a position to do this -- just
 18     A No.                                               18   to use your example, if he was accused of, you
 19     Q Did you have any concerns when you went to        19   know, misappropriating client funds and then he
 20   work at Mr. Gewerter's law firm that he was           20   continued to have involvement, you know, with
 21   employing a convicted felon?                          21   funds at that firm, it might concern me, but so
 22     A Did I have concerns about that?                   22   far as I know, that's not the case.
 23      Q Correct.                                         23     Q Okay. I just want to make sure. So
 24      A No.                                              24   you're saying at Gewerter's law firm, Mr. Hackman
 25      Q Why not?                                         25   did not have access to client funds?


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  1      A People make mistakes. So that's partially         1      A I actually don't know the answer to that,
  2   the reason. Like I said, it was also, kind of,         2   but I don't think so.
  3   conveyed to me that, you know, he got a bad deal.      3      Q I take it if somebody had access to client
  4   That he should have -- had he stayed on the case,      4   funds and a history of misappropriating client
  5   that he would still be practicing today.               5   funds, then that would raise a concern in your
  6      Q So you were more comfortable working with         6   mind?
  7   him because of the reasons that he was disbarred?      7        MR. CARDWELL: I'm just going to object on
  8     A Maybe. Someone being a convicted felon             8   the grounds that it's an incomplete hypothetical.
  9   doesn't make them a horrible person, in my view.       9   She can answer.
 10      Q Understood. Would you have felt                  10      A I mean, I don't know. I really don't. I
 11   differently if his conduct related to misconduct      11   can't tell you how I'd feel at that time.
 12   for clients of his?                                   12            BY MR. REICHER:
 13      A So you just broke up a little bit there.         13      Q You have your own firm now, correct?
 14      Q Sorry. Would you have felt differently if        14      A I have my own firm now?
 15   his misconduct related to clients of his.             15      Q Yes.
 16      A Maybe, I don't know --                           16      A Yes.
 17        MR. CARDWELL: I'm sorry, Eric. Hold on a         17      Q Would you, as the boss, be comfortable
 18   second. I guess I didn't get that. Did you say        18   having an employee who had misappropriated funds?
 19   bias or --                                            19        MR. CARDWELL: Same objection.
 20         THE WITNESS: A client.                          20      A Yes, if I had felt that they had
 21         MR. CARDWELL: A client?                         21   misappropriated funds.
 22         MR. REICHER: So let me give a different         22            BY MR. REICHER:
 23   an example.                                           23      Q And why would that concern you?
 24         BY MR. REICHER:                                 24       MR. CARDWELL: Can you repeat that? I'm
 25      Q If he had been accused of misappropriating       25   sorry.



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 1      Q I was asking Ms. Dowling to explain why          1      A Yes.
 2   she would have concerns about hiring someone who      2      Q Did Mr. Hackman assist you in any way with
 3   had a history of misappropriating funds?              3   any of these independent cases?
 4     A I might have a concern that they would be         4     A During the time of Gewerter Law?
 5   dishonest with me at some point.                      5      Q Correct.
 6      Q As a business owner, that would be a             6      A He might have done a couple of things for
 7   concern to you?                                       7   me, but I wouldn't say it would be on a regular
 8      A Yes.                                             8   basis.
 9         (Reporter interruption.)                        9      Q When you say cases, were these litigation
10         BY MR. REICHER:                                10   cases?
11      Q When you were hired by Mr. Gewerter, were       11      A I had a few litigation cases. I had a few
12   you an employee? Partner? Contractor?                12   criminal matters.
13      A I was -- I was paid as an independent           13      Q Did you have anything that was your own
14   contractor.                                          14   stuff that was securities related?
15      Q Did that change at any point in your time       15          MR. CARDWELL: I'm going to object to what
16   at Gewerter's firm?                                  16   you mean by "your own stuff". I'm not sure.
17      A No.                                             17         BY MR. REICHER:
18      Q So at some point, your name went on the         18      Q Let me clarify a little bit. Ms. Dowling
19   door and became at least as a d/b/a Gewerter &       19   indicated that she had some of her own -- she used
20   Dowling; is that right?                              20   the word "cases" -- that were separate from
21     A That's correct, yes.                             21   Gewerter Law. So I'm asking whether any of those
22      Q But I think you've told us -- I'll ask the      22   separate cases related to securities law issues?
23   question. Were you at any point to be a partner?     23       A I had some corporate stuff come to think
24     A No.                                              24   of it, but I don't know if I'd necessarily call
25      Q So at all points, you were simply an            25   them securities matters.


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 1   independent contractor of the firm?                   1      Q Did any of them relate to SEC filings?
 2      A Yes.                                             2      A No, not at that time. My separate cases
 3      Q Did you work full time at -- you know,           3   did not.
 4   actually, let me ask since -- I know at some point    4      Q How were you paid by Gewerter Law? And
 5   it was Gewerter and at some point it was Gewerter     5   what I mean by that is I know you were an
 6   & Dowling, but did anything actually change at how    6   independent contractor. Were you paid by salary?
 7   the firm was operated?                                7   Was it project based? How did that work?
 8      A No.                                              8    A He paid me pretty regularly the same
 9      Q Do you mind today if we just refer to it         9   amount. Sometimes he wouldn't pay me for a while
10   as Gewerter Law and that will encompass both when    10   but he would normally give me roughly the same
11   it was Gewerter & Dowling and when it was. I         11   amount.
12   think, Harold P. Gewerter Esquire Limited or         12     Q It may not have been a formally X amount
13   something to that effect?                            13   every month or two weeks, but roughly speaking, it
14     A Right. I think I'm okay with that.               14   worked out along those lines?
15      Q So then if I say Gewerter Law, it will          15      A Yes, I believe so.
16   encompass both periods, unless at any point you      16      Q How much were you paid by Mr. Gewerter?
17   think you need to distinguish, just let me know.     17          MR. CARDWELL: Eric, I'm going to object.
18   Okay?                                                18   I don't know what relevance that could possibly
19      A Sure.                                           19   have. I knew you were going to ask it. So I
20      Q So did you work at Gewerter Law full time?      20   think that gets into an area that's really
21      A I mean, I put in the hours that a               21   unnecessary and it's private, and obviously, I'm
22   full-time person might put in. I had some of my      22   representing an experienced lawyer here today. So
23   own cases as well.                                   23   my position is that she should not answer that
24      Q I see. So even while you were working at        24   question. She could overrule me, or she could
25   Gewerter Law, you had some independent cases?        25   follow my instructions.



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  1           THE WITNESS: I'll take the advice of                 1      Q And how did you supervise him?
  2    counsel.                                                    2      A Well, just in my, sort of, natural role as
  3           MR. REICHER: It's obviously not a                    3   an attorney at the firm, if something needed to be
  4    privilege issue. But the basis of your objection            4   filed, completed, argued in any way, obviously, I
  5    is relevance?                                               5   would have to be the one to do that, you know, to
  6           MR. CARDWELL: It's relevance, and it's a             6   review work and so forth.
  7    privacy issue.                                              7      Q Did you work with Mr. Hackman extensively
  8           MR. REICHER: Okay. That is not a valid               8   at Gewerter Law?
  9    basis not to answer. I will --                              9      A Yes.
 10           MR. CARDWELL: I got to tell you. I                  10      Q Going back a little bit to your time at
 11    mean --                                                    11   Gewerter Law, you mentioned that Mr. Gewerter was
 12           MR. REICHER: I'm not going to take the              12   looking for another attorney to join the firm; is
 13    time -- I will put on the record why it is                 13   that correct?
 14    relevant. But I'm not going to do this for                 14      A I mean, I think that's what he said.
 15    everything if we have lots of -- Mr. Hackman is            15   Yeah. Something along those lines.
 16    serving, from what we've been told, as a legal             16      Q Were there any other attorneys at the firm
 17    assistant.                                                 17   at the time?
 18           It is relevant to know what attorneys at            18       A Not -- so there -- I'm trying to just
 19    the firm were being paid to compare and contrast           19   remember if this individual was in the same
 20    to what Mr. Hackman was being paid because there           20   building as us at that time. But he did not work
 21    is clear difference in minimum salary from an              21   directly for Harold.
 22    attorney versus a paralegal. And it's perfectly            22      Q I take it did he sometimes assist on
 23    relevant to see how the firm treated their various         23   matters?
 24    employees.                                                 24     A I think he did from time to time.
 25           MR. CARDWELL: You got it on the record.             25      Q Do you know that person's name?


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 1    The only thing I was going to say to that is I               1      A Brian.
 2    understand the compare and contrast, but it's                2      Q What's Brian's last name?
 3    really not relevant and it's an unreasonable                 3      A Watkins.
 4    invasion of her privacy. That's not a reason to              4      Q What kind of work did Brian Watkins assist
 5    invade someone's privacy because you want to                 5   on?
 6    compare people's incomes. So at any rate, I'll               6     A I honestly don't know. I'm not even
 7    leave it at that so you can move on.                         7   entirely sure he helped Harold with all that much.
 8            BY MR. REICHER:                                      8   His involvement in the building at both places we
 9       Q You're refusing to answer my question?                  9   were together it was just almost like a social
 10      A At the advice of counsel. Yes.                         10   thing.
 11      Q Did you have an understanding as to how                11      Q Were you saying Brian's involvement?
 12   long Mr. Hackman had been working at Gewerter Law?          12      A Yeah. I mean, he was just sort of a
 13      A I don't really know that I knew a number               13   friendly person that was there and we'd chitchat
 14   of years or anything like that, but I got the               14   and go to lunch and stuff.
 15   sensation that it had been for a long time.                 15      Q What is Mr. Gewerter's primary background
 16   Several years.                                              16   in terms of practice of law?
 17      Q Did Mr. Hackman work at Gewerter Law full              17      A I mean, in so far as I know, I know he has
 18   time?                                                       18   securities background, corporate background. All
 19      A So far as I can tell, yeah.                            19   kinds of civil litigation. He's been involved in
 20      Q To your knowledge, did he work anywhere                20   some criminal matters.
 21   else during the time he worked at Gewerter Law?             21     Q Was he hiring you to help with any sort of
 22      A Not to my knowledge.                                   22   particular work?
 23      Q Did you have responsibility to supervise               23     A All of it.
 24   Mr. Hackman while at Gewerter Law?                          24      Q Did the nature of your work change over
 25      A Yes.                                                   25   time at Gewerter Law?



                                                                                      13 (Pages 46 to 49)
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 1      A I would say I became more involved in                 1   discussions that we would have, it's not like he
 2   securities matters than I had previously been.             2   was holding class or anything, but just throughout
 3      Q In terms of your previous involvement,                3   my time working there, you know, and I muddled
 4   prior to Gewerter Law, did you have involvement in         4   through it on my own.
 5   securities matters?                                        5          MR. CARDWELL: Can I clarify something?
 6      A Not really.                                           6   This is just a clarification. Maybe I missed
 7     Q So prior to your time at Gewerter Law,                 7   something, but I'm not sure that she testified
 8   what was your practice area?                               8   that Mr. Hackman was the only person who taught
 9     A Generically speaking, civil litigation.                9   her securities law, but I could be wrong. I'm not
10      Q So had you ever been involved in SEC                 10   trying to --
11   filings before your time at Gewerter Law?                 11       A No.
12       A No.                                                 12          MR. REICHER: And I didn't say that he
13      Q In your initial time at Gewerter Law, did            13   was?
14   you work largely on litigation matters?                   14          MR. CARDWELL: I didn't think so; I just
15      A I worked on litigation matters, for sure,            15   want to make sure.
16   and learned about securities.                             16       A At the beginning of my employment with
17     Q Was there a particular point where you got            17   Harold, for a substantial amount of time, I was
18   more involved in the securities matters?                  18   very close to Harold. We would have hours-long
19     A Not a particular point.                               19   conversations every day.
20      Q Did you start on securities matters from             20          BY MR. REICHER:
21   the outset of your time at Gewerter Law?                  21       Q And I take it were these conversations
22      A Can you repeat that?                                 22   purely work matters as in relating directly to
23      Q Yes. Did you start on securities matters             23   clients or quasi work as in substantive but not
24   from the outset of your time at Gewerter Law?             24   directly --
25      A I would say pretty close. I mean, started            25       A Both.


                                                     Page 51                                                      Page 53
 1   to learn about them because not having any                 1      Q Let me ask you, how much did Gewerter Law
 2   previous experience, I -- you know, there's a              2   charge for a post-effective amendment and related
 3   learning curve.                                            3   documents?
 4      Q How did you hold out learning about                   4     A I don't know.
 5   securities matters?                                        5      Q Do you have a rough sense?
 6      A From Harold. Shawn knew plenty about                  6      A No.
 7   securities matters, so I learned from him as well.         7      Q How much does EAD Law charge for that?
 8   I read a couple of books.                                  8      A I would have to look. I don't know. It
 9      Q You mentioned that Mr. Hackman knew plenty            9   could vary by situation.
10   about securities. Is that from his time as a              10      Q And I understand it to be a range
11   practicing securities lawyer?                             11   depending on complications, but do you have a
12      A I can only assume so.                                12   general sense of what it would be?
13      Q I guess when he was disbarred, do you have           13      A I'm not really comfortable narrowing that
14   any reason to believe he lost the knowledge he            14   down.
15   obtained as a practicing securities lawyer?               15     Q When you say you would have to look, do
16      A I would have no reason to believe such a             16   you have, for lack of a better word, a price list
17   thing.                                                    17   or something like that?
18      Q So notwithstanding his disbarment, he                18      A I don't have a price list, but I would
19   still, regardless of whether he was allowed to            19   just have to look back and see what I've charged
20   practice, he still had the knowledge and                  20   my clients.
21   experience of a securities lawyer?                        21     Q Sitting here today, do you have a sense of
22      A Of course.                                           22   what an 8K would tend to cost?
23      Q Can you elaborate on the ways at which Mr.           23     A No.
24   Hackman helped teach you securities laws?                 24      Q Do you have a sense of what you would
25      A Not really. You know, just aside from                25   charge for a 10-Q?



14 (Pages 50 to 53)
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  1       A No. I'm really just not comfortable              1       A Yes.
  2   nailing down a price on that.                          2       Q Why is that?
  3       Q And I'm obviously not a potential client         3       A He's not an attorney.
  4   going to hold you to a cost estimate.                  4       Q Why would it be problematic for a client
  5       A Understood.                                      5   to pay a nonattorney directly?
  6       Q I'm trying to get a general sense of --          6       A I mean, I don't know. I guess that's just
  7   and again, if you express it in earnings, I            7   my understanding.
  8   understand that because it will vary; but with the     8          MR. CARDWELL: I think it's against the
  9   idea that I'm just looking for a general idea or a     9   law. I mean, and I don't mean to be flippant or
 10   range, can you give me a sense of what a 10-K         10   anything.
 11   would be?                                             11          MR. REICHER: Thank you for that,
 12       A Again, my same answer. I can get some of        12   Mr. Cardwell.
 13   that information to you and that would be by way      13          BY MR. REICHER:
 14   of me looking through my own invoices.                14       Q Ms. Dowling, is it your understanding that
 15       Q So you would have to go back and look at        15   it would be against the law for a client to pay a
 16   your invoices to see what you charged for the         16   nonattorney directly?
 17   securities filings I mentioned?                       17       A It would at a minimum be in violation of
 18          MR. CARDWELL: Or you could look at them.       18   the bar rules.
 19   I think you got them.                                 19       Q I see. I guess, why do you think it would
 20       A But yeah, I mean, in order for me to give       20   be a violation of bar rules?
 21   a comfortable answer, yes.                            21       A Because I took professional conduct.
 22          BY MR. REICHER:                                22   Quite simply, that's just been my understanding as
 23       Q Do you have -- again, I'm not holding           23   an attorney.
 24   you --                                                24       Q And I'm not arguing with you and saying it
 25       A Please -- look. I've answered the               25   is or isn't. I'm really just trying to get your


                                                  Page 55                                              Page 57
  1   question.                                              1   understanding of why you believe it would be a
  2          MR. CARDWELL: I think it's asked and            2   violation of federal laws to have a client pay a
  3   answered.                                              3   nonlawyer like Mr. Hackman directly?
  4          BY MR. REICHER:                                 4       A I think there's a specific rule on it.
  5      Q How much was Mr. Hackman paid at Gewerter         5   Like, I can't recite it to you but --
  6   Law?                                                   6          MR. CARDWELL: Can I clarify, just for a
  7      A I have no idea.                                   7   second --
  8      Q Do you know how he was paid?                      8          MR. REICHER: No, Mr. Cardwell, really,
  9      A No.                                               9   I'm looking for the witness's testimony, please.
 10      Q Do you know whether he was treated as an         10       A I just gave it to you.
 11   employee or an independent contractor?                11          MR. CARDWELL: I wasn't going to give you
 12     A I really don't have specific knowledge. I         12   any testimony, Eric, but that's okay. Go ahead.
 13   want to say it might have been as an independent      13          BY MR. REICHER:
 14   contractor, but I don't have the answer.              14       Q Do you have -- what is your understanding
 15      Q Do you know if Mr. Hackman was ever paid         15   of the policy concerns that would exist if a
 16   directly by Gewerter Law client?                      16   nonlawyer were paid directly by clients?
 17      A You broke up there.                              17       A If what you're going for is that you want
 18      Q Sorry. Do you know if Mr. Hackman was            18   me to say it would be considered the unauthorized
 19   ever paid directly by Gewerter Law clients?           19   practice of law, that's how I understand the rule.
 20      A I don't know.                                    20       Q That wasn't directly what I was looking at
 21      Q Do you have any reason to believe that he        21   but.
 22   was?                                                  22       A I just -- I don't know how else to say it.
 23      A No.                                              23   I understand that the state bar has a rule that
 24      Q Do you believe it would be problematic if        24   nonattorneys shall not be paid to do attorney work
 25   a client directly paid Mr. Hackman for work?          25   directly.


                                                                            15 (Pages 54 to 57)
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 1      Q And would it be okay if he was paid                   1    year?
 2   directly by clients to do what was considered              2       A Roughly, yes.
 3   nonattorney in your mind?                                  3       Q He was paid a filing fee for what company?
 4      A Of course.                                            4       A Honestly, I do not know and the -- even
 5         (Reporter interruption.)                             5    the gentleman's name escapes me, but that's what I
 6         (Simultaneous talking.)                              6    learned through a phone call.
 7         MR. CARDWELL: -- to mow the lawn or                  7       Q A phone call with a client?
 8   something --                                               8       A Yes.
 9         BY MR. REICHER:                                      9       Q And what did this client convey in the
10      Q Mr. Cardwell mentioned a hypothetical to              10   phone call?
11   mow the lawn or something like that. That is               11     A That -- well, he wanted to -- he wanted
12   fair. So let's say there was client XYZ hired              12   to, I believe, check on Shawn but also conveyed to
13   Gewerter Law to do an S-1. If the main person              13   me that he had given Shawn a cashier's check to do
14   from XYZ also hired Mr. Hackman to mow his lawn or         14   a filing. And my understanding is that it was
15   do something completely unrelated to XYZ or an SEC         15   some sort of corporate filing, not an SEC filing,
16   filing, that's not what I'm talking about.                 16   and that he had not done that.
17      A Okay.                                                 17      Q He, being Shawn, had not done that?
18      Q I'm talking about work related to, let's              18      A Yes. And my direct response to him was
19   say, the S-1 in this hypothetical. Would it be             19   why on earth -- knowing Shawn for many, many
20   okay for client XYZ to pay Mr. Hackman for work on         20   years, why on earth would you say an F'ing
21   the S-1 directly if that work was considered               21   nonattorney were my exact words.
22   nonlawyer work?                                            22      Q Okay. Understood. When you said knowing
23      A I honestly don't know. I would have to                23   Shawn for many years, were you talking you knowing
24   refer to the rules, but I think it would most              24   Shawn for many years or the client knowing Shawn
25   appropriately be run through the law firm that             25   for many years?


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 1   he's working for.                                           1       A My understanding is that they've known
 2       Q Would it be hard to say what was work done            2   each other for many, many years.
 3   in the capacity of him working at the firm versus           3       Q This is Shawn and the client?
 4   what he might be doing solo?                                4       A As I understand it.
 5      A I'm not sure I understand that question.               5       Q Understood. I wasn't sure what you were
 6       Q Let me try to rephrase. So assuming we                6   getting at. Okay.
 7   weren't talking about something mowing the lawn or          7       A Yes.
 8   unrelated. If he was being paid by the firm as an           8       Q How much did the client say was the
 9   employee and then separately being paid by the              9   cashier's check?
10   client for work related to that S-1, even though           10       A I honestly don't know. I remember it
11   maybe not quite legal work, would it be hard to            11   seeming like an extraordinary number for a filing
12   separate out what was done for the firm and what           12   fee, but I believe, if I recall correctly, I went
13   was done separately?                                       13   back and looked online, and I just can't remember
14     A Sure.                                                  14   what all he was trying to do.
15      Q Are you -- you may have answered this                 15          But I do recall that it was with the State
16   already -- I apologize. Are you aware that ever            16   of Nevada, and I want to say it's in the realm of
17   happening at Gewerter Law that Mr. Hackman was             17   a couple of thousand dollars.
18   paid directly by clients?                                  18       Q But whatever it was, it was more than you
19      A Not that I'm aware of.                                19   would expect be the direct cost of --
20       Q And are you aware of any EAD Law clients             20       A At the time of that phone call, that's the
21   paying Mr. Hackman directly for work?                      21   sensation that I have, yes. I don't want to nail
22     A I learned recently that he was paid a                  22   down that number because I'm just not really sure.
23   filing fee, and I learned of that when he was in           23   It was anywhere between like a couple thousand up
24   the hospital.                                              24   to like $4,000. It was something along those
25       Q I see. So this is roughly January this               25   lines and I was furious.


16 (Pages 58 to 61)
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  1       Q After you looked further, did you come to       1   had paid Shawn directly before.
  2   the con -- let me ask: Was it your understanding      2          And I don't know for any other matters. I
  3   from talking with the client that whatever the        3   don't know if it was during his time with Gewerter
  4   amount was that was just the direct cost for          4   or with me, but he said, well, it happened in your
  5   whatever filing or did that also include money for    5   office. I said, but you've known for years that
  6   Mr. Hackman to do the work related to the filing?     6   he's not an attorney. Why on earth, standing in
  7       A Right. So the way I understood it after         7   my law firm, would you hand him money?
  8   my -- during my conversation with that client, I      8      Q And did he elaborate at all about other
  9   understood it to be for the filing fee only.          9   payments he had made directly to Mr. Hackman?
 10       Q Once you looked further, did it appear         10      A No, he did not elaborate.
 11   that the amount was consistent with what a filing    11      Q And I take it you said he intimated that
 12   fee would be for whatever transaction it was for?    12   maybe you should pay him back. If he had more
 13       A As memory serves, I believe I kind of came     13   explicitly said, Ms. Dowling, I think you should
 14   to the conclusion that that was feasible, yes.       14   pay me back because the work was not paid to but
 15          And just to clarify this, the fact that I     15   not done by an employee, how would you have
 16   came to the assumption or the maybe                  16   responded?
 17   semi-conclusion that that was for a filing fee       17      A I think I would have said no. Because
 18   only, did not make it okay with me, just so we're    18   again, like I said, he was fully aware that Mr.
 19   clear.                                               19   Hackman was not an attorney and he knowingly paid
 20       Q Understood. Was it at least a little           20   him directly through a cashier's check no less,
 21   better if Shawn wasn't taking some amount for his    21   you know, for something that -- I'm not entirely
 22   own services, and it was as you understood it,       22   sure for what, but, you know, it was something
 23   just directly passing along costs?                   23   that he knew better of.
 24       A Honestly, no, not really.                      24      Q Do you have any reason to believe that Mr.
 25       Q You said you were furious. Can you             25   Hackman has paid back this client?


                                                 Page 63                                              Page 65
  1   explain why you were furious?                         1       A I have no reason to believe one way or the
  2     A Because as I understand it, Shawn was             2   other. I have not heard from this person, so I
  3   sitting in office space leased by me and was          3   don't know. Perhaps.
  4   accepting -- and at points, you know, as a            4       Q Did you ask Mr. Hackman about what
  5   representative of my firm as a paralegal or legal     5   happened?
  6   assistant -- and he was taking cash from clients.     6       A Once he was well enough.
  7   So yes, I was extremely mad.                          7       Q And what was Mr. Hackman's side of what
  8      Q So your understanding is the client had          8   had occurred?
  9   paid, but the filing hadn't been done; is that        9       A He didn't really have an explanation.
 10   correct?                                             10       Q I take it he acknowledged that he did take
 11      A Yes.                                            11   the money from this client?
 12      Q Did the filing ultimately get done?             12       A Yeah. I mean, in -- I'll take what, like,
 13      A I'm not sure.                                   13   his response was largely silent. So I take that
 14      Q Did Mr. Hackman pay back the client?            14   to mean that he recognized that that's what he had
 15      A I don't know.                                   15   done.
 16      Q Do you know how the matter was resolved at      16       Q I take it he never gave you any indication
 17   all?                                                 17   that he actually made the filing?
 18      A I really don't, no.                             18       A He didn't one way or the other.
 19      Q Did you pay back the client?                    19       Q But I imagine were you rather angry at him
 20      A I did not.                                      20   I'm guessing in this conversation?
 21      Q Did the client ask you to pay him back?         21       A Extremely.
 22      A Not directly but he sort of intimated           22       Q Do you think that if he had -- it would
 23   that, you know, because the transaction took place   23   probably be good news if he had actually done the
 24   in my office, that I should pay him. And that's      24   filing. Do you think he likely would have
 25   when I was just outraged because he said that he     25   mentioned it to you?



                                                                           17 (Pages 62 to 65)
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                                                    Page 66                                                      Page 68
 1        A I honestly don't know.                             1     Q You mentioned that this client eluded to
 2        Q And there was nothing in the conversation          2   some other payments at some point to Mr. Hackman.
 3    of him actually returning the money?                     3   Other than payments from this client, I should say
 4        A Of him returning the money?                        4   what's your best understanding of when the
 5        Q Right.                                             5   cashier's check was given to Mr. Hackman?
 6        A Well, I think I told him to return the             6      A I don't really know. Some time, I think,
 7    money.                                                   7   in close proximity to the time right before he
 8        Q So you instructed him to?                          8   went to the hospital. That's sort of my general
 9        A Yes. I had some choice words, but I said           9   sensation.
10    you need to pay this man this money. So I mean,         10      Q So 2019, early 2020, something like that?
11    like I said, whether or not the filing was done, I      11      A Yeah, if you happen to know when he went
12    don't know. My memory is that it was in state           12   into the hospital, that might help my frame of
13    court and it was for some corporate matter but          13   reference because I'm so bad with dates.
14    that he had taken the filing fee and whether or         14      Q I think early January but --
15    not it was paid back, I have no understanding, but      15      A So okay. So if -- yeah -- so -- and I
16    I demanded that he do that. It's also further my        16   don't even know what makes me say this, but the
17    understanding that him and this individual are --       17   general feeling that I got was that whatever he
18    have been for many, many years friends.                 18   needed filed with the state, he wanted it done
19        Q I see. Would you in any way make his              19   quickly. And so I just got the feeling that he
20    paying back a condition of employment of EAD?           20   had given it to him some time in close proximity
21        A I didn't expressly say that but -- I              21   to the time before he went to the hospital.
22    didn't expressly say that.                              22      Q Other than the payments from this client,
23        Q Did you have any discussions from him             23   and the one we've talked about for the corporate
24    about whether receiving funds directly from             24   filings and whatever those other payments from the
25    clients would be okay going forward?                    25   same client were, other than those, do you believe


                                                    Page 67                                                      Page 69
 1      A Whether or not those were my exact words,            1   that Mr. Hackman had been paid directly by other
 2   I think whatever I said made that abundantly              2   EAD clients?
 3   clear.                                                    3       A I honestly don't know.
 4      Q I wasn't attempting to give what would be            4       Q Do you have any reason to believe that he
 5   a direct --                                               5   has?
 6      A Yeah. I mean, I'm not sure what my exact             6       A No. What's the -- what's the right way to
 7   words were, but yes, that was indicated in some           7   put it. No direct factual basis for that. No.
 8   fashion.                                                  8       Q Do you have a kind of suspicion that it
 9      Q So Mr. Hackman -- you said that you had              9   happened or?
10   this conversation when he was feeling better. Can        10       A Well, I mean, just sort of my general way
11   you give me a rough general idea of when that was?       11   of thinking about things is that if he had done it
12     A I'm so bad with dates, but okay. So maybe            12   with that client, maybe he did it with others. I
13   sometime in January.                                     13   mean, that's always a possibility, right?
14      Q So Mr. Hackman should have known in no              14       Q Other than the general sense you just
15   uncertain terms from let's say February this year        15   described, do you have any other reason to believe
16   forward that you viewed it as unacceptable to take       16   that he has done this with other clients?
17   funds directly from clients?                             17       A No. No concrete reason.
18      A Yes.                                                18       Q In your conversations with him about this
19      Q Do you believe that Mr. Hackman has                 19   incident, did you have -- did you ask him whether
20   followed those directions from you?                      20   this has happened with other clients?
21      A In so far as I'm aware. Yes.                        21       A I believe I did, and I believe his answer
22      Q Do you have any reason to believe that              22   was no.
23   from February to this year forward Mr. Hackman has       23       Q And was his answering no, he told you?
24   received funds directly from clients?                    24       A Yes.
25      A I have no reason to believe that.                   25       Q Can you explain why?


18 (Pages 66 to 69)
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                                                 Page 70                                                    Page 72
  1      A Well, for the same reasons that I was            1       A I said I actually brought her on.
  2   furious in the first place, because, you know, I      2       Q I take it you knew Sonia from somewhere
  3   mean, yeah, I mean, because that would make me        3   else?
  4   more mad, I guess.                                    4       A Yes. At another firm.
  5      Q If he had told you that there were many          5       Q Is Sonia's last name Howard?
  6   other examples of EAD clients paying him directly,    6       A He had like four of them, but I think
  7   do you think that would have changed how you          7   that's one of them, yes.
  8   handled the situation?                                8       Q I take it just multiple marriages,
  9          MR. CARDWELL: I'm going to object.             9   something like that?
 10   You're really asking her to speculate about the      10       A Yeah, I think at some point she went back
 11   hypothetical. It's not good testimony. I'll let      11   to her maiden name and then she got remarried or
 12   her answer if you want.                              12   something so she had, like, her original married
 13      A It may have.                                    13   name and her maiden name and her remarried name,
 14          BY MR. REICHER:                               14   if you will. Something along those lines.
 15      Q Why do you say that?                            15       Q Have you stayed in touch with her since
 16      A Like I said, I would just be more furious       16   you left Gewerter Law?
 17   than I already was. So of course, if there were      17       A I want to say maybe we had some
 18   more examples of that, it would make me more angry   18   communication like once or twice. Yeah, a couple
 19   and perhaps I would have handled it differently.     19   of times maybe.
 20      Q Let's go back to your time at Gewerter          20       Q Rough estimate, when is the last time you
 21   Law. Can you tell me what companies at Gewerter      21   had any interaction with her?
 22   Law you worked on SEC filings for?                   22       A Well over a year, maybe even two.
 23      A Not off the top of my head, no.                 23       Q Do you have her contact information?
 24      Q Can you recall any of them?                     24       A I don't believe so. No. The only Sonia
 25      A Honestly off the top of my head, no and --      25   in my phone is the one that I play tennis with.


                                                 Page 71                                                    Page 73
  1   yeah, I just really don't know.                       1     Q In terms of clients, at Gewerter Law did
  2      Q How was work divided. For instance, let's        2   you work on a company called Energy Alliance
  3   say there was company XYZ with an S-1. Would          3   Technology Company?
  4   there be some clients that Harold would deal with     4     A I don't recall.
  5   and some clients that you would deal with and they    5      Q At some point, that became Fortuneswell, I
  6   were largely separate or was everybody working on     6   believe. Does that ring a bell?
  7   everything?                                           7      A It may.
  8      A I would say everyone working on everything       8      Q Do you believe that you would have worked
  9   would be a more accurate description.                 9   on post-effective amendments for that company?
 10     Q Were there any other paralegals involved?        10      A I honestly don't recall.
 11      A Were there any what? I'm sorry.                 11      Q If you were doing a little bit of
 12      Q Any other paralegals at this time?              12   everything, do you have any reason to believe that
 13      A At what timeframe?                              13   if the Gewerter Law was doing a post-effective
 14      Q At Gewerter Law.                                14   amendment for a company, you would have been
 15       A During what timeframe? I'll try to break       15   involved?
 16   it down.                                             16      A I really don't know. There were some
 17      Q Sure. Let's say '14 and '15?                    17   things that I wasn't involved in; some things I
 18      A I'm trying to think when I first started        18   was. I just really don't remember.
 19   with Harold at the Port Apache address, Michelle     19      Q What about Alpha Energy? Did you do work
 20   was there, and that was his daughter-in-law at the   20   for Alpha Energy at Gewerter Law?
 21   time. And Brent, who is his son, would act as a      21      A I don't recall at Gewerter Law.
 22   runner of sorts, and Michelle had paralegal          22      Q Did you do work for Triton Acquisition?
 23   experience. Also Sonia came on to work there. I      23      A At Gewerter Law?
 24   actually brought her on.                             24      Q At Gewerter Law.
 25      Q I'm sorry. I didn't hear you.                   25      A I don't know. Like I said, I'm very bad



                                                                              19 (Pages 70 to 73)
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 1   with time periods, and I'm not entirely sure.          1   companies that had the same people behind it like
 2      Q What about Tenaya Acquisition?                    2   Rightlane Capital, Lane Capital, FastLane
 3      A You mean my involvement at Gewerter?              3   Acquisitions. I think there was a Perlowin
 4      Q Did you work on --                                4   Developments. Does that sound right?
 5         (Reporter interruption.)                         5      A Sounds about right.
 6         BY MR. REICHER:                                  6      Q So I know you said you did -- there was an
 7       Q Did you work on Tenaya Acquisition SEC           7   SEC investigation and you had done some other
 8   filings while at Gewerter Law?                         8   stuff, which if I understood you correctly made
 9      A I don't know.                                     9   you think it was more likely that you would have
10      Q Did you work on SEC filing for Astika,           10   worked on SEC filings for someone?
11   A-S-T-I-K-A, at Gewerter Law?                         11      A That's the general feeling I get from
12     A I don't know.                                     12   that. Yes.
13      Q Do you believe you worked on SEC filing          13      Q There were a number of companies US-
14   for Sanz, S-A-N-Z. I believe Sanz Acquisition but     14   something. US Daddy, US -- there were a bunch.
15   definitely S-A-N-Z while at Gewerter Law?             15      A Right.
16      A I don't know.                                    16      Q Do you believe you worked on SEC filings
17     Q Do you believe you worked for NAS                 17   for the US- companies while at Gewerter Law?
18   Acquisitions, N-A-S, while at Gewerter Law?           18      A I don't know. There were a lot of them.
19      A I don't know.                                    19      Q Do you believe you worked while at
20      Q Do you believe you worked for DAS, D-A-S,        20   Gewerter Law at BioCRUDE?
21   Acquisitions while at Gewerter Law?                   21      A I may have.
22     A D-A-S?                                            22      Q Is there a particular reason you have more
23      Q Correct.                                         23   of a recollection relating to BioCRUDE?
24      A I don't know.                                    24      A Not really.
25      Q Do you believe you worked for Lane Capital       25      Q Do you have any reason to believe that Mr.


                                                 Page 75                                              Page 77
 1   Corp. on SEC filings while at Gewerter Law?            1   Gewerter would have permitted to be paid directly
 2       A It's possible.                                   2   by clients of the Gewerter Law?
 3       Q Can you explain a little bit why your            3      A I would not think that Harold would be
 4   answer to Lane was a little different?                 4   okay with that.
 5       A Only because I had a lot of involvement in       5      Q For basically the same reasons that you're
 6   a lot of different ways with that group. So it's       6   not okay with that?
 7   maybe more of a possibility that I would recall        7      A I mean, I'm assuming so, and also because
 8   that.                                                  8   Harold would be upset he didn't get the money.
 9       Q When you say, "a lot of different ways,"         9   Right.
10   was there some litigation or investigation work       10      Q I'm going to pull up what's been marked as
11   for that company as well?                             11   Exhibit 52. This is one where remote testimony
12       A Yes -- well -- no, no, no. I'm sorry.           12   works pretty well but exhibits are a little slower
13   No, no, that's not true. I was sort of thinking       13   than being in person. So you should be able to
14   ahead of maybe your question. Robin Lane was the      14   now hopefully see my screen. It's an exhibit.
15   girlfriend of Bruce Perlowin, and I was involved      15   You see this number down at the bottom? It's at
16   in an investigation representing him while at         16   the top e-mail from Mr. Hackman to a
17   Gewerter.                                             17   Kimds713@gmail. Do you see that?
18       Q I see. So that was sort of the other work       18      A I do. It's small, but I see it.
19   you raised?                                           19      Q Do you know whose e-mail is Kimds713?
20       A Some of it. There were quite a few              20      A Not off the top of my head, no.
21   matters that we handled either for Robin and her      21      Q Do you remember a client of yours by the
22   sons or -- Robin and her sons or Bruce or his         22   name of first name Kim?
23   affiliates.                                           23      A Well, a lot of them.
24       Q And you mentioned group. If I'm wrong,          24      Q Anyone in connection with Energy Alliance
25   correct me. I think there were a bunch of             25   or Fortuneswell?


20 (Pages 74 to 77)
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                                                      Page 78                                                 Page 80
  1        A Not that I -- if you're referring to --             1   Shawn had a long-standing friendship with.
  2   it's possible.                                             2       Q You're saying it's a long-time friend of
  3        Q Sorry. You cut out?                                 3   Mr. Hackman?
  4        A I'm sorry. I was banging on the table.              4       A So I understand it.
  5   If you're referring to --                                  5       Q Do you have any reason to believe he had a
  6            (Reporter interruption.)                          6   romantic relationship with her?
  7            BY MR. REICHER:                                   7       A I have reason to believe he wanted one.
  8        Q I'm sorry. Right as you said the person's           8       Q Fair enough.
  9   name, I think it cut out again.                            9       A That's my honest answer.
 10        A I said referring to -- that's a                    10       Q Do you have any reason to believe that
 11   possibility.                                              11   other than potentially being listed as an officer
 12        Q I think you said Kim Southworth, although          12   of the company, she had any real active role in
 13   it still wasn't good; is that what you said? Ms.          13   the company?
 14   Dowling?                                                  14       A She may have been -- I really don't know.
 15        A Yes.                                               15   I really don't know.
 16            MR. REICHER: I hope we're not starting to        16       Q And is her last name Calabrese?
 17   have tech issues but we'll see.                           17       A Sounds familiar.
 18            THE WITNESS: You sound like you're               18       Q I believe that's C-A-L-A-B-R-E-S-E, but I
 19   cutting in and out of it.                                 19   can double check later.
 20            MR. REICHER: Unfortunately, you are as           20       A It's something like that.
 21   well. So let's -- can you hear me now?                    21       Q I was telling it for the reporter. The
 22            THE WITNESS: I can.                              22   invoice here shows the first payment for $4,000
 23            MR. REICHER: Hopefully, we'll stay there.        23   for post-effective amendment and agreement. Do
 24            BY MR. REICHER:                                  24   you see that?
 25        Q All right. So I'm pulling -- on the                25       A I do.


                                                      Page 79                                                 Page 81
  1   second page of the exhibit is an invoice from              1     Q Do you have any reason to believe that if
  2   Statewide Secretarial Service. Are you familiar            2   Mr. Hackman was paid for this work he would have
  3   with that company?                                         3   contributed part of that back to the Gewerter Law?
  4      A I've heard the name, yes.                             4      A I really don't know.
  5     Q What is your understanding of what that                5      Q Were you aware of this company having
  6   company is?                                                6   been -- having paid Mr. Hackman directly?
  7     A What is my understanding at this time?                 7      A Are you referring to the company as Energy
  8      Q I guess, what is your understanding now?              8   Alliance; is that what you mean?
  9      A I believe it to be, and I can't even give             9      Q Yes.
 10   you, like, very strong specifics on this, but I           10      A No. I don't.
 11   believe it to be a company that at some point             11     Q Do you have any reason to believe Mr.
 12   Shawn formed, I believe. And I believe that one           12   Gewerter would have been aware of this?
 13   of the officers -- and I'm really just saying             13     A No reason to believe it.
 14   this --                                                   14      Q If Mr. Hackman was not the one doing the
 15        MR. CARDWELL: Don't speculate.                       15   work on the post-effective amendment and related
 16      A Yeah, I mean, I kind of am. I believe                16   documents, why would the client pay him directly?
 17   it's a company that was formed by Shawn at some           17     A You would have to ask him that.
 18   point.                                                    18      Q If the client were to say that he paid Mr.
 19         BY MR. REICHER:                                     19   Hackman, or in this case Mr. Hackman's company,
 20      Q And you were about to mention who. Do you            20   because Mr. Hackman was doing the work, do you
 21   have an understanding maybe an officer?                   21   have any reason to believe that that's not true?
 22     A If it's what I'm thinking of, I believe a             22     A Eric, you're breaking up.
 23   person by the name Teresa.                                23      Q Sorry.
 24      Q Who is Teresa?                                       24      A That's okay.
 25      A As I understand it, it is somebody that              25      Q Can you hear me better at the moment?



                                                                                  21 (Pages 78 to 81)
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                                                      Page 82                                                   Page 84
 1      A At the moment, yeah.                                   1      Q What company or companies would that be?
 2      Q If the client were to say that he paid Mr.             2      A I really don't know. I'm just -- I don't
 3   Hackman directly, because it was Mr. Hackman who            3   know if it's through a conversation with Shawn or
 4   was doing the legal work for these filings, would           4   whatever or even something that's maybe come up
 5   you have any reason to believe that wasn't true?            5   during the course of, you know, your
 6     A I have -- I honestly don't know one way or              6   investigation, something you might have said to me
 7   the other. I mean, based on the document that               7   or something that was in the subpoena that made me
 8   you're showing me it seems likely, but I don't              8   think there were companies, but I don't have any
 9   know the answer.                                            9   concrete specifics.
10      Q Do you have any recollection supervising              10      Q Now, with your work at Gewerter Law, I
11   Mr. Hackman's work on any post-effective amendment         11   understand, generally speaking, everybody was
12   for Energy Alliance Technology company?                    12   involved in everything, but were there some
13      A No.                                                   13   companies where you would have played a leading
14      Q Do you have any specific knowledge of Mr.             14   role on SEC filings while at Gewerter Law?
15   Gewerter supervising Mr. Hackman's work on                 15       (Reporter interruption.)
16   post-effective amendment for Energy Alliance               16      A I would say, ultimately, I would run. If
17   Company?                                                   17   Harold wasn't there or whatever, before anything
18     A No knowledge one way or another.                       18   was filed, I think it was my practice to have
19      Q And would you agree that if Mr. Hackman               19   Harold look at it.
20   did the legal work for this post-effective                 20        BY MR. REICHER:
21   amendment without supervision from an attorney,            21      Q Why was that?
22   that would violate his barring?                            22      A He was the owner of the firm. He's old.
23      A I would say so, yes.                                  23      Q I'm sorry. I didn't --
24      Q Would it likewise violate his SEC                     24      A I was being fresh. I was saying he's old.
25   suspension?                                                25   I was just making a joke.


                                                      Page 83                                                   Page 85
 1     A So far as I understand it. But my                       1     Q Were you listed as counsel of record on
 2   understanding is that he's not to -- I mean, yes,           2   any S-1's while at Gewerter Law?
 3   I guess I would agree with that. Yes.                       3      A I honestly don't know.
 4      Q Now, I think I asked about Statewide. You              4      Q Do you believe you would have been?
 5   indicated -- you asked whether I wanted your                5     A I would say it would be more likely to be
 6   understanding of what it was at this time. Was              6   Harold, but honest, I just don't know.
 7   there some point where you had a different                  7     Q And why would you think it would be
 8   understanding of what Statewide was?                        8   Harold?
 9      A No. No. Just somewhere through the                     9      A He was the owner of the firm.
10   course of this, and I can't tell you what I was            10      Q Would it have been Harold even if you were
11   doing, but somehow in the course of looking                11   doing most of the work?
12   through this massive number of e-mails and so              12      A I don't know.
13   forth, I recall the name and I believe I looked it         13       Q Do you believe you signed many opinion
14   up on the Secretary of State website.                      14   letters that the company had while at Gewerter
15      Q Did you ever make a payment to Statewide              15   Law?
16   Secretarial?                                               16     A I know I signed some, yes.
17      A I believe that there might be one check               17     Q Do you have a rough estimate of how many
18   that I've come across and honestly, I'm not                18   some is?
19   positive. And it didn't really ring a bell to me,          19     A I really don't. I know that I signed
20   but I made note of it because I was looking at             20   some.
21   checks obviously. But I mean, that particular              21     Q Do you think it would be a couple or 20.
22   company, I'm not sure. That might be the case.             22   Can you give any estimate?
23     Q Do you know if Mr. Hackman has any other               23      A More than a couple.
24   companies that he controlled?                              24      Q Would you signing the opinion letter be an
25      A So I'm very generically aware of it.                  25   indicia that you played a greater role than that?



22 (Pages 82 to 85)
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                                                      Page 86                                                      Page 88
  1      A Repeat that, please.                                  1      A I really don't know. It was definitely
  2      Q Sure. Would you signing an opinion letter             2   both.
  3   for a particular company be an indication that you         3      Q But I think you said e-mail was more
  4   played a greater role in the work for that                 4   common?
  5   company?                                                   5      A If I said that, I don't think I meant
  6     A Not necessarily, no.                                   6   that. It's my preferred way of communicating
  7      Q So then why would you sign the opinion                7   something but not necessarily Harold's. Obviously
  8   letter if you hadn't been particularly involved?           8   I couldn't take it to him in person if he was out
  9       A Repeat that.                                         9   of the country.
 10      Q Sure. I'm just trying to get an                      10      Q If he was out of the country and you
 11   understanding why you might have signed an opinion        11   wanted him to read something, you would e-mail it?
 12   letter for certain companies if you weren't               12     A Yeah, I don't know how else I would do it.
 13   particularly involved in the company?                     13      Q When you say e-mail is not Harold's
 14     A Well, I didn't say that I wasn't                      14   preferred means of communication, can you just
 15   particularly involved. I said just because -- if          15   elaborate on that?
 16   an S-1 was filed by Harold and I signed an opinion        16      A Well, I mean, if he's in the office, he
 17   letter, I'm just saying that -- so -- I mean,             17   would prefer me just to come in and hand it to
 18   yeah, it doesn't mean that I wasn't involved.             18   him. I guess that's what I mean. And that
 19      Q No, no, and I wasn't trying to --                    19   doesn't necessarily mean that's what I did.
 20      A I'm saying -- I guess what I'm saying is             20      Q Was Mr. Gewerter or is Mr. Gewerter tech
 21   if I signed the opinion letter, I was involved in         21   savvy?
 22   some fashion at some -- I didn't -- I would have          22      A I would not call him so, but neither am I.
 23   had particular involvement.                               23   So I'm probably a bad judge.
 24      Q I wasn't trying to suggest you signed it             24      Q Would you say he's less tech savvy than
 25   without being involved. I was just trying to              25   you?


                                                      Page 87                                                      Page 89
  1   determine whether there was a difference between           1      A Yeah.
  2   the total number of companies you signed for to me         2      Q Was he a good typer?
  3   sounds like a larger number of companies where             3      A I don't know what you mean by that.
  4   Harold would have signed for?                              4         MR. CARDWELL: You mean, like, so many
  5      A So it could be for a number of reasons,               5   words per minute? That's vague.
  6   one of which may be if Harold was not in the               6         BY MR. REICHER:
  7   office.                                                    7      Q Right. I mean, some people are adept and
  8      Q At Gewerter Law, if you wanted Harold to              8   can whip off an e-mail paragraph long in a minute
  9   review the S-1, how would you convey that to him?          9   or two. Other people are going to hunt and pack
 10      A It would depend on where he was located.             10   and that would take them an hour?
 11   Could be by e-mail, could be in person. It could          11      A I would say he was about -- as my memory
 12   be a discussion we had on the phone.                      12   serves as his typing skills, I want to say it was
 13      Q If you wanted to view an actual draft of a           13   about average for a man.
 14   document how would you get that document to him?          14      Q Fair enough.
 15      A Again, either in person or via e-mail, I             15         MR. CARDWELL: Objection. Sexist.
 16   guess, would be the most common way.                      16         BY MR. REICHER:
 17     Q So I guess when you say in person, would              17      Q Was Mr. Gewerter frequently on e-mail or
 18   you frequently print out a document and hand it to        18   not at all?
 19   him and say read this?                                    19      A Was he frequently what?
 20     A Yes.                                                  20      Q Did he frequently e-mail or not a ton?
 21      Q If he had comments, would he handwrite               21      A Yeah, he e-mailed.
 22   them?                                                     22      Q At Gewerter Law, did you have any share
 23      A Yes.                                                 23   drives or network drives that you could put up a
 24      Q How frequently would he handwrite versus             24   document that anybody could access?
 25   e-mail?                                                   25      A Yes.


                                                                                   23 (Pages 86 to 89)
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                                                    Page 90                                                      Page 92
 1       Q Can you explain a little more?                     1       Q And one of you wanted to review a draft
 2       A I don't think it was like a traditional            2    from the other; how would that usually be done?
 3   server but we did have a shared drive that, I            3       A Either in person or by e-mail.
 4   mean, just like you would use, like, you can put         4       Q Was one more common than the other?
 5   -- hey, pull this up from this case. That anyone         5       A Not really, no.
 6   could access, yes.                                       6       Q When you were at Gewerter Law, did you
 7       Q Was that used more for litigation matters          7    tend to work from the office or from other
 8   when you say case or?                                    8    locations?
 9       A I mean, it was used for everything, as I           9       A I would work from the office and other
10   recall.                                                  10   locations.
11       Q You mentioned e-mail. You mentioned                11      Q Can you give me a rough idea of how long
12   hardcopy. Were there other ways that you could,          12   you would be in the office versus other locations?
13   like, get information to Mr. Gewerter?                   13     A Not really. It was sort of time-specific,
14       A I can't really think of one. No.                   14   just depending on what was going on.
15       Q What about with Mr. Hackman. If Mr.                15      Q Would you tend to -- when you telework
16   Hackman, let's say, did a draft of something and         16   somewhere other than the office, would you tend to
17   wanted to get it to you, how would he do that?           17   telework whole days or partial days?
18       A Either by e-mail or in person.                     18      A Both.
19       Q And which would be more affluent?                  19      Q In a 40-hour workweek at Gewerter Law, how
20       A I really -- I don't know that there would          20   many hours do you tend to be physically in the
21   be a more common way. One more than the other.           21   office?
22   Just depends on the convenience of the situation.        22      A It really would completely depend on the
23       Q Would you rather have a word document so           23   week, where Harold was, and just what was going on
24   you can make changes to it?                              24   with me. If I had a lot of hearings or court, I
25       A I actually don't care. I can go a little           25   would tend not to go into the office, but it would


                                                    Page 91                                                      Page 93
 1   old school, too, and mark up a document.                  1   really just be time specific.
 2      Q If you were not in the document, would               2       Q So I take it there's from -- what's the --
 3   there be any other ways for Mr. Hackman to get            3   I'm not talking vacation weeks. Assuming it was a
 4   documents to you for review while at Gewerter Law?        4   week you were working, it would be some weeks
 5     A I'm sorry, Eric. I'm getting a little                 5   where you wouldn't be physically in the office at
 6   fried here. Can you repeat that?                          6   all?
 7      Q Sure. If you weren't in the office and --            7       A Yes, there was those times.
 8      A If I was not.                                        8       Q How often?
 9      Q Correct. If Mr. Hackman wanted to get you            9       A It would just depend on what was going on.
10   a document to review, would there be another way         10       Q Were there frequently weeks where you
11   other than e-mail for him to get it to you while         11   would be in the office full time?
12   you were at Gewerter Law?                                12       A I'm a big fan of working remotely, but I
13     A Honestly, I can't think of one. I                    13   mean, there would -- it would be rather unusual
14   wouldn't get it faxed to me. So I was -- if he           14   for me not to step in the office at all for a week
15   didn't like drop it in the mail or anything?             15   but if there was something going on, maybe that
16      Q Would the same be true at EAD Law that if           16   would be the case.
17   you were out of the office and Mr. Hackman wanted        17       Q I want to make sure -- I guess since you
18   to get you something, he would e-mail it to you?         18   said, I think, you're a big fan of working
19      A Yes.                                                19   remotely, would it be relatively unusual for you
20      Q And if you wanted to get Mr. Hackman                20   to spend full time five days a week physically in
21   something and you weren't in the office, would you       21   the office?
22   e-mail it to him?                                        22       A It might be.
23      A Yes.                                                23       Q And you being a big fan of telework sort
24      Q Let's say you were both in the office?              24   of being the same at EAD law?
25      A Yes.                                                25       A Yes.


24 (Pages 90 to 93)
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                                                    Page 94                                                      Page 96
  1        Q In terms of EAD Law, can you give me a            1   Mr. Gewerter's e-mail?
  2    rough estimate of an average week how often you         2     A Yes.
  3    were physically in the office?                          3     Q Did Mr. Hackman have access to Mr.
  4        A In an average week? A couple.                     4   Gewerter's e-mail?
  5        Q Couple?                                           5       A Yes. As did the paralegals and everyone
  6        A Days.                                             6   in the office.
  7        Q So you would be in the office roughly two         7     Q What were the rules regarding using Mr.
  8    out of five days?                                       8   Gewerter's e-mail?
  9        A There are other weeks. It's hard for me           9       A I don't know that there were any.
 10    to make an estimate because it's so specific as to     10       Q How would you decide whether to send an
 11    time. Past.                                            11   e-mail from your account versus Harold's account?
 12        Q Understood. I'm not talking pandemic, I'm        12      A I honestly don't know. Quite typically,
 13    talking prepandemic, 2018. Prepandemic era, for        13   you know, I -- I don't really know the answer to
 14    the roughly -- and I understand it depends, two        14   that.
 15    days a week you'd be in the office. Would those        15     Q When you used Mr. Gewerter's account,
 16    tend to be two full days or would it be part of        16   would you indicate that it was from you?
 17    those days?                                            17       A Yes.
 18        A It really just depends on what's going on.       18       Q When you say -- if you're using Harold's
 19    I understand that you're talking about                 19   e-mail, would you generally indicate that it was
 20    prepandemic. I like working out of the office.         20   coming from you?
 21    If I can do it, I do.                                  21      A It would depend. There were quite often
 22        Q We obviously --                                  22   times where Harold asked me to send an e-mail for
 23           MR. REICHER: I can hear a lot of                23   him. So I may or may not indicate that it's
 24    feedback.                                              24   coming from me. I'm just doing it at his
 25           BY MR. REICHER:                                 25   direction from his e-mail.


                                                    Page 95                                                      Page 97
 1       Q We subpoenaed, obviously, documents                1       Q I thought before when -- to the reporter
 2    relating to security laws issues because that's         2    that you said that you generally would indicate if
 3    what we're interested in. And in the subpoenas we       3    it was from you, is that what you?
 4    got back from various parties with the Gewerter         4        A You know what, I really don't know. I
 5    Law, I see you in lots of e-mails relating to SEC       5    just don't.
 6    for investigations such as the companies that we        6       Q What about the rules concerning Mr.
 7    mentioned?                                              7    Hackman's use of Harold's e-mail?
 8       A Okay.                                              8      A I don't know that there were rules
 9       Q But I don't see a lot of e-mails with you          9    delineated. Again, Harold would ask him to send
 10   relating to SEC filings?                                10   e-mails and tell him what to say.
 11      A Okay. That would -- okay.                          11      Q If Mr. Gewerter did not specifically tell
 12      Q Do you have any reason why that would be           12   Shawn send an e-mail and what to say, was Mr.
 13   the case?                                               13   Hackman allowed to use that e-mail address?
 14      A Yes. I can speculate the reason why you            14     A You would have to ask him that.
 15   would get that production is because quite often        15      Q Do you have any understanding of what the
 16   Harold's e-mail was used in the office.                 16   rules were?
 17      Q So I think I understand what you mean. So          17      A I think I've said a few times now, I don't
 18   there would harold@Gewerterlaw or @gewerterdowling      18   know that there were rules.
 19   e-mail address is that what we're referring to?         19      Q Was Mr. Hackman supposed to indicate that
 20      A Say those addresses again.                         20   an e-mail had come from him if he was the sender?
 21      Q The Harold -- I think it's                         21      A You would have to ask him.
 22   Harold@gewerterlaw.com or                               22      Q Do you know if Mr. Hackman would generally
 23   Harold@gewerterdowling.com.                             23   indicate that an e-mail was from him if you used
 24      A Yes.                                               24   Mr. Gewerter's e-mail?
 25      Q So then I take it, did you have access to          25     A I don't know.



                                                                                 25 (Pages 94 to 97)
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                                                   Page 98                                                  Page 100
 1      Q Let me go real -- give me one second.               1        Q And why is that?
 2       THE WITNESS: Eric, my back is starting to            2        A Because people were very upset that they
 3   mess with me. After this exhibit, would it be            3   believed they were owed money and there were some
 4   okay if we took a real short break?                      4   threats made.
 5         MR. REICHER: Yes. Sure. We'll do this              5        Q So I take it that the statement that you
 6   one and then break.                                      6   handle litigation matters only is not true?
 7       BY MR. REICHER:                                      7        A It's not entirely true, no. I mean -- no,
 8      Q So we talked a little before about Right            8   it's not entirely true.
 9   Lane and if I recall correctly, you said that was        9        Q Is it mostly true?
10   the company that you probably were more likely to       10        A Not really, but to be perfectly clear, you
11   have done SEC filings because of the other work         11   asked me a question before about Harold's sort of
12   you did?                                                12   stamp or approval on SEC filings and during that
13      A I actually don't think that is my                  13   time, I wanted Harold to be responsible for those
14   testimony, but I remember -- I remember that whole      14   filings.
15   group from Harold's office specifically.                15        Q While you were at Gewerter Law, what
16      Q Do you believe you worked on SEC filings           16   percent of your time working was spent on
17   for that company?                                       17   litigation versus corporate SEC work?
18      A I honestly don't remember that                     18        A Definitely more litigation. I can't
19   specifically, but I remember the company, and I         19   really give you a percentage.
20   remember lots of companies affiliated with that         20        Q More as in 149. Give me some idea or
21   group.                                                  21   90 --
22      Q Let me pull up what's marked Exhibit 44.           22        A I really don't know. Maybe 70/30.
23   You can read the whole e-mail if you want although      23        Q We have talked to some witnesses who have
24   I'm going to stick with what's at the top.              24   indicated that they understood you to be a
25   There's some sort of dispute about money in the         25   litigator and that was?


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 1   account. I'm not going to ask about that but if          1      A I am.
 2   you want to look at that, let me know. Let me            2      Q And that was what you did. And you didn't
 3   scroll up to what I'm interested in.                     3   really handle the corporate and securities work?
 4          And just for identification, it's from Ms.        4      A Okay. I mean --
 5   Dowling's e-mail address to a Tommy B and a whole        5      Q Do you agree with that?
 6   bunch of other people?                                   6      A No.
 7      A Okay. So it is not -- it's really not --            7      Q Do you have any idea why they may have had
 8   I'm not going to be able to address this e-mail.         8   that impression?
 9   I actually remember this e-mail. I'm not going to        9         MR. CARDWELL: You would have to tell her.
10   be able to address it without talking about money.      10   I'm going to object. It's vague and incomplete.
11   So when I say absolutely no involvement, I'm            11   If she doesn't know who you're talking about, she
12   referring to banking because Harold was spending        12   doesn't know how you would have that impression.
13   considerable amounts of time out of the office and      13         MR. REICHER: You can answer.
14   my name had been added to the firm, which I wound       14         MR. CARDWELL: But you can answer.
15   up really regretting. But people were asking for        15      A Well, no. That's my answer.
16   return of funds, and I wanted to make it clear          16        MR. REICHER: Why don't we go off the
17   that I don't have anything to do with that. The         17   record at 1:02 Eastern.
18   return of -- their demands for the return of            18          (A break was taken at 1:02 p.m.)
19   money.                                                  19         (Proceedings resumed at 1:16 p.m.)
20        I do see where it says that I work for             20         BY MR. REICHER:
21   Harold and I only handle litigation matters. I          21      Q Back on record at 1:16. We do this every
22   would say, you know, it might not be entirely           22   time we come back. Did you -- did we, Karen or I,
23   true, but I wanted these people -- I actually got       23   discuss the substance of your testimony during the
24   to the point where I was becoming afraid to sit in      24   break?
25   my office                                               25         MR. CARDWELL: We don't know. Did you?



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  1        BY MR. REICHER:                                  1   supervising Mr. Hackman's work?
  2     Q I'm sorry. That was a bad question. Did           2      A I would say so.
  3   Karen or I discuss the subject of the testimony       3      Q Was Mr. Gewerter still able to supervise
  4   with you, Ms. Dowling? Sorry.                         4   things from abroad?
  5         MR. CARDWELL: Oh, absolutely not.               5      A Sometimes.
  6         BY MR. REICHER:                                 6      Q How would that happen?
  7      Q And other than Mr. Cardwell, did you             7      A We would e-mail. Phone calls, e-mail.
  8   discuss the substance of your testimony?              8      Q Was he regularly on e-mail?
  9      A No.                                              9      A Yes.
 10     Q At Gewerter Law, did everybody have their        10      Q Would there be delays in reaching him or
 11   own computer?                                        11   hearing back from him?
 12     A Yes.                                             12      A Sometimes.
 13      Q Were they firm-provided personal                13      Q If he was abroad, how often would you
 14   computers?                                           14   speak on the telephone with him generally?
 15      A I know for mine it was firm provided. I         15      A Several times a week.
 16   can't really speak for everyone else.                16      Q Do you have any idea how long Mr. Hackman
 17     Q Do you know what your firm-provided              17   would speak with him?
 18   computer was called? So, for instance, do you        18     A Probably say about the same. To the
 19   know if you name the computer on Word? You can       19   extent that I'm aware of who he was talking to
 20   have this is Elaine Dowling's computer or EAD or     20   over whatever, but I mean, yeah, I would talk to
 21   anything like that. Do you understand what I'm       21   him a couple times a week.
 22   asking?                                              22      Q How often in the 2015 timeframe was Mr.
 23      A Yeah, but I don't know the answer to it.        23   Gewerter out of the country?
 24     Q So if you made track changes in a document       24     A Okay. So have we established that I
 25   on Gewerter Law, do you know what would pop up?      25   started in 2014? Do you know?


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  1      A No. I'm not a big fan of track changes           1      Q I think you said '13 or '14. I think but
  2   though, but I honestly don't know what my computer    2   don't quote me on it, but I think I've seen you on
  3   was called. It was there when I got there. I          3   stuff on '14. I'm not sure about '13. Although
  4   have no idea.                                         4   we didn't actually ask in our subpoenas from stuff
  5       Q And I take it if you saved a document -- I      5   from '13?
  6   don't know if you were on it. When you look at a      6      A I think it's '14.
  7   document, you can see who created it, the author,     7      Q Definitely by some time in '14 at the
  8   and who last edited it or modified it. I forget       8   latest. That I'm confident with.
  9   what word they use. Do you know if you were the       9      A So I'm sorry. What was the timeframe that
 10   last person to edit a document, do you know what     10   you're asking me about when he was out of the
 11   it would show on your Gewerter Law computer?         11   country?
 12      A No.                                             12      Q Let's start with 2015.
 13       Q Do you know what it would show on any          13      A I wouldn't say very often.
 14   current computer you use?                            14      Q Not very often.
 15      A No.                                             15      A Not nearly as much as towards the end. I
 16       Q I'll ask the question unless I know the        16   would say it started happening more frequently
 17   answer. If -- did you know what would show up as     17   when we went to the Casino Center address. That's
 18   the last modified on any other --                    18   kind of how I view timelines in my head.
 19      A No.                                             19      Q And when in your recollection of when you
 20       Q And unfortunately, it sounds like some         20   moved to the Casino Center address?
 21   feedback --                                          21      A When did I leave? When did I start EAD?
 22          (Off record.)                                 22   I want to say that we were at the Fort Apache
 23         BY MR. REICHER:                                23   address for about a year.
 24       Q When Mr. Gewerter was traveling out of         24      Q So that would have been roughly '14 you
 25   country, did you take over a greater role in         25   think?


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 1       A Maybe '14 to '15 or maybe it was in 2000        1   -- are they all synonymous?
 2   -- I'm so sorry. I'm not trying to be obtuse.         2       A Yes.
 3   I'm just so bad at that. I want to say I was at       3      Q If when I ask questions about along the
 4   the Fort Apache address for about a year or more      4   lines of did you hear him referred to as attorney
 5   and then moved to Casino Center and during the        5   or any one of those other securities -- other
 6   course of the time at Casino Center, he was gone      6   counsel or lawyer, will you understand that any
 7   more frequently.                                      7   one of those words will mean any of the three?
 8     Q I can figure out. I don't know but we             8     A Yes.
 9   might be able to figure out. So we'll call it the     9     Q Did you ever hear him correct someone who
10   Fort Apache time and the Casino time. What is        10   had referred to him as a lawyer?
11   your rough recollection of how often he was out of   11      A There were a few occasions that I can
12   the country during the Fort Apache time?             12   think of in my experience -- I can't speak for
13      A Not very often, maybe a handful of time.        13   Harold -- that I've had to correct people, just
14      Q During the Fort Apache time only a handful      14   because I -- well, you know, just for an example
15   of times?                                            15   when I'm making an introduction. I make it clear
16      A Yeah, I'm really stretching here, but           16   that he is not a licensed attorney; that I am, and
17   yeah, I'm okay with that answer.                     17   if I hear in my presence anyone refer to him as an
18      Q Once you got to Casino Center -- and we'll      18   attorney, I make sure that I correct it.
19   see if we can figure out exactly when that was       19     Q Would you do that -- you said here. If
20   later -- how often was he out of country?            20   you saw that in a written communication, such as
21     A It would go in spurts. So, like, maybe he        21   an e-mail, would you correct it in that setting?
22   would be out for three weeks and then he would be    22      A Yes. If I -- if I caught it at that time,
23   back for, you know, six weeks, something like        23   I would correct it. I am aware just in going
24   that. Sometimes he would only be gone for four       24   through all these e-mails, pursuant to the
25   days, but he was going more frequently.              25   subpoena, of occasions where I see that someone


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 1     Q Let me ask you when he was in the country,        1   has referred to him as an attorney or in so many
 2   would he telework frequently or did he generally      2   words, and if I caught that at that time, I would
 3   come to the office?                                   3   have corrected it.
 4     A Both, but he was in the office.                   4      Q Why would you have corrected it if you
 5     Q Roughly speaking, again excluding times he        5   caught it?
 6   was away out of the country, vacation, when he was    6      A Because I don't want people thinking
 7   in Las Vegas working, how often would he telework     7   that's he's a lawyer when he's not.
 8   on a typical week?                                    8      Q Why would that be problematic?
 9       A I honestly do not know. I don't. He was         9      A I think all the reasons that we just
10   in the office quite a bit when he was in town.       10   discussed before. Remember we talked about this
11     Q In the time you were at Gewerter Law, do         11   with it being a state bar rule and so forth. You
12   you have any reason to believe that Mr. Hackman      12   can't hold yourself out as an attorney if you're
13   violated his disbarment?                             13   not one.
14      A Violated his disbarment?                        14      Q If clients understood that he was an
15      Q Correct.                                        15   attorney, that would be a violation of state
16      A In the time he was at Gewerter Law? No.         16   federal rules as you understand it.
17     Q Did you ever see or hear of him doing            17      A Yes.
18   anything that you thought constituted legal work?    18           MR. REICHER: Sorry for the brief guest.
19      A Not that I define it. Not that he was           19   Just for the record, my five-year-old walked in
20   acting as an attorney, no.                           20   briefly which was escorted out.
21      Q Did you ever hear him referred to as an         21           BY MR. REICHER:
22   attorney?                                            22      Q You mentioned I think that you did correct
23      A No.                                             23   people on some number of occasions. Can you tell
24      Q And here, when I say "attorney," can we         24   me more about that?
25   agree that attorney, lawyer, counsel, they're all    25      A No, not really. If I hear it with my own


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  1   ears and sometimes people when making                  1   this deal, I have come across an e-mail that I
  2   introductions will say, our attorney Elaine and        2   don't have -- like, I don't see in the string
  3   Shawn and I'm, like, just so we're all clear, you      3   where I corrected someone. And they introduced
  4   know he's not a licensed attorney.                     4   Shawn and I as attorneys, and I don't see in that
  5      Q How many times do you believe you've              5   e-mail where I corrected it but if I would have
  6   corrected somebody who made a statement along          6   seen it, I would have corrected it.
  7   those lines?                                           7     Q The e-mails that you believe exist where
  8      A Numerous. I don't know how many times but         8   you corrected someone in an e-mail, would those
  9   it's happened. I don't really have a number to         9   have been produced to us?
 10   estimate.                                             10     A It depends on where they were located. If
 11      Q Can you give me any sense?                       11   they were part of what would be relevant to the
 12      A During the times at Harold's or during the       12   production. So they would be if it was a relevant
 13   times at mine? All of those combined, I don't         13   related thing, yes.
 14   know, 10, 15.                                         14      Q I see. So if it was all related to a
 15      Q With whom did you make these corrections?        15   securities law client where you corrected somebody
 16      A I really don't recall anyone specifically.       16   about Mr. Hackman's role, that would have been
 17   It's not a huge deal to me to correct somebody in     17   produced?
 18   that way so no one sticks out in my mind,             18     A If it was part of the search -- if it was
 19   particularly, and if I'm making the introductions,    19   part of the search terms or, you know, Shawn was
 20   like I said, I make it clear right out of the         20   copied on it, then yeah, it would be produced.
 21   gate.                                                 21   But I don't even know that it's a
 22      Q So is there any specific individual you          22   securities-related matter where -- so I don't
 23   can tell me you had a conversation along the lines    23   know.
 24   where you corrected someone to make clear that Mr.    24     Q If it corrected a litigation client about
 25   Hackman was not an attorney?                          25   Mr. Hackman's role, that might not have been


                                                 Page 111                                                       Page 113
  1       A No, I really can't. I can't think of             1   produced?
  2   anyone off the top of my head.                         2      A Right. Wouldn't have been.
  3       Q Is there anything that could help refresh        3      Q So on the securities law role, are you
  4   your recollection along these lines?                   4   aware of any documents in which you corrected Mr.
  5       A You tell me if there's something you can         5   Hackman's role that were not --
  6   show me or try.                                        6            (Reporter interruption.)
  7       Q Do you remember what clients these have          7      A I'm sorry. Say that again.
  8   related to?                                            8            BY MR. REICHER:
  9       A I think I just answered that.                    9      Q Are you aware of any litigation clients
 10       Q I take it there's nothing more specific         10   where you corrected Mr. Hackman's role but didn't
 11   you can give me in terms of having these              11   produce them to us because it was litigation?
 12   conversations?                                        12      A I'm not aware of where I could find that
 13       A No. I remember a handful of times being         13   specific -- where I could find those specific
 14   in a conference room. I can sort of imagine that      14   e-mails. I just know that I have corrected people
 15   but I can't tell you who it was. I have lots of       15   before but I couldn't tell you where to find
 16   clients and frankly, I have absolutely no reason      16   those.
 17   why I would want anyone to believe that. So if I      17      Q Is there any reason to believe that if
 18   hear it, I correct it.                                18   there were such a correction relating to
 19       Q I know you said if you saw it in an e-mail      19   securities law matters, it wouldn't have been part
 20   you would correct it. Do you believe that there       20   of your production?
 21   were e-mails where you corrected and made clear       21      A No, there's no reason to believe that.
 22   that Mr. Hackman is not an attorney?                  22      Q If somebody had made a correction --
 23       A I believe so. And I do not know who that        23   sorry. Had made -- let me start again. If
 24   client is, but I believe I have. Like I said, in      24   somebody had misidentified Mr. Hackman as a lawyer
 25   going through preparing or gathering documents for    25   in an e-mail and you noticed it, would you have



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 1   e-mailed back the correction?                            1       A Yes.
 2      A I believe so.                                       2       Q Can you tell me when such a conversation
 3      Q Would you have warranted communication              3   occurred? With whom? The person? The client?
 4   clearing up the misunderstanding rather than             4   Can you give me any specific information --
 5   relying simply on a phone call?                          5       A No.
 6      A There's nothing that benefits me by                 6       Q -- about conversation with them?
 7   allowing people to believe that Shawn is a lawyer.       7       A I cannot. I don't have a specific memory
 8   It hurts me, and I don't want anyone to think            8   of a specific client. It happens all the time.
 9   that. So I don't know if it would be a phone call        9   Quite honestly, people make that assumption and I
10   or it could be an e-mail. But I never really felt       10   correct it. I don't want to speculate as to the
11   the strong desire that I had to have it in              11   reasons why they make that assumption but it's
12   writing, just advise people, but it's possible I        12   just the way it is.
13   have e-mailed people. I have recollections of           13       Q Let's say I show you an e-mail and it has
14   that.                                                   14   -- it's an e-mail from a client saying this is
15     Q Do you recall any specific examples where           15   Shawn as a lawyer or something to that effect and
16   you saw an e-mail with someone misunderstanding         16   there's no written corrections, is there any way
17   Mr. Hackman's role and viewing him as an attorney       17   for me to -- for you to -- let me -- sorry. If I
18   where you called them back to set them straight         18   show you such an e-mail, would there be any sort
19   rather than e-mail?                                     19   of proof if you can, tell me oh, yes, afterwards I
20      A I don't have a specific memory of picking          20   called that client and got it straight.
21   up the phone at that moment, but I do have              21       A Proof?
22   memories of a couple of occasions when I speak to       22       Q Correct.
23   the person on the phone I said -- so everyone is        23       A I don't know how I would prove a phone
24   clear and understanding -- I'm the attorney on          24   call to you, so I guess no.
25   this matter.                                            25       Q And that's what I'm trying to get any sort


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 1      Q Understood?                                         1   of specifics. If you can tell me, you know, I
 2      A Meaning at a convenient time when we                2   have an idea but there was a conversation with a
 3   convene, I'll make that known again.                     3   Joe Smith where he misunderstood Hackman was a
 4      Q Understood. If you saw an e-mail calling            4   lawyer. I didn't e-mail him but then I called
 5   Mr. Hackman an attorney, would you wait until the        5   him.
 6   next time you spoke with the client to set the           6      A I do not know.
 7   record straight?                                         7      Q Because I have a feeling once I start
 8      A I don't know. It would depend on when I             8   showing you documents like that, all of a sudden
 9   was going to talk to them, I suppose.                    9   oh, yes, I called Joe.
10     Q So sitting here today, do you have any              10      A Are you saying that I would lie?
11   recollection of receiving a written e-mail from a       11         MR. CARDWELL: Let me just object here.
12   client calling Mr. Hackman an attorney or               12   You're asking questions, right? So ask the
13   something to that effect where you only have a          13   question. If you've got something you want to
14   phone call in response to it, not an e-mail             14   show her, you can show her, but I don't want
15   clarification?                                          15   statements made or for you to say on the record
16      A I think I can recall that, yes. If I had           16   that you anticipate my witness is going to testify
17   plans to talk to them later that day, I would           17   a certain way. If you want to show her something,
18   advise them.                                            18   show it.
19     Q Can you tell me anything about the times            19       BY MR. REICHER:
20   where that happened?                                    20      Q Is there any -- before I start showing you
21      A I don't know what you mean about it.               21   documents, is there anything you can tell me about
22      Q You said there were probably times where           22   any time you had a conversation with a client
23   you got an e-mail talking about Hackman is a            23   directing them that Hackman was not a lawyer?
24   lawyer and in response, rather than e-mailing           24      A I can remember conversations. I don't
25   back, you called the client to say no, he's not?        25   know who they were with. I really don't. Like I



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  1   said, it happens all the time. And in my              1      Q Do you have any -- if it happened multiple
  2   litigation cases, all the time plaintiff attorneys    2   times, might you have any better recollection of
  3   will tell me or plaintiff's in a case, for            3   who that would have been with?
  4   example, will tell me oh, my lawyer, Monica, and      4     A Honestly, I do not have a recollection of
  5   I'm, like, Monica is not a lawyer.                    5   a client. I don't know another way to say that.
  6           Quite often people mistake paralegals for     6      Q When did you split off from Gewerter Law?
  7   attorneys and they just think that because that's     7      A When did I start EAD?
  8   the person that they talk to on the phone             8        MR. CARDWELL: I can't give you that
  9   sometimes or whatever, that that's another            9   information.
 10   attorney. I think people are more likely to          10      A And I know you can't. I'm so bad at this,
 11   assume that if it's a middle-aged guy as well.       11   and I looked this up a million times knowing that
 12           So the reality is I've had to clarify this   12   you're going to ask me these question and okay.
 13   issue numerous times. So nothing really just         13   '16.
 14   stands out in my mind enough that I could point      14          BY MR. REICHER:
 15   you in that direction. If I had that available to    15      Q Okay. I believe if you look on the Nevada
 16   me, I would do it so we could move on.               16   secretary of state website, I believe, but I'm not
 17       Q You mentioned all the time about               17   absolutely positive, that EAD law was formed in
 18   litigation clients. Did it also happen all the       18   May 2016?
 19   time with security law clients?                      19      A Okay.
 20           MR. CARDWELL: Let me object. I think         20      Q That doesn't necessarily mean --
 21   that misstates her testimony when you say all the    21      A That was just my guess, so I have no
 22   time. I think --                                     22   reason to believe that's not true.
 23       A Well, I said it happens all the time.          23      Q Was there ever a time where there was
 24           MR. CARDWELL: Okay. Go ahead.                24   overlap; where you worked at the Gewerter Law but
 25       A My point is that I was referring to            25   you also had EAD going?


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  1   actually outside of my firm quite often plaintiffs    1      A Yes. So in May of '16, I would have
  2   think their paralegals are their attorneys, but I     2   formed EAD, and I think I left in, like, September
  3   just don't have a specific memory of a specific       3   or October of that year, obviously.
  4   client.                                               4      Q Did Mr. Hackman join you immediately?
  5           If you show me something, like you said,      5      A No.
  6   this is why we do have -- sometimes we use a          6      Q When did he join you?
  7   document to refresh someone's recollection. It's      7      A I'm not entirely sure. Would have been
  8   possible that I might not recall correcting that      8   like maybe February of '17 then.
  9   person whatsoever, and it's possible that it's        9      Q Until February of '17, would he have been
 10   fallen through the cracks. Like I said, I recall     10   doing any work for EAD law?
 11   just recently looking at an e-mail and I'm, like,    11      A Before 2/17.
 12   oh, my gosh, I just realized they said our           12      Q Correct?
 13   attorneys or whatever.                               13      A Yes.
 14           So I can't sit here and tell you that        14      Q Let me make sure I understood because I
 15   nothing has ever gone through the cracks, but if     15   take it he was -- was 2/17 when he left Gewerter?
 16   it's something that I notice, one way or another,    16      A Roughly. Yes.
 17   I'm going to correct it.                             17     Q So was there some period of time where
 18           BY MR. REICHER:                              18   Hackman was working both at Gewerter Law and at
 19        Q Do you believe that there were times that     19   EAD Law?
 20   you had to correct the same individual multiple      20     A Yes.
 21   times who continued to mistakenly identify Mr.       21       Q What is your best recollection of when he
 22   Hackman as an attorney?                              22   first worked at EAD Law?
 23        A It might have happened. Yes.                  23       A Probably around the time I formed the
 24        Q Do you believe it happened?                   24   Corp.
 25        A Yes.                                          25      Q So he did start at least on some capacity



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 1   working for you right away?                           1      A I don't know. I mean, not at my
 2       A In some capacity. I guess when you said         2   encouraging. I would not encourage him to do
 3   working for you, I was thinking in terms of           3   that. I wouldn't tell him to do that. I would
 4   actually leaving Harold and coming to me.             4   tell him not to do that but I don't know.
 5       Q Sure. Understood. So how did it work in         5      Q And were you -- any ways to supervise work
 6   the roughly May to February time period where he      6   that was done on the Gewerter law e-mail address?
 7   was working for both firms?                           7      A No.
 8       A I mean, just that. So -- yeah, just that.       8      Q Let me ask you did you do work at Gewerter
 9   He was physically at Harold's more, and I did not     9   Law for a company named Anfield, A-N-F-I-E-L-D?
10   have an office space at that time, so I was          10     A I don't know but it doesn't ring a bell.
11   working out of the house.                            11     Q If it doesn't ring a bell, do you believe
12       Q Okay. When did you first start at EAD's        12   you did work for them at EAD Law?
13   physical office?                                     13     A I don't know.
14       A I don't know. I can just tell you the          14      Q Let me quickly bring up Exhibit 121 --
15   first office that I had was at Regis and that was    15   sorry. It's 121 A. And for identification this
16   the Las Vegas Boulevard address.                     16   is e-mail from Mr. Hackman to Kim Southworth
17       Q Were there any clients that were Gewerter      17   2/28/17.
18   Law clients that moved over to EAD?                  18      A Okay.
19       A Yes.                                           19       Q Let me scroll down so you can read a
20       Q Can you tell me which clients those were?      20   little more. The bottom is just sort of an
21       A Honestly, I can't. There's several.            21   e-mail. Did you do work with a George Roundy
22       Q Here, I'm talking only SEC clients. Were       22   referenced here?
23   there several SEC clients?                           23         MR. CARDWELL: It's not up on our screen
24       A Understood. Yes, there were some. I just       24   here.
25   can't provide the names.                             25         MR. REICHER: Oh, it's not. I'm sorry.


                                         Page 123                                                        Page 125
 1      Q On a relatively high level, why did you          1   My fault.
 2   split from Harold?                                    2        BY MR. REICHER:
 3      A What do you mean by high level?                  3      Q Was George Roundy ever a client of yours?
 4      Q I don't need pages of why you left Harold,       4      A So it's not ringing a bell.
 5   sort of the general idea of why you split off.        5       Q Do you believe Gary Clark, was that a
 6      A I wasn't happy.                                  6   client of yours?
 7      Q Can you elaborate a little bit?                  7      A Gary Clark?
 8      A Sure. Yeah, he was -- I wasn't happy with        8      Q Correct.
 9   Harold just generally. I was upset as an example      9      A Doesn't sound familiar.
10   by some of the phone calls that were coming into     10      Q Was Kim Southworth ever a client of yours?
11   the office. And I felt that it was best that I       11      A Yes.
12   part ways with Harold.                               12      Q You seem to sigh with that one.
13      Q When you say phone calls coming into the        13     A No. No. No. No. I just -- yeah, I've
14   office, what do you mean?                            14   known him a long time, but yes.
15      A Angry clients.                                  15      Q What companies was Mr. Southworth
16      Q What were the clients angry about?              16   associated with?
17      A So as we discussed before, there were           17      A Gosh, there's so many. I couldn't tell
18   several people -- I don't even know that you would   18   you off the top of my head.
19   call them clients, but that people were upset        19      Q Anything that you can think of sitting
20   about being at least in their mind owed money and    20   here?
21   so forth, and Harold was not in the office to        21      A I'm sorry. I can't.
22   address it himself and I'm left there.               22      Q With Mr. Southworth would you regularly
23      Q In the time Mr. Hackman worked at both          23   communicate with him?
24   firms, would he ever use the Gewerter Law or the     24     A Yes. I'm not sure what you mean by
25   Gewerter Dowling e-mail address for EAD work?        25   regularly, but. Many, many times over the course



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  1   of the years that I've known him.                        1          BY MR. REICHER:
  2      Q Would he also frequently communicate with           2       Q And then in response, Mr. Hackman sends an
  3   Mr. Hackman?                                             3    invoice and wiring instructions. Do you see that?
  4     A I believe so. I believe them to be                   4       A I do.
  5   friends.                                                 5       Q Did you ever have bank accounts at Citi?
  6      Q So you understand them to have more than a          6       A No.
  7   business relationship?                                   7       Q Do you know if Mr. Gewerter did?
  8     A I do. I mean, that's definitely -- it's              8       A I -- the only place I knew him to bank was
  9   not like I've ever asked that direct question.           9    I believe Wells.
 10   But I think that they socialize when Kim is in           10      Q And I'll represent to you that the -- I
 11   town and so forth.                                       11   don't think I have it here, but the attached wire
 12      Q And do you have a sense of whether                  12   instructions are to a Citibank account to Mr.
 13   Mr. Southworth would communicate more or less            13   Hackman. So do you know why Mr. Hackman was paid
 14   frequently with Mr. Hackman than with you on             14   directly for this 8-K?
 15   business matters?                                        15      A No.
 16     A He would communicate with him often. I               16      Q Did you have any involvement in this 8-K?
 17   mean, I don't really know. I don't know how often        17      A Not that I recall.
 18   Shawn talked with him.                                   18      Q Do you have any reason to believe Mr.
 19      Q Here's an e-mail. There's a discussion              19   Gewerter was involved?
 20   between Mr. Southworth and Mr. Hackman about an          20      A I wouldn't know one way or another.
 21   invoice that relates to Anfield 8-K? And he's            21      Q In this -- you can't tell, some e-mails
 22   asking --                                                22   show -- you see it's got the Kimds@ whatever but
 23        (Reporter interruption.)                            23   it doesn't have an attachment. I don't know why
 24      A How are you spelling that?                          24   some e-mails show that way but you can see below,
 25         BY MR. REICHER:                                    25   it's Shawnportside@gmail. Do you see that?


                                                    Page 127                                                   Page 129
  1      Q Anfield?                                             1      A I'm sorry. Where? I must be blind -- I'm
  2      A Yeah.                                                2   sorry. Karen, how did you say you enlarge the
  3      Q I believe it's A-N-F-I-E-L-D?                        3   screen?
  4      A Okay.                                                4                  (Off record.)
  5      Q So there's a discussion of whether it                5      A Okay. So you're asking me if I see that
  6   should go to HGB, which I believe is Gewerter; is         6   e-mail address Shawnportside@gmail?
  7   that fair?                                                7          BY MR. REICHER:
  8      A Yes, that's sometimes how he was referred            8      Q Right.
  9   to or how the firm was referred to.                       9      A I do.
 10      Q Or EAD would be your firm?                          10      Q Once he came to EAD Law, was Mr. Hackman
 11      A Right.                                              11   allowed to use personal e-mail addresses for EAD
 12      Q And then ultimately the decision was made           12   clients?
 13   to forward the information to Mr. Hackman's              13       A No.
 14   personal e-mail so it can run through you, you           14      Q So then are you aware of any personal
 15   being Mr. Hackman. Do you see that?                      15   e-mail addresses?
 16         MR. CARDWELL: I didn't understand that.            16      A I don't recall. I've never seen that one.
 17   I'm sorry.                                               17   I thought that I've seen another one. I couldn't
 18         BY MR. REICHER:                                    18   tell you what it was but something that would be
 19      Q If you look at the e-mail from February             19   like a personal e-mail account.
 20   28, 2017, from Mr. Southworth to Mr. Hackman, "I         20      Q For EAD Law work he was supposed to use
 21   will forward Kim your personal e-mail so that we         21   either the EAD@gmail you had at one time or the
 22   can run it through you." Do you see that?                22   EADlawgroup.com e-mail?
 23          MR. CARDWELL: Oh, okay. Down below.               23     A Yes.
 24   Yeah.                                                    24      Q Do you have any reason to believe he used
 25      A Okay.                                               25   personal e-mail in working for EAD clients?



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 1       A I'm certainly starting to suspect it.                   1   also the EAD -- the Shawn@EAD e-mails, those would
 2       Q Other than you suspect it because I'm                   2   be the only accounts of his that I have ever had
 3   asking the question, do you have any reason to                3   access to.
 4   believe that Mr. Hackman would have used personal             4      Q Correct. Yes. In calling EAD accounts, I
 5   e-mail accounts for EAD client business?                      5   was including -- I think, although I might have
 6         MR. CARDWELL: And just for clarification,               6   the exact address, Shawn.EADlaw@gmail -- I'm
 7   you're excluding what you just showed her.                    7   including that and I'm including the
 8      A Any other instances you mean?                            8   ShawnH@EADlawgroup.com address?
 9           BY MR. REICHER:                                       9      A I've never had access to any of his other
10       Q Well, it wasn't clear to me whether                    10   accounts -- and aside from the one at Gewerter I
11   Anfield was an EAD client?                                   11   had access to.
12     A Like I testified, I do not recall that.                  12      Q So were any of the other accounts that you
13           MR. CARDWELL: That's a fair point, too.              13   do not and did not have access to, would you have
14           BY MR. REICHER:                                      14   any way to supervise what Mr. Hackman was doing on
15      Q So let me ask the question again. Other                 15   those accounts?
16   than suspicions you may have based on me asking              16      A I would not.
17   the question, do you have any reason to believe              17      Q When you left Gewerter Law, did you take
18   that Mr. Hackman used personal e-mail addresses              18   anything from the firm; computers, anything like
19   rather than an EAD Law e-mail address for work for           19   that?
20   EAD clients?                                                 20      A No. In fact, I left my TV.
21      A I think that when I pulled -- and this                  21      Q Do you have any reason to believe Mr.
22   time period wouldn't be related to EAD or even a             22   Hackman took files or computers?
23   time period I don't think that I even -- that I              23      A No. I'm trying to remember if he had his
24   even knew Shawn. I just remember gathering                   24   own laptop at Harold's. If that's in fact the
25   documents recently -- and I don't even know that             25   case, then he would have taken it with him because


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 1   he was doing legal work for these people, but it              1   it was his.
 2   was pulled up when I made my production of all                2       Q Other than items than a personal laptop he
 3   those numerous e-mails.                                       3   used for work at Gewerter Law, do you have any
 4         I can't even remember what it was. It was               4   reason to believe he took anything else?
 5   a different e-mail address, but it was something              5       A I believe that he had a -- I believe he
 6   that led me to believe maybe that was a                       6   still had access to files for some period of time.
 7   possibility or, like, an invoice attached to an               7   I don't know what that period of time was. I do
 8   e-mail or something like that, but it was                     8   not recall having that access.
 9   unrelated to any time that I even knew these                  9       Q When is the last time, roughly speaking,
10   people, so I just went ahead and sent it along.              10   you had any contact with Mr. Gewerter?
11      Q So let's say roughly once EAD was firmly                11       A A very long time ago. He sent a couple of
12   established and Hackman was only working there.              12   nasty e-mails here and there, but it would have
13   So let's start March, 2017, forward. Do you have             13   been sometime -- it would have been a long time
14   any reason to believe in that timeframe Mr.                  14   ago.
15   Hackman used nonEAD Law e-mail addresses to do EAD           15       Q Let's switch gears a little bit and move
16   Law work?                                                    16   to the EAD time period. Did our subpoena that we
17      A I don't believe that I've ever seen                     17   sent in September, 2019, change the way that EAD
18   anything like that. Like I said, I just started              18   operates in any way?
19   having questions.                                            19       A I would say that I have been very careful
20      Q Did you ever have access to any of Mr.                  20   or at least I've tried to be -- to be certain that
21   Hackman's nonEAD law accounts?                               21   there's not misrepresentations being made to
22      A No.                                                     22   anyone. That everyone has a clear understanding.
23      Q So would --                                             23   So in that way, I would say there has been changes
24      A I'm sorry. Just so we're clear. The                     24   made. I've inquired of Mr. Hackman as to his
25   Gmail account that was affiliated with EAD and               25   activities. Obviously, the other incident that I



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  1   described to you. You know, yes -- I mean, yes,      1      Q About whether you believe Mr. Hackman has
  2   in a way.                                            2   violated disbarment or suspension?
  3       Q When you say you were more careful there       3      A Looking at the screen in front of me, I'm
  4   were no misunderstanding or misrepresentations, I    4   not saying that this is absolute evidence, but it
  5   don't remember the exact word you used. Can you      5   concerns me.
  6   sort of explain what you mean of what you did to     6      Q You still have Exhibit 121A up?
  7   be more careful?                                     7      A Right.
  8      A Well, I'm just trying as much as possible       8      Q So other than some of the documents I've
  9   to be, you know, I guess as aware as possible. So    9   shown you here so far today, have you had reason
 10   I don't have any specific things that I can tell    10   to believe Mr. Hackman was violating his
 11   you, but obviously it concerns me.                  11   disbarment or suspension?
 12       Q I guess, did it change in any way what you    12      A I told you about my concerns when he
 13   were doing presubpoena versus post subpoena?        13   received the check or the cashier's check, that's
 14      A No, not in the way that I practice law.        14   one thing that would have preceded what you're
 15       Q But in the way of how you supervise him?      15   putting before me right now.
 16      A I think I've been, like I said, just           16      Q Other than the one incident that you're
 17   careful to try to make sure that there's not any    17   describing before in roughly the January, 2020,
 18   misrepresentations being made. I would like to      18   timeframe and anything I've showed you today, do
 19   think that I've always been careful, but there's    19   you have reason to believe that he violated his
 20   some things that I wasn't aware of.                 20   disbarment or suspension?
 21       Q Can you elaborate on how you were trying      21      A Not that I can think of off the top of my
 22   to be particularly careful?                         22   head.
 23      A Not really. I mean, not particularly.          23      Q In response to our subpoena, was there any
 24       Q Did anything change in terms of how Mr.       24   change in e-mail practices at EAD Law?
 25   Hackman was allowed to communicate with your        25      A Not really.


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  1   clients?                                             1      Q And were there any changes in terms of how
  2       A I'm not sure I know what you mean.             2   he was supposed to identify himself?
  3     Q Well, in the sense of did the rules under        3       (Reporter interruption.)
  4   which he was allowed to communicate with clients     4      A If you're referring to inputting paralegal
  5   change in any way after our subpoena?                5   on the end of his name, I made certain that that
  6     A I don't think the rules really how he            6   happened, too.
  7   would communicate change. I was very adamant that    7       BY MR. REICHER:
  8   he needs to make sure that, you know, he's not       8      Q So post our subpoena, you made sure -- are
  9   allowing any, you know, misrepresentations or        9   you talking an e-mail header or?
 10   omissions or whatever to go unaddressed and         10     A Footer.
 11   obviously, just express my concerns generally       11     Q Footer. Under his e-mail signature block?
 12   about the subpoena.                                 12   Are we talking about the same thing?
 13      Q When you say express concerns, did our         13     A Yes. I guess I just thought about when I
 14   subpoena lead cause you to believe he may have      14   don't believe there was anything there before, so
 15   been violating his disbarment or suspension?        15   I wanted to make it as clear as possible that he
 16      A No, not at that time. Not at that time,        16   was, in fact, a legal assistant or paralegal.
 17   no, I didn't feel that way.                         17      Q Anything else you can think of?
 18      Q Am I correct that prior to our subpoena        18      A Not particularly, not that I can think of.
 19   you had no reason to believe that Mr. Hackman had   19      Q Do you know why he didn't have paralegal
 20   violated his disbarment suspension?                 20   or legal assistant on his e-mail signature
 21      A I did not.                                     21   beforehand?
 22      Q Now, you said at the time of our subpoena,     22      A No. There's -- I mean, there's not a
 23   that seemed to suggest that things might have       23   reason for it. I don't think that I ever really
 24   changed. Am I understanding correctly?              24   took note that it wasn't there. So something
 25      A My feelings.                                   25   would have occurred to me after I got the



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 1   subpoena, sure. But there's no reason -- like         1      A He was at the time that he was with
 2   there was no reason why I wouldn't have him have      2   Harold, I believe, he was studying for -- he was a
 3   it there.                                             3   student or he was studying for the bar, something
 4       Q Why did you want him to have it on there?       4   in that time period. He's now a lawyer.
 5       A Because I got a subpoena suggesting that        5      Q But in the timeframe at Gewerter Law, he
 6   he was -- at least there was a suspicion that he      6   was not an attorney?
 7   violated some of his suspension rules. That's not     7      A I don't believe he passed the bar.
 8   to say that at that moment I believed that he had,    8      Q So going back to EAD Law, if you were the
 9   but, you know, whatever steps I could take to try     9   only -- did I understand you correctly that you're
10   to make it clear.                                    10   the only other attorney who is at EAD?
11       Q Do you believe having paralegal listed         11      A That's correct.
12   clearly in his e-mail is important to help make it   12      Q Have there been other attorneys that you
13   clear what his role is?                              13   hired on a contract basis?
14       A I think it makes it more clear.                14      A I don't think so, but something started
15       Q Was there ever a time where he had             15   nagging me. I feel like -- I don't know. I don't
16   paralegal in his e-mail signature line before our    16   think so.
17   subpoena at EAD?                                     17      Q If you had it would be a fairly rare?
18       A I honestly don't recall. I don't know.         18      A It would be fairly rare.
19       Q As you know, we subpoenaed some of your        19      Q Was there anyone else responsible for
20   clients.                                             20   supervising Hackman at EAD Law other than you?
21       A Yes.                                           21      A No.
22       Q Other than clients who may have reached        22      Q Was there ever any time that a lawyer
23   out to you about the subpoena, was there any other   23   outside of EAD Law supervised Mr. Hackman or EAD
24   effort to reach out to clients about our subpoena?   24   Law?
25       A No.                                            25      A There is an attorney that I have used for


                                            Page 139                                                         Page 141
 1       Q Was there any effort to reach out to            1   some OTC filings. I don't know that I would call
 2   clients about Mr. Hackman's status?                   2   his role one where he would be supervising Shawn
 3      A About Mr. Hackman's what?                        3   necessarily but that's the only thing that I can
 4      Q Status. Making clear that he was not a           4   think of.
 5   lawyer?                                               5      Q Who was this attorney?
 6      A No. No one that got a subpoena that I            6      A Byron Thomas.
 7   reached out to outside of them reaching out to me.    7      Q If Mr. Thomas was doing OTC filings, would
 8      Q Separate and apart from the subpoena, if         8   that be done under the rubric of EAD Law or under
 9   someone didn't reach out to you, you wouldn't         9   his own firm?
10   necessarily know whether someone got a subpoena;     10      A He would do it with his own firm. So
11   does that make sense?                                11   actually come to think of it, I'm not really using
12     A Yes.                                             12   him for EAD work, but I'm just -- in some cases --
13     Q So let's say there was a client you didn't       13   please don't ask me what clients -- but I have
14   hear from and maybe that's because they got a        14   sent them over to Byron. So it's not really using
15   subpoena and didn't reach out or maybe we didn't     15   him as a contract attorney. It's more of a
16   speak, was there any effort to reach out to them     16   referral.
17   to clarify about Mr. Hackman's status?               17      Q After a referred matter to Mr. Thomas, did
18      A Not that I recall.                              18   Mr. Hackman stay involved assisting with the
19      Q Were there ever any other lawyers working       19   matter?
20   at EAD Law?                                          20     A I think in some cases or maybe in one
21      A No.                                             21   case, there was an overlap of work that the firm
22      Q I've seen a name somewhere, Keivan              22   was still doing and then Byron was handling some
23   Roebuck, and I'll spell it.                          23   of the other aspects.
24     A It's Keivan.                                     24      Q Was any work Mr. Hackman was doing in that
25      Q Keivan. Was he an attorney?                     25   overlap period part in parcel of his work for EAD



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  1   Law?                                                      1   there's been a client that I sent to him that was
  2     A I'm not sure I understand.                            2   nonOTC related. Maybe there was some cross
  3      Q I guess when -- I think I understood you             3   section. I don't know.
  4   to say Mr. Hackman there might have been some             4       Q But I guess let's say a client needed
  5   overlap period in the transition to whatever              5   something for OTC but also had other SEC work?
  6   client this was from EAD Law to Mr. Thomas. To            6       A Okay.
  7   the extent that Mr. Hackman was doing work in that        7       Q Would you have sent the client altogether
  8   time, would that have been part of his                    8   to the other firm or would you have retained the
  9   responsibilities at EAD Law?                              9   pieces that you --
 10      A Yes.                                                10       A If it made logical sense to me, then
 11      Q So would you have been the one responsible          11   perhaps I would just transfer the whole thing or
 12   for supervising him for that work?                       12   maybe I would stick with it. I'm not sure.
 13      A Yes. If I know what that work is, but I             13       Q But sitting here today, do you recall any
 14   don't. I'm not sure exactly what filings we're           14   specific client where you sent him more than OTC
 15   talking about or anything. There's just it's just        15   work?
 16   something that occurred to me that I've had              16            (Reporter interruption.)
 17   another firm work for, but like I said, it's more        17          MR. CARDWELL: Asked and answered.
 18   of a referral than anything else.                        18       A I don't. I don't have a specific client
 19      Q Do you believe Mr. Hackman has been paid            19   in mind.
 20   by Mr. Thomas for any work?                              20          BY MR. REICHER:
 21      A I don't know.                                       21       Q We talked about other legal staff. Have
 22      Q I have to ask the question. Do you recall           22   you had other paralegals at the time at EAD Law?
 23   which client or clients you referred to                  23       A Yes.
 24   Mr. Thomas?                                              24       Q Can you just quickly list them?
 25     A I really don't.                                      25       A Kimberly Hale. Nicole, she was there


                                                    Page 143                                                 Page 145
  1      Q You mentioned OTC filings. Do you refer              1   brief period of time and she worked on my defense
  2   anything else to Mr. Thomas?                              2   stuff and there was a woman that came to work
  3     A I'm not sure. He used to work with                    3   there for, like, a couple of weeks named Diane --
  4   Harold, so I know that -- I just -- I can't               4   I don't know her last name off the top of my head
  5   remember if I referred anything else.                     5   -- and Garret Denham and Nicol Wilkinson?
  6      Q To the best of your recollection, how many           6       Q Did any of these paralegals leave on bad
  7   clients have you referred to Mr. Thomas?                  7   terms?
  8       A Not many, less than five, if I had to               8      A Nicole's departure, she was disgruntled.
  9   guess.                                                    9   She didn't feel like she was being made to feel
 10      Q Why would you refer OTC clients to                  10   like part of the team. Kimberly's was a little
 11   Mr. Thomas?                                              11   bit unexpected, so I don't know if there was
 12     A The OTC has suspended me from making OTC             12   something she was upset about. She didn't talk
 13   filings.                                                 13   much, and otherwise, I would say no. Like I said,
 14      Q Why did OTC suspend you from making OTC             14   Diane was there for such a short time.
 15   filings?                                                 15      Q I think you mentioned there were two
 16       A You would have to ask them about that. It          16   Nicoles. A Nicol Wilkinson and a Nicole -- we
 17   doesn't make any sense to me.                            17   didn't get the last name?
 18      Q Did they provide any information to you?            18      A I can't remember her last name.
 19      A They provided a letter which was                    19      Q In terms of the one who left on the not
 20   extremely vague. I had a brief conversation with         20   entirely happy terms, which one were you referring
 21   somebody at OTC, can't remember her name, and was        21   to?
 22   contemplating an appeal but I haven't done that.         22      A The one that's name I can't remember.
 23      Q Would you have any reason to send                   23      Q So Nicol Wilkinson left on perfectly good
 24   Mr. Thomas nonOTC filing work?                           24   terms?
 25     A Not particularly. I just can't recall if             25      A As far as I know. I liked her a lot.



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 1      Q Do you have any reason to believe -- let's         1   draft, would you want him or not want him to put
 2   exclude the Nicole you can't remember. Do you           2   track changes on it?
 3   have any reason to believe that any other of the        3       A I don't know that I've ever had that
 4   paralegals would have a reason to hurt you?             4   conversation with him. But like I said, my
 5      A To what?                                           5   preference is not to have them because I think
 6      Q To hurt you or get you in trouble?                 6   they're a pain.
 7      A I wouldn't think so, but I don't know.             7       Q We discussed handwritten edits. When
 8      Q Did -- we talked about computers at                8   would you tend to make handwritten edits on the
 9   Gewerter Law. I want to talk a little bit about         9   document?
10   EAD Law. Did everyone have their own computer?         10       A Someone handed it to me.
11      A Yes.                                              11       Q So if someone handed it to you in the
12      Q Were they firm-provided or personally             12   office, you would make handwritten edits?
13   provided?                                              13       A If I had any.
14     A Personally.                                        14       Q Would the old version of those documents
15     Q I think I asked, but do you have any idea          15   be saved anywhere?
16   how anyone's computers were identified?                16       A Not necessarily.
17      A No, I don't know that they were.                  17       Q Did you tend to save much in hard copy
18      Q Did Mr. Hackman have a desktop he would           18   files?
19   use in the office?                                     19       A I'm sorry. Can you clarify that? You
20      A No.                                               20   mean, do I have paper copies of my files?
21      Q He would just have a laptop?                      21       Q Would you keep paper copies of drafts?
22      A Yes.                                              22       A No, not typically of drafts.
23      Q Did the others also have a laptop?                23       Q Do you use an electronic signature?
24      A Yes.                                              24       A Sometimes.
25      Q And did you use a laptop as well?                 25       Q Who has access to it?


                                                 Page 147                                            Page 149
 1      A Yes.                                               1       A Anyone. I mean, I believe. Like my
 2      Q Does EAD Law have shared network drivers?          2   electronic -- oh, I'm sorry. So you mean, like,
 3      A No.                                                3   my handwritten?
 4      Q So other than what we discussed before             4       Q Right. So you see some documents just
 5   about e-mailing or printing on the hard copy,           5   slash S for electronic signature, but then you
 6   would there be any way to distribute drafts among       6   also see somewhere there's an -- I don't know if
 7   the employees?                                          7   it's a JPEG or a TMG; I'm not sure the exact file
 8      A No particular way.                                 8   type. But you can see that there's an electronic
 9      Q If you were to get a draft and get someone         9   version of a signature that looks similar to a
10   else a draft, they would e-mail it and print off a     10   handwritten, but it's enough. I think it's
11   hard copy?                                             11   basically signing in stamp?
12     A As far as I know. I honestly can't think           12       A I got you. Any people that worked for me
13   for the life of me how else that would transpire,      13   would likely have access to that.
14   unless I'm missing the boat here.                      14       Q So on any of their computers?
15      Q I'm just asking about your practice.              15       A Yes, I believe so.
16      A Right.                                            16       Q What were the rules concerning use of your
17      Q You mentioned before that you're not a big        17   electronic signature?
18   fan of track changes. So do you not generally use      18       A I have to approve.
19   them if you're editing in the document?                19       Q Would there be specific authorization for
20      A No. I just save it and edit it. I mean,           20   each time to approve or sort of general stuff they
21   it's not to say that I've never used it. It's          21   would know?
22   usually if someone else has drafted it and sent it     22       A Really every time just that I approve.
23   to me. I just don't like it because it just seems      23   Not necessarily -- I mean, it could be -- yeah, go
24   like extra work; easier just to change it.             24   ahead, thumbs up, but I would expect someone to
25      Q If Mr. Hackman is making a revision to a          25   request approval before they send anything with my



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  1   signature on it.                                      1   don't know if it was a joke. I wouldn't say that
  2       Q How would they tend to seek approval?           2   Shawn ever went by the nickname Rumpelstiltskin;
  3       A Whatever was convenient. Hey, Elaine, is        3   this would be news to me.
  4   this cool, yeah. It could be anything.                4           However, I remember some rumbling about
  5       Q But that was if you were in the office, I       5   that's, like, how his computer was called or
  6   take it?                                              6   something like that. So yes, that's what I know
  7       A No. It could be a phone call. I'm               7   of and I don't know why that was done. I think I
  8   available to my staff all the time, so they can       8   asked Hackman about it one time at Harold's office
  9   always call me and do.                                9   and he was, like, it was just a joke or something
 10       Q Do you believe that it was easy for your       10   along those lines. But it didn't -- it wasn't
 11   staff to reach you on the phone?                     11   really something that I took issue with, but I
 12       A Very.                                          12   just remember it being brought up.
 13       Q Why do you say that?                           13       Q If we saw a computer or application from a
 14       A Because everyone was able to contact me.       14   computer identifying Rumpelstiltskin, is it your
 15       Q Did any of them ever express that they had     15   understanding that that was likely Mr. Hackman's
 16   difficulty contacting you?                           16   computer?
 17       A Not to me, they didn't.                        17       A I think so. I think so.
 18       Q What steps were in place to ensure that        18       Q Do you ever remember seeing
 19   your electronic signature wasn't misused?            19   Rumpelstiltskin on documents in any way?
 20       A I'm not aware of any specific steps. I         20           THE WITNESS: Do you mind if I respond to
 21   would like to think that I can trust my staff, and   21   something real fast?
 22   I had no reason to believe that anyone was           22           MR. REICHER: Sure. Go ahead.
 23   misusing it.                                         23           THE WITNESS: It's family related.
 24       Q I'm not misrepresenting this happened.         24           MR. REICHER: Yes.
 25   I'm asking as a hypothetical. If a client paid       25           (Off record.)


                                               Page 151                                                  Page 153
  1   Mr. Hackman directly for work such as an opinion      1       BY MR. REICHER:
  2   letter, what would there be that would prevent him    2      Q I asked the question if you ever seen
  3   from preparing the opinion letter and affixing        3   Rumpelstiltskin on documents?
  4   your electronic stamp?                                4     A I honestly can't remember if, when there
  5      A Well, hopefully his morals.                      5   was this whole inquiry or even why there was an
  6      Q Understood. Other than that, were there          6   inquiry about it, if I actually saw it with my own
  7   specific office policies, procedures, that would      7   eyes. I can't recall.
  8   prevent or make more difficult Mr. Hackman doing      8      Q How did close clients pay EAD Law?
  9   that?                                                 9      A Various ways; credit card, check, wire.
 10      A I can't think of anything -- any procedure      10      Q Cash?
 11   that was put in place other than you need to have    11      A No, that wouldn't be my practice. I would
 12   my approval to affix my signature to something.      12   accept it but...
 13     Q Have you ever gone by the nickname               13      Q Any electronic platforms?
 14   Rumpelstiltskin?                                     14      A A few people have asked me if they could
 15      A No.                                             15   Zelle me.
 16      Q Have you ever been associated in any way        16      Q Other than Zelle, have you used other
 17   with Rumpelstiltskin?                                17   electronic platforms?
 18      A No.                                             18      A I do not think anyone has ever Venmoed me
 19      Q Did you ever set your computer to be            19   or plenty of people have Venmoed me but not for
 20   identified as Rumpelstiltskin?                       20   work-related issues.
 21      A I have not.                                     21      Q Is your Venmo identified to your EAD Law
 22      Q Do you know of anyone who has gone by the       22   e-mail address or something else?
 23   nickname or been associated with Rumpelstiltskin?    23      A It's not. It's my personal.
 24      A I am very vaguely aware of some situation,      24      Q Is there any reason that EAD Law would get
 25   I believe, when it was at Harold's firm, where I     25   Venmo payments to a different e-mail address?



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                                                Page 154                                                      Page 156
 1       A That EAD Law would get Venmo payments to a       1   lines.
 2   different address?                                     2       Q The check being made out to him or funds
 3       Q Right.                                           3   being transferred to his account, have there ever
 4       A I don't know if I'm following that.              4   been anything like that where a client --
 5       Q To your knowledge, did any EAD Law               5      A Oh, has paid him?
 6   client -- I know you said you weren't 100 percent      6       Q -- paid him and then he gave it to the
 7   positive about getting any Venmo to you?               7   firm?
 8       A Yes.                                             8      A Not that I can recall.
 9       Q Whatever your personal address, are you          9       Q Did you ever authorize to receive payments
10   aware of any other clients Venmoing money to --       10   in any form on behalf of the firm?
11   for EAD work to an address that is not your           11      A Personally, no.
12   personal e-mail?                                      12       Q I'm not talking about -- if someone came
13       A I'm not aware of that happening with            13   in with a check to EAD Law and they handed it to
14   Venmo. I will tell you that my -- there was a         14   Mr. Hackman, I'm not talking about that. I'm
15   time being, and I think I finally figured out how     15   talking about actually money going to Mr. Hackman?
16   to fix it, but there was a time being where no one    16      A I understand. I mean, no, I would not --
17   was able to Zelle me. It was just automatically       17   I wouldn't authorize that. I'd have them make it
18   pulling my personal account. So there was no way      18   to the firm.
19   for anyone to Zelle the firm. It was just going       19       Q Have clients ever paid you in stock for
20   into my personal account.                             20   your services?
21          I mean, that happened a couple of times        21     A Never.
22   but we're not talking about large transactions at     22       Q Is there anything improper about doing
23   all because there's even a limit on the Zelle. So     23   that, in your mind?
24   I think that a couple of times maybe it went to my    24      A I wouldn't do it.
25   personal account but.                                 25       Q Why is that?


                                                Page 155                                                      Page 157
 1       Q Is there any reason -- do you believe that      1       A It's just sticky. I would want to avoid
 2   a firm client made payment to one of Mr. Hackman's    2    it all together.
 3   Venmo account?                                        3       Q Do you know whether clients of EAD Law
 4     A Not that I've ever been made aware of.            4    have ever paid Mr. Hackman in stock?
 5     Q Has the firm ever gotten payments from            5       A I am not aware of it, and would not allow
 6   PayPal?                                               6    it if I was made aware of such a thing.
 7     A Maybe. It wouldn't be regular, but I              7       Q And when I asked Mr. Hackman -- I want to
 8   might have. I'm not sure.                             8    make clear should there be any company that Mr.
 9       Q If the firm got payments to PayPal, would       9    Hackman controls or has an interest in. So are
10   it be to one of your addresses; either business or    10   you aware of any company that Mr. Hackman controls
11   personal?                                             11   or has an interest in receiving stock from an EAD
12      A Well, my PayPal -- I'm trying to think how       12   client?
13   my PayPal is set up. I think it's to a personal       13      A I'm so sorry to do this to you, but I
14   address, but I really don't recall any PayPal         14   completely lost track of that question.
15   amount for business-related stuff coming to me.       15      Q Do you have any reason to believe that any
16      Q Is there any -- to your knowledge, has any       16   EAD Law client paid any of Mr. Hackman's companies
17   EAD Law client made a payment to the firm to a        17   for -- in stock?
18   PayPal account with one of Mr. Hackman's e-mails?     18      A I have no reason to believe that.
19     A Not that I've ever been made aware.               19            MR. CARDWELL: Sorry, Eric, are you
20      Q Has Mr. Hackman ever come to you and said        20   meaning connection with any work EAD was using
21   I've gotten payment from a client; here, I'm          21   or -- was doing for them or just generally?
22   giving it to you?                                     22            BY MR. REICHER:
23       A There may have been situations where a          23      Q I guess I would ask generally. I mean,
24   client has written a check to EAD Law giving it to    24   again, we could get into the issue of well, if you
25   him and then gives it to me, something along those    25   mowed the lawn and got stock, but let's ask



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  1   generally for the moment. Are you aware of any        1     Q Why is that?
  2   instance where an EAD client paid any of Mr.          2     A I want to keep my company's stock out of
  3   Hackman's company's in stock?                         3   my business.
  4     A I'm not aware.                                    4     Q Separate and apart from whether it was
  5     Q Are you aware of any instance where Mr.           5   purchased, given, in any form, are you aware of
  6   Hackman purchased stock either directly or through    6   Mr. Hackman or any of Mr. Hackman's companies
  7   one of his companies for EAD clients?                 7   owning shares -- EAD clients?
  8     A Not that I'm aware of.                            8     A I'm not.
  9      Q If he were to purchase stock instead of          9        (Reporter interruption.)
 10   being given it for services rendered, would that     10        BY MR. REICHER:
 11   raise concerns in your mind?                         11       Q Shares -- Mr. Hackman opening shares --
 12      A Yes, it would.                                  12   let me just ask the question again, so we're
 13      Q Why is that?                                    13   clear. Regardless of how they were acquired, are
 14      A For the same reason that I -- I don't           14   you aware of Mr. Hackman either directly or
 15   accept stock as payment for my services. I           15   through any of his companies owning shares at any
 16   wouldn't expect anyone at my firm to do that         16   clients of EAD?
 17   either.                                              17       A No.
 18      Q Would you have a problem if anyone at your      18     Q And did you write an opinion letter for
 19   firm purchased stock in a client; separate and       19   Masterful Consulting concerning shares of Celexus?
 20   apart from going to -- if you go into your Schwab    20     A I do not recall offering that, no.
 21   account and do the market, that's one thing, but a   21      Q Would you have been willing to write an
 22   different mechanism would you be okay?               22   opinion letter for shares owned by Masterful
 23      A No.                                             23   Consulting?
 24      Q When I refer to Mr. Hackman's companies, I      24     A I would not.
 25   was thinking of Statewide Secretarial, Portside      25     Q Is that because it was a company


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  1   Consulting, Southwest Business Services, and          1   controlled by Mr. Hackman?
  2   Masterful Consulting.                                 2       A Yes.
  3      A Would you mind terribly going through            3       Q Do you recall writing other opinion
  4   those again so I can write them down?                 4   letters relating to the shares of Celexus?
  5      Q Statewide Secretarial Services, Inc.,            5       A Just relating to the shares of Celexus
  6   generally referred to as Statewide Services,          6   generally?
  7   Southwest Business Services, I think Inc.             7       Q Generally at the moment.
  8   Portside Consulting?                                  8       A So my answer is going to be I don't
  9      A Portside Consulting.                             9   recall. I don't have a specific memory of that,
 10          MR. CARDWELL: Portside?                       10   but I'm not positive that I have -- that I've
 11          BY MR. REICHER:                               11   never written an opinion letter as it relates to
 12      Q P-O-R-T-S-I-D-E. I'm not positive whether       12   Celexus shares generally.
 13   that's one word or two. And then Masterful           13       Q Have you ever written an opinion letter
 14   Consulting. I'm pretty sure two words and I          14   relating to Masterful Consulting?
 15   believe --                                           15       A Not that I recall.
 16      A Okay. All right. And so the question            16       Q Do you remember issuing any opinion
 17   was: Am I aware of any of those companies            17   letters?
 18   purchasing stock in one of my client's companies?    18       A I'm sorry.
 19      Q Correct.                                        19       Q Do you recall issuing any opinion letters
 20      A The answer is, no, I'm not aware of that.       20   related to Local Services Group?
 21      Q Would you ever be willing to issue an           21       A I couldn't tell you off the top of my
 22   opinion letter relating to stock that had been       22   head. Not that I recall. No.
 23   given or purchased by an employee relating to any    23       Q Where does EAD bank?
 24   of your clients?                                     24       A Wells.
 25      A No.                                             25       Q Wells Fargo?


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 1      A Yes.                                              1       A Sure.
 2      Q Does it have accounts in any other                2       Q My question would be to what institution
 3   institution?                                           3   do you then transfer?
 4      A No.                                               4          MR. CARDWELL: My objection is the same if
 5      Q Where do you have personal bank accounts?         5   we're talking about it's a personal account.
 6       MR. CARDWELL: I'm going to object. What            6       A Right. So my question to you would be how
 7   would be the -- it's irrelevant. Privacy. I            7   is that related whatsoever to the subject of your
 8   don't want to get into any personal bank accounts.     8   subpoena?
 9          MR. REICHER: I don't think the name of          9          MR. REICHER: I'm going to ask you and if
10   the institution is personal.                          10   your counsel instructs you not to answer and you
11         MR. CARDWELL: I do.                             11   listen, we'll do it another day. I'm not going to
12         MR. REICHER: Well, at some point -- it's        12   waste the time debating it.
13   not worth the time debating here, but if we keep      13          BY MS. REICHER:
14   getting -- anyway, you know the mechanisms we         14       Q How much do you make at EAD?
15   have.                                                 15          MR. CARDWELL: Same objection.
16      A Eric, I think the issue is -- we don't           16       A There's no set amount.
17   have to go on it all day, but I, quite honestly,      17          BY MR. REICHER:
18   don't even really mind telling you what bank, but     18       Q Understood. What did you make in 2019?
19   then when I consider it, that's my personal           19       A I don't recall, off the top of my head. I
20   account. I cannot see any reason whatsoever that      20   haven't filed my taxes yet.
21   my personal banking institution would be related      21       Q Are you in the process of doing that?
22   to anything in that subpoena.                         22          MR. CARDWELL: At this moment?
23       BY MR. REICHER:                                   23       A My tax guy is. I'm assuming at some
24      Q So let me ask you when you're an owner --        24   point. I'm hoping he is.
25   well, the owner of EAD. So when money comes into      25          BY MR. REICHER:


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 1   EAD and then it goes to you either as profits,         1      Q Who is your accountant?
 2   salary, termination thereof, at what institution       2      A You want my personal accountant?
 3   would the profits or salary for EAD go to?             3      Q I want whoever would know what you make
 4     A Is that the same question?                         4   from EAD Law. I'm not interested in anything
 5           MR. CARDWELL: Okay. Can you clarify that       5   else.
 6   a little? I can't help -- but if it's the same         6      A I don't --
 7   question asked a different way or --                   7          MR. CARDWELL: Man, you're getting into
 8         MR. REICHER: It's a very similar                 8   real tricky territory for me, Eric. Her tax
 9   question. To the extent that she had truly             9   records, all this kind of stuff, that's what
10   personal accounts that never touched EAD Law, the     10   you're getting into. And I have lots of concerns
11   second iteration of the question would exclude it.    11   that that stuff might not just include EAD. I
12        MR. CARDWELL: Can you re-ask it ? If it          12   have no idea. So I've got to instruct her on
13   excludes it, I don't mind the question. I just        13   that. I think it's the fair thing to do. She can
14   can't tell if it does.                                14   take my instruction or not.
15       BY MR. REICHER:                                   15         MR. REICHER: Are you going to take his
16      Q So all I'm looking at is any account into        16   instruction?
17   which profits or payment. Let me ask it this way.     17        All I'm trying to do is determine what Ms.
18   Are the profit of EAD or are you a true employee,     18   Dowling makes from EAD. To the extent that is
19   paid salary? How do you --                            19   provided legally, that's the only answer I want.
20      A I take profits and I at times have been          20   To the extent I'm having to ask around for other
21   W-2'd.                                                21   things to try to get there, that's the only reason
22     Q In terms of when you have decided to earn         22   I'm interested --
23   the money, it's a profit to the firm. I assume at     23      A Are you talking about what I make? So I
24   some point it was transferred from an EAD account     24   have a lot of clients, you know what I mean, and
25   at Wells Fargo to somewhere else; is that correct?    25   so we might just have to have some e-mails back



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  1   and forth and maybe I'll wind up providing that       1    just hey, this is taking longer than I thought it
  2   information, but I'm really struggling to see the     2    would type of stuff. Has there been clients that
  3   relevancy.                                            3    complained about making payments to EAD Law and
  4         BY MR. REICHER:                                 4    the work not getting done?
  5      Q Do payments from a client go into a              5       A Of course.
  6   regular EAD account or into an IOLTA account?         6       Q Again, I'm trying to exclude the claim put
  7      A It depends.                                      7    in yesterday that it's taking a week type of
  8      Q Under what circumstances would you use the       8    things. Is there anything more significant than
  9   IOLTA account?                                        9    that?
 10     A There was a transaction which would               10      A I mean, I'm not sure that I can really
 11   warrant it. Otherwise, it's a fee.                    11   answer that. Yeah, there have been clients that
 12      Q Was Mr. Hackman paid out of the IOLTA            12   have said all kinds of crazy things, but the
 13   account?                                              13   clients that I'm thinking about that have said
 14      A No.                                              14   kind of disparaging and crazy things I currently
 15      Q Was he ever paid out of any of your              15   still represent, and they continue to retain me.
 16   personal accounts?                                    16   So I think we're getting into an area of
 17      A No, never.                                       17   privilege. Apparently, they're not so unhappy
 18      Q So all payments to Mr. Hackman would have        18   that they want to fire me.
 19   been paid from the EAD Wells Fargo account?           19      Q Do these clients relate to securities
 20      A Yes.                                             20   work?
 21     Q Would you ever make electronic payments to        21     A Yes.
 22   Mr. Hackman?                                          22      Q I'm asking only in terms of the clients
 23     A Oh, gosh, honestly, I think that there            23   upset that work had not gotten done. So I'm not
 24   might have been one or two times like he needed       24   sure how that is -- itself is privileged.
 25   money and I sent him $150 from Zelle or something     25         MR. CARDWELL: I think that's a fair


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  1   along those bucks. And there might have been over      1   question, but didn't she answer it?
  2   the course of however many years a couple but          2         MR. REICHER: No. Which clients she's
  3   that's --                                              3   talking about?
  4      Q Generally speaking, if he was paid for            4         MR. CARDWELL: Oh, specific clients.
  5   services rendered as an EAD employee, it would         5     A But you're talking about stuff not getting
  6   come from the Wells Fargo account?                     6   done so --
  7      A Yes.                                              7          MR. CARDWELL: No, timely, where they say
  8      Q You mentioned -- we talked before about           8   it's not being done fast enough.
  9   the client in January. You said you didn't recall      9       BY MR. REICHER:
 10   the name. The client who said he paid Mr. Hackman     10      Q Well, I'm asking more than just that.
 11   and didn't get -- does the name Dempsey Moore         11   Have there been times -- let's move on from that.
 12   sound familiar?                                       12   Let me ask you, do you know who Greg Gamet is,
 13      A It does.                                         13   G-A-M-E-T.
 14      Q Is that who you're referring to?                 14     A Yes, I'm aware of that person.
 15      A I believe so.                                    15      Q Is he a client of the firm?
 16      Q Other than Dempsey Moore have there been         16      A Yes.
 17   any other clients who have complained that they       17      Q Have there been any issues with Mr. Gamer
 18   have paid Mr. Hackman for something and it was        18   along the lines of work being done?
 19   never done?                                           19      A It does ring a bell.
 20     A That they paid directly as opposed to             20      Q What about Chris Martin?
 21   paying EAD?                                           21      A Same deal.
 22      Q Correct.                                         22      Q As in he's a client of the firm?
 23      A Not that I can think of.                         23      A I do not believe that he is.
 24      Q Were there times clients related to              24      Q Did the firm ever do an opinion letter for
 25   securities work have complained above -- beyond       25   Mr. Martin?



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 1       A Not off the top of my head.                     1   personal e-mail account, not to a personal e-mail
 2       Q Do you know if the firm ever did an             2   account.
 3   agreement letter for Mr. Martin?                      3      A That is correct.
 4       A Not off the top of my head, I couldn't          4      Q Let me -- so here, Mr. Hackman is back and
 5   tell you.                                             5   forth about the e-mail. Mr. Hackman is claiming
 6       Q Let me pull up what's going to be 811 A.        6   that he has a draft complete and on Elaine's desk
 7          THE WITNESS: Eric, after we get done           7   for review. Do you believe that's true?
 8   discussing this exhibit, do you think that would      8      A I chuckle because I don't have a specific
 9   be a reasonable time to break for lunch?              9   memory of that one way or another. Whether or not
10          MR. REICHER: Yes. There are a couple of       10   there was really was a draft on my desk for
11   exhibits that go with it but.                        11   review, I can't tell you that I remember one way
12          THE WITNESS: Okay.                            12   or another. Showing me this string of e-mails,
13          BY MR. REICHER:                               13   however, leads me to believe, based on the fact
14       Q This is 8/28/19. The top e-mail is from        14   that he's using a personal e-mail account, that
15   Mr. Martin to Mr. Hackman?                           15   perhaps there was not a draft sitting on my desk.
16       A I see it's from Masterful Consulting --        16   So that's my answer.
17   I'm sorry. Addressed to Masterful Consulting.        17      Q Because if he had given you a draft to
18       Q So were you aware of Mr. Hackman using         18   review for a client you had never heard of, I
19   Masterful Consulting to arrange for opinion          19   guess, what would you do?
20   letters?                                             20     A I'm not sure I follow.
21       A No.                                            21      Q So you said that based on the e-mail
22       Q If you look at the bottom Mr. Gamet            22   string you're seeing here leads you to believes
23   reached out to Mr. Hackman about a Rule 144 and      23   there wasn't a draft for you to review?
24   Shawn says he would be happy to help. Do you see     24      A I mean, it's purely speculative, but if
25   that?                                                25   you're forced to wager a guess, it seems like it


                                         Page 171                                                        Page 173
 1       A I do.                                          1    could be likely.
 2       Q Did Mr. Hackman consult with you before        2       Q I'll show you real quickly Exhibit 815.
 3   agreeing to do this Rule 144 before it started?      3    This is Venmo's from Greg Gamet for $350 and for
 4       A No.                                            4    Chris Martin for $350, both going to the Masterful
 5       Q Here, Mr. Hackman says he'll bring $350        5    Consulting e-mail address. Do you see that?
 6   and he says they accept Venmo or Zelle. Do you       6      A I do.
 7   see that?                                            7       Q In Greg Gamet's case, it says for 144 and
 8       A Yes, I do.                                     8    would you understand that to be a Rule 144 letter?
 9       Q So I take it if the payment had been made      9      A One could assume.
10   through Zelle, would that have gone to the firm?     10      Q And then Mr. Martin says for legal
11       A So remember when I was discussing with you     11   services. Do you see that?
12   the -- what time period is this now?                 12      A I do.
13       Q August 28, 2019.                               13      Q And given that Mr. Hackman was paid
14       A Like I said, if there was a time when          14   directly for this work, do you believe you were
15   someone Zelled me, it would go into my personal      15   involved in reviewing it in any way?
16   Zelle because somehow my personal e-mail -- the      16      A I would seriously doubt it.
17   way that it was initially set up, that's just what   17      Q Why is that?
18   was happening. It wasn't for a great deal of         18      A I wouldn't expect him to have me review
19   money and it only happened, I believe, a couple of   19   something that I wasn't being paid for.
20   times, and now I believe that that issue has been    20      Q More generally, do you think you would
21   fixed. I just don't know if it was before or         21   know about -- if you were to put something on your
22   after this.                                          22   desk -- sorry. Let me rephrase this. If you were
23       Q Right. Even in during that time period,        23   to come back and say well, oh, she just didn't --
24   if someone needed Zelle to make payments to the      24   would you have a way to know whether he was being
25   firm, they would have gone to your Zelle at your     25   paid for the work or not?



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                                                Page 174                                                     Page 176
  1         A Well, money would go in my account.          1    have remembered it?
  2         Q But would you -- let's say you did a         2       A Yes. Yes. I more than likely would.
  3   couple of opinion letters. Do you think you would    3       Q Do you remember taking any corrective
  4   have noticed that you hadn't been paid for that?     4    action relating to this e-mail?
  5      A More than likely.                               5       A I don't remember.
  6         Q And can you just briefly explain sort of     6       Q Do you have any reason to believe you did?
  7   how you do your accounting. So that if you did X     7       A No.
  8   work you would notice that you never got paid for    8       Q Let me show you Exhibit 811 B. This is --
  9   it?                                                  9    I should have noted -- so this is just for
 10         A Yes. So I'm not a good accountant. I         10   identification from Venmo to Masterful indicating
 11   think we established that, but the best answer I     11   that a refund has been made to Mr. Martin. And
 12   can give you is if it was for a nominal or small     12   this occurred at 14:04. So I guess that would be
 13   amount of money, it's feasible that I wouldn't       13   2:04. And I'm going to go back to Exhibit 811.
 14   notice but not as likely that I would notice.        14   That was after you were put on the e-mail a refund
 15     Q When you say nominal, what do you consider       15   was made. Does it appear then that Mr. Hackman,
 16   nominal in this context?                             16   after Mr. Martin put you on an e-mail, finally
 17     A I shouldn't have maybe used nominal, but I       17   made an refund?
 18   might not have missed a couple hundred bucks.        18      A It appears so.
 19      Q But larger payments, if you were aware of       19      Q Would you have had any way to make a
 20   the work that would justify payments larger than a   20   refund through the Masterful Consulting Venmo
 21   couple of hundred bucks, you would notice if the     21   account?
 22   firm had never been paid?                            22      A I would not.
 23      A I would say that's more than likely, yes.       23      Q Would Mr. Hackman have had the mechanisms
 24         Q And again, I know you're not an              24   to delete the e-mail that was sent by Mr. Martin
 25   accountant, but can you just elaborate at all in     25   to your account?


                                                Page 175                                                     Page 177
  1   terms of what kinds of checks and balances you        1       A He would.
  2   have to make sure if you knew you were involved in    2       Q Do you have any reason to believe that
  3   work X making sure that the proper money hit the      3    would happen here?
  4   account or that she was ultimately paid for the       4       A I could check. I mean, the reason that I
  5   work?                                                 5    would believe that it happened is that I'm not
  6     A Honestly, there is no, like, written              6    aware of seeing that e-mail. I don't recall it
  7   record of that or anything. I just if someone         7    and then he sent the money from his personal
  8   says that they paid me, I check.                      8    account. So now people miss e-mails, so it's
  9     Q Were you aware of the period of time where        9    possible I just didn't see it or something like
 10   Mr. Martin or Mr. Gamet struggled to get the         10    that, but it seems certainly feasible that it had
 11   refund for the work we just described?               11    been cleated.
 12      A I don't believe I did, no.                      12           MR. REICHER: I think you requested to
 13      Q If somebody raised an issue, hey, I'm owed      13    take a lunch break so why don't we go off. It's
 14   a refund, is that something you think you would      14    3:19 p m.
 15   have addressed if you became aware of it?            15             (A lunch break was taken.)
 16     A Yes.                                             16            (Proceedings resumed at 4:00 p m.)
 17      Q Let me show Exhibit 811. This for               17           BY MR. REICHER:
 18   identification is Chris Martin to you and the        18       Q So we are back on the record at 4 p.m.
 19   Masterful e-mail. "I've have been asking for my      19    Ms. Dowling, did Ms. Shimp or I discuss your
 20   refund more months." Do you believe he was           20    testimony in any way with you?
 21   contacting you in the prior request for refunds?     21       A No.
 22     A Well, I appear to be an addressee.               22       Q And other than with your counsel, did you
 23         Q Do you remember this?                        23    discuss your testimony with anyone?
 24         A I really don't.                              24       A No.
 25         Q Do you think if you had seen it you would    25       Q During the break?


                                                                           45 (Pages 174 to 177)
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                                               Page 178                                                    Page 180
 1     A No.                                               1   sorry. You'll scroll down, right? Sorry to
 2     Q Just a couple of follow-ups from what we          2   interrupt.
 3   discussed at the end before lunch. If Mr. Hackman     3          BY MR. REICHER:
 4   had placed an opinion letter in front of you to       4      Q Do you believe you have ever seen that
 5   sign and you didn't, do you think you would know      5   before?
 6   if it was for a client you were unaware of?           6      A I have not ever seen this before.
 7     A Yes.                                              7      Q Here at the bottom, your name is printed.
 8     Q If that had occurred, what would you have         8   Does that change in any way your belief whether
 9   done?                                                 9   you've seen it before?
10     A I would have inquired as to why I was            10      A It does not.
11   being asked to review and sign something for a       11      Q Let me show you 929.
12   client I was unaware of.                             12      A Eric, I'm not trying to take your
13      Q So is it fair to say before you would have      13   deposition here, but I have a question, maybe if
14   actually signed an opinion, you would have become    14   you could clear it up for me. This is part of
15   familiar with the client if you weren't              15   the same transaction we're talking about, right;
16   beforehand?                                          16   both documents you just showed me?
17     A Yes, that's fair to say.                         17      Q That's my understanding.
18     Q If you became familiar with the client           18      A I thought so, too. I just wanted to
19   either beforehand or through this process, would     19   clarify.
20   that make it significantly more likely that you      20      Q They appear with the same date and the
21   would notice it never being paid by that client?     21   same number of shares.
22     A I think it would be more likely. Yes.            22      A Okay.
23      Q Let me move to 703. I need to share my          23      Q It says here checking --
24   screen again. It's a transfer journal for            24      A Where's that.
25   Celexus, Inc. Do you see that?                       25      Q Sure. If you look to the middle of the


                                               Page 179                                                    Page 181
 1      A I do.                                            1   document above the signature?
 2      Q And then let me go to the page I'm looking       2     A Yes.
 3   for. If you see here there is a transfer, it          3      Q Do you know what the refers to?
 4   looks like effective May 15, 2019, of 50,000          4       MR. CARDWELL: Where is he looking? I'm
 5   shares to Masterful Consulting?                       5   sorry.
 6      A Okay.                                            6      A It's right here so 4(1) over two years
 7      Q Do you see that?                                 7   held is what he's preferring to. I don't.
 8      A I do.                                            8          BY MR. REICHER:
 9      Q And I take it you were not aware of this         9     Q I guess first, is there any way -- how
10   before me showing it?                                10   would shares that appear to have been issued the
11      A No, sir.                                        11   same day be held for over two years?
12      Q Let me pull up the document that's 931.         12     A I can't answer that.
13   Exhibit 931 this is a share -- an issuance           13      Q Is there any way that that could be
14   resolution for select work dated --                  14   possible and accurate?
15      A Can you zoom it up anymore?                     15      A I'm not seeing it.
16      Q Is that better?                                 16      Q Does 4(1), does that refer to SEC an
17         MR. CARDWELL: No. Can we do better?            17   provision of any sort?
18         THE WITNESS: There we go.                      18      A I don't know what it's referring to.
19         MR. CARDWELL: That's better. Thank you.        19      Q Would there be an SEC provision -- I guess
20         BY MR. REICHER:                                20   do you know why the two years might be important?
21      Q Dated same, May 15, showing 50,000 shares       21      A I'm not sure I'm following.
22   to Masterful Consulting.                             22      Q So the question of whether the shares have
23      A I see it.                                       23   been held for two years, do you know why that
24      Q Do you believe --                               24   would be important?
25         MR. CARDWELL: Can you scroll down. I'm         25      A I would honestly be speculating.



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                                           Page 182                                                  Page 184
  1       Q What would that speculation?                    1   document before.
  2          MR. CARDWELL: You're talking about in the      2          MR. REICHER: Understand, right.
  3   context of this document in this transaction.         3          MR. CARDWELL: And we don't know -- it
  4          BY MR. REICHER:                                4   doesn't contain her signature. It's pretty
  5       Q Yes, or generally. So just generally            5   troubling what it does contain and that's just a
  6   speaking with a share issuance, is there something    6   side comment, and as for whether shares are held
  7   that whether it had been held or two or three         7   over two years or under two years or whatever,
  8   years would be important?                             8   that section is not even filled out.
  9       A It could be.                                    9          So -- and I don't want to just get into a
 10       Q Why is that?                                   10   whole thing where everyone is back and forth about
 11       A Honestly, because I'm not even familiar        11   general SEC procedures. That's not relevant, so.
 12   with this document -- I see what you're getting at   12          BY MR. REICHER:
 13   -- but because I'm not even familiar with this       13       Q I'm going to take the document down, since
 14   document, I'm just not comfortable speculating       14   I'm not talking about the document, generally.
 15   what that possibly references or why it might be     15          MR. CARDWELL: Okay.
 16   important.                                           16          BY MR. REICHER:
 17       Q I understand we're talking about this          17       Q I mean, I'm not talking about the
 18   document specifically.                               18   document, specifically. I'm trying to get Ms.
 19       A I understand what you're saying.               19   Dowling's general understanding?
 20       Q Generally, would the question of whether       20          MR. CARDWELL: That's what we're not going
 21   shares had been held for two years or not be         21   to do. That could go on forever. So if it's not
 22   important?                                           22   related to whether someone was practicing law in
 23       A It could be.                                   23   an unauthorized fashion, then I don't see it.
 24       Q In what context could it be?                   24          MR. REICHER: That's all well and good,
 25       A Different -- I mean, there's a myriad of       25   but this is clearly -- I'd like Ms. Dowling to


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  1   different reasons that that might be important. A     1   explain to me her understanding of why whether
  2   percentage of shares perhaps that were owned for a    2   shares have been held for two years or not would
  3   certain period of time can be significant.            3   be important in the context of registration.
  4       Q In what way?                                    4       A I understand what you're asking, and I
  5       A The ability to transfer, the ability to         5   gave you an answer. And you're asking me to
  6   deal with those shares on a certain level on a        6   elaborate on it. And I don't have any to offer.
  7   percentage of ownership, so forth.                    7          MR. CARDWELL: So there's your answer.
  8       Q Other than in terms of percentage of            8          BY MR. REICHER:
  9   ownership, are there other contexts on whether --     9       Q Well, I don't believe you did clearly
 10       A Potential or future distribution.              10   answer that question?
 11       Q What do you mean by distribution?              11          MR. CARDWELL: Well, whether it was
 12       A Sale.                                          12   clearly answered or not, I'm going to object to
 13       Q So I see here in this document --              13   any further questioning on this issue because the
 14          (Reporter interruption.)                      14   she has answered it, and it sounds like you're
 15          BY MR. REICHER:                               15   asking it in a different way to look for a
 16       Q Would it make a difference in terms of         16   different answer. I'm not really sure. And I'm
 17   whether the shares would be exempt from              17   also not really sure whether it does relate to the
 18   registration?                                        18   document so I'm confused --
 19       A Could be.                                      19          MR. REICHER: You're objection in any
 20       Q Can you explain that to me?                    20   event --
 21          MR. CARDWELL: Wait. What are we doing         21          MR. CARDWELL: And it's been answered.
 22   here?                                                22          MR. REICHER: You objection is noted;
 23          MR. REICHER: I'm trying to understand.        23   you're objection on the grounds that you think
 24          MR. CARDWELL: What do you mean you're         24   it's been asked and answered. So Ms. Dowling,
 25   trying to understand. She's never seen the           25   please answer the question.


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 1       A I already did.                                 1   amount of time that you've --
 2          BY MR. REICHER:                               2      Q I won't even try to play a securities
 3       Q I didn't take it that way, so humor me --      3   lawyer. Why would it make a difference how long
 4       A But Eric, you can't ask the same question      4   you've held it whether you -- or not?
 5   just expecting a different answer. I've answered     5          MR. CARDWELL: It's in the rules. If you
 6   your question.                                       6   want to go down this road simply because we
 7       Q I'm not asking -- I'm not looking for a        7   changed questioners, doesn't mean the question
 8   different answer. I'm trying to get your             8   changes.
 9   understanding of why the two-year issue would be     9          MS. SHIMP: The question I just asked has
10   relevant?                                           10   not been asked. I've asked for her to explicate
11       A And I gave you an answer if you look back.    11   on one specific thing that she said. So yes,
12   I talk about with respect to ownership; I talk      12   would you please answer my question?
13   about the distribution and potential sale, and      13      A I did answer your question, and my answer
14   that's my answer.                                   14   was it could impact whether or not those shares
15       Q Pretend I'm not a securities lawyer. And      15   were able to be distributed at a certain time,
16   I may or may not be --                              16   sold at a certain time. That's what I said.
17       A I'm not going to sit here and give you a      17      Q And then my follow-up question was why?
18   dissertation of my general securities knowledge.    18      A I don't even know how to answer that
19   So I think the objection is appropriate and I       19   question. I really don't.
20   think we should really move on.                     20      Q Another example that you gave was for
21          MR. REICHER: So you're refusing to           21   percentage of ownership, I think you said?
22   explain in any further detail how this particular   22      A It may or may not be related.
23   issue would be relevant for whether something is    23      Q So essentially, how could it relate to
24   exempt; is that correct?                            24   percentage of ownership?
25       A Yes, that's correct.                          25          MR. CARDWELL: I've already said no


                                         Page 187                                                             Page 189
 1          MR. CARDWELL: Yeah, but you're getting        1   further questions on this. It's not relevant.
 2   into badgering. It's the same question.              2   It's stunningly irrelevant to your inquiry, and
 3          MR. REICHER: There's nothing badgering        3   I'm not sure why you're going down this road or if
 4   about my question.                                   4   it's in relation to that document he took down.
 5          THE WITNESS: But when you ask it over and     5         MS. SHIMP: It is not in relation to that
 6   over again, it becomes badgering.                    6   document. That's why --
 7          MR. REICHER: I don't believe you've given     7         MR. CARDWELL: Then it's got to be related
 8   a clear answer.                                      8   to whether somebody practiced --
 9          MR. CARDWELL: Okay. Then you don't            9         MS. SHIMP: Your objection is noted.
10   believe that. So then you move onto the next        10         BY MS. SHIMP:
11   question. The answer is unclear. It's not clear     11      Q Why does it matter for percentage of
12   to you, but it's in the record.                     12   ownership how long --
13          BY MR. REICHER:                              13         MR. CARDWELL: The witness is instructed.
14       Q Have you dealt --                             14         MS. SHIMP: I do understand that you're
15          (An off-the-record discussion was held.)     15   not instructing her based on privilege. I
16          MS. SHIMP: Eric, if you want to mute         16   understand that you may not understand the full
17   yourself while I ask questions.                     17   relevance. This is investigative testimony. We
18          BY MS. SHIMP:                                18   have wide discretion to ask about anything that
19       Q So if I heard you correctly -- you said       19   might relate to violations of the securities laws.
20   there are a couple of situations where the length   20         BY MS. SHIMP:
21   of time something's been held might matter. You     21      Q So I will ask you again, what if the --
22   said one example was for sale. What do you mean     22      A Is there a claim that the --
23   by that? What is the importance -- of the sale?     23      Q What is the potential relevance of two
24       A There could be implications as to when you    24   year running period in a percentage of ownership?
25   have the ability to sell shares based on the        25         MR. CARDWELL: Asked and answered numerous



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                                          Page 190                                                         Page 192
  1   times.                                                1       Q So I'm going to pull back up, this is
  2           BY MS. SHIMP:                                 2   Exhibit 929, it's a Telupay international
  3        Q Ms. Dowling, please answer.                    3   resolution. Can you see that?
  4        A I've already answered your question.           4       A I see the document, yes.
  5        Q How did you answer my question? Please         5       Q Have you seen this before?
  6   repeat it for me.                                     6       A I'm not certain.
  7           MR. CARDWELL: It's in the record.             7       Q Let me scroll down and if I'm going too
  8           BY MS. SHIMP:                                 8   fast or too slow, let me know?
  9        Q Please answer the question.                    9       A Right. Okay.
 10           MR. CARDWELL: She's instructed. You have     10       Q Having seen the rest of the document, do
 11   your rights; she has hers.                           11   you have any recollection of whether you've seen
 12           BY MS. SHIMP:                                12   it before or not?
 13        Q Are you refusing to answer the question?      13       A Let me read it here. I've scanned it. I
 14        A Yes.                                          14   don't really have a specific recollection of that
 15        Q On the grounds of?                            15   particular document but it doesn't mean I've never
 16           MR. CARDWELL: Okay. I saw your order;        16   seen it.
 17   it's the first thing you put up, okay? And I've      17       Q Do you believe you had any involvement in
 18   also seen, at some point during the process, I       18   the transaction discussed in the document?
 19   also saw the --                                      19       A I honestly don't know, off the top of my
 20           (Reporter interruption.)                     20   head.
 21           MR. CARDWELL: I think the question's been    21       Q Let me pull up what's been marked as
 22   asked and answered and the repeated asking of the    22   Exhibit 930. This is dated May 17, 2019, on EAD
 23   question is abusive and it's -- so she's being       23   stationary with an RE: Celexus, Inc. Masterful
 24   instructed on that ground. It's not privileged; I    24   Consulting, LLC. Do you see that?
 25   agree. But I'm instructing her not to answer the     25       A I do.


                                          Page 191                                                         Page 193
  1   question because she's been asked the question 18     1     Q And let me go down to the bottom for you.
  2   different times by two different people, and          2   This document appears to show your signature; is
  3   that's inappropriate. It's over reaching.             3   that correct?
  4           We have two questioners now instead of        4      A It shows what I believe to be my
  5   just one, and for reasons which I can't understand    5   electronic signature.
  6   so now --                                             6      Q And I can represent to you that I've seen
  7           MR. REICHER: So the record is very            7   a version of this document as a Word document that
  8   clear --                                              8   has a signature on it. So I believe you're
  9           MR. CARDWELL: She is not going to answer      9   correct that it's an electronic signature?
 10   that question. She can take my instruction or not    10      A You believe that I am correct about that?
 11   take my instruction.                                 11      Q Yes.
 12           BY MR. REICHER:                              12      A Okay.
 13       Q Are you going to take the instruction?         13      Q Can you explain why -- is it just you
 14       A Yes.                                           14   recognize this as your electronic signature or is
 15           MR. REICHER: Just so the record is clear,    15   there something else?
 16   the reason we switched questioners was my            16      A I think I might have a couple of
 17   five-year-old came back -- and I don't know          17   electronic signatures. At least maybe at one;
 18   whether the reporter took down the five-year-old's   18   time I'm not even positive of that. Sometimes my
 19   comments or not. If you did, his name is spelled     19   signature can be really, like, over the top
 20   A-V-I. So that's why we switched.                    20   grandiose and that one looks like I was trying to
 21           MR. CARDWELL: For the record, it's not       21   control it a bit which, leads me to believe that
 22   the five-year-old's fault. I don't mean that in a    22   it looks like my electronic signature.
 23   way -- in an attack on you, Eric. It's just a        23      Q Do you recall ever seeing this document?
 24   joke. Five-year-olds do that.                        24      A Honestly, I don't have a specific
 25           BY MR. REICHER:                              25   recollection one way or another.



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                                             Page 194                                                Page 196
 1          MR. CARDWELL: I'm sorry, Eric. Which           1   Hackman because ultimately the opinion letter
 2   exhibit number was that, 930?                         2   wasn't -- I want to switch gears and do you ever
 3          MR. REICHER: Correct.                          3   recall anyone else expressing -- not the client
 4          BY MR. REICHER:                                4   themselves -- but another party expressing
 5       Q Do you recall any substantially similar         5   concerns about payments billing directly to Mr.
 6   opinion letters for other entities besides            6   Hackman to one of his companies?
 7   Masterful Consulting?                                 7       A I think you asked me that before, but let
 8       A You're asking me if I recall letters of         8   me just repeat that back to you, generally, and
 9   the same ilk.                                         9   see if I'm understanding. You're asking me if I'm
10       Q Relating to Celexus share issuances?           10   aware of clients or anyone else who is not a
11       A Okay.                                          11   client but maybe somehow in the mix, whether or
12       Q I'll represent to you I've seen a series       12   not I'm aware of them complaining that he's
13   of, I believe, substantially similar opinion         13   getting payments directly?
14   letters. Do you recall those opinion letters?        14       Q I intended to exclude clients because I do
15       A I really do not recall a series of -- a        15   believe I asked about the client before?
16   series of these letters.                             16       A So you're saying a nonclient complaining
17       Q Do you believe if you had reviewed and         17   that Shawn is receiving payment directly as
18   signed or given authority for your signature for a   18   opposed to receiving -- my firm receiving those?
19   series of Celexus letters, you would remember        19       Q Correct.
20   that?                                                20       A I'm not aware of that.
21       A Possible.                                      21       Q Let me pull up Exhibit 162. There is an
22       Q Were you familiar with what Masterful          22   e-mail at the top from Mr. Hackman to Mr.
23   Consulting was?                                      23   Southworth dated 9-28?
24       A I assume you're talking about on May 17,       24       A I'm sorry. Eric, I'm sorry to cut you
25   2019, was I aware of Masterful Consulting's          25   off. But it's -- I think you said to Mr. -- it's


                                             Page 195                                                Page 197
 1   business?                                             1   to Mr. Southworth from Hackman.
 2      Q If Mr. Hackman had an interest in                2      Q Okay. If I misspoke --
 3   Masterful Consulting?                                 3     A You might have said it backwards.
 4     A No.                                               4     Q I apologize. Thank you for clarifying.
 5       Q If you had been asked to sign an opinion        5   So there's e-mail string and then I think the
 6   letter for an entity that you didn't recognize,       6   attachment -- it's also got the attachments. The
 7   would you have inquired?                              7   first attachment is a May 7, 2018, EAD invoice?
 8     A As I said before, yes, I believe I would          8      A Right.
 9   inquire.                                              9     Q For the $2,200 and it says "Paid via S.
10      Q If you had learned that he had an interest      10   Hackman." Do you see that?
11   in Masterful, I believe you said you would not       11     A I do.
12   have been comfortable sharing the opinion letter?    12     Q Do you have any idea why an invoice from
13      A I would not.                                    13   EAD would be paid via Mr. Hackman?
14      Q Were you familiar with someone by the name      14     A No.
15   of Ted Edward Jacobs?                                15      Q Would you approve of an EAD invoice being
16      A I don't believe so.                             16   paid by Mr. Hackman?
17      Q Did you ever do work for a company called       17     A Yes.
18   BioAdaptives?                                        18     Q And here it talks about for taxes and
19      A BioAdaptives?                                   19   annual reports. Based on -- do you understand the
20      Q Correct.                                        20   whole payment to be for out of pocket costs and
21      A I have so many bios; I'm not entirely           21   nothing retained for work related to that or not?
22   sure. I might recognize something if shown, but      22      A I really don't know. So I don't know what
23   I'm not sure.                                        23   that $2,200 is for. I just don't.
24      Q We saw before the break an issue of a           24      Q Let's say -- I'm not saying this. I don't
25   client complaining about payments made to Mr.        25   know the answer. If there was $2,200 dollars in



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                                                 Page 198                                                Page 200
  1   out-of-pocket expenses and this was literally just     1   can read?
  2   the client reimbursing for the out-of-pocket,          2      A I see No. 1 indicating that -- okay.
  3   would that be okay it going through Mr. Hackman?       3      Q If you look at No. 2?
  4     A No. And another thing is that your                 4      A Yes. Payment confirmation for $2,200 from
  5   question is fine but normally I don't front fees       5   EAD Law requires a receipt that does not mention
  6   for people. I mean, it happens, but normally I         6   Shawn Hackman for reasons we've discussed. Okay.
  7   don't front those fees. I include them in the          7   There's more.
  8   initial retainer. I'm sorry or I was saying, you       8      Q I was going to ask you about that. So do
  9   know, I would send them an invoice saying hey,         9   you recall any discussions about whether an EAD
 10   this is how much you owe for what I've paid or --     10   Law invoice could or should mention Mr. Hackman?
 11   but more times than not I'm going to ask them for     11     A No.
 12   that money in advance before I actually spend the     12      Q Then let me -- here is Mr. Hackman's
 13   funds.                                                13   response. Do you remember Mr. Hackman ever
 14      Q Understandable. Would there be any reason        14   consulting with you about this issue?
 15   for Mr. Hackman to have gone out of pocket for        15      A No specific memory of it. No. What is
 16   fees associated with EAD client work?                 16   the attachment? It references an attachment.
 17         A Not that I'm aware of.                        17      Q Yes, that Mr. Hackman sent. Let me pull
 18         Q Let me -- let me give you a second to read    18   that up now. Exhibit 163 A?
 19   it?                                                   19      A Okay.
 20         A I'm thoroughly confused. I'm not even         20      Q And it's a long document. Some of it is
 21   sure I follow. Maybe I'm just going brain dead,       21   work that the firm did. So 163 is an -- the top
 22   but I'm not even sure that I follow what's --         22   of it is a printout from a bank account?
 23      Q Let me scroll up, so maybe you can see the       23       A Okay.
 24   top e-mail.                                           24      Q Did you print out this bank account
 25         A Can you move? Stay there please for a         25   receipt for lack of a better word?


                                                 Page 199                                                Page 201
  1   second.                                                1       A I don't recall doing so.
  2       Q Were aware of any of this?                       2       Q Did Mr. Hackman have access to the EAD
  3       A Not that I can recall. But it's just not         3   accounts that he could have gone on and printed
  4   something that's resonating, but it doesn't mean       4   this out?
  5   that I'm not aware of it. But I don't remember         5       A There was a time where I allowed him
  6   certainly seeing any invoice with that type of         6   access. I do not know if this was part of that
  7   language on it or seeing an e-mail that says -- to     7   time period, quite honestly. But I mean, gosh,
  8   show the payment coming via S. Hackman. I don't        8   going on three years ago for all I know, it's
  9   know if I'm getting confused about who is talking      9   possible that he asked me to -- I don't know if
 10   about what here, but it's not something that would    10   this is something that he can print online because
 11   typically be part of my practice, and it's not        11   he didn't have privileges, like, to go into the
 12   something I recognize.                                12   bank and order it, for example. So I guess the
 13       Q I guess if you had seen something seeming       13   answer to your question is I don't have any
 14   to indicate that $2,200 went to Mr. Hackman, do       14   specific memory of putting that out. He may or
 15   you think that's something you would probably         15   may not have been able to access the account to
 16   remember?                                             16   print it out at that time.
 17       A Yes.                                            17       Q When is your best recollection of when you
 18       Q So let me -- this is Exhibit 163; it's a        18   took away his access to EAD Law accounts?
 19   slightly -- I'm not sure it's the same string but     19       A It's been a while. I don't have a great
 20   subject matter. Just for identification, it's         20   recollection on time periods as you might have
 21   10/15/18 and let me -- I think at the bottom it is    21   gathered, but well over a year, if I have to
 22   the same -- no, it's not the same string. Sorry.      22   guess.
 23   But it definitely relates to -- and if you see        23       Q I guess well over a year but less than
 24   here, the first e-mail is from Ted Jacobs to Kim      24   two, do you think?
 25   Southworth and No. 2 in that e-mail is what if you    25       A I think it's been over a year, but I'm


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                                         Page 202                                                        Page 204
 1   really just kind of grasping at straws now.           1   conclusion based on what we're looking at. I
 2       Q Was there a specific reason that you            2   would agree.
 3   rescinded his access?                                 3       Q Is there anything else looking at what we
 4       A No, not really other than I didn't think        4   see that you could think of that might explain
 5   it was the best idea that he had access to the        5   that?
 6   bank account.                                         6       A No, not really. Unless there's other
 7       Q Why is that?                                    7   filing fees, but he paid. But no, not really.
 8       A After reflection, I think that I'm the          8   I'm --
 9   only one that should have access to it.               9       Q The rest of this document is various
10       Q Did Mr. Hackman ever have an EAD Law           10   e-mails. It's a draft, looks like maybe BPM and
11   credit card?                                         11   some other sort of client sort of documents. So
12       A No, but he has access to the part of the       12   I'll represent to you I'm not aware of a document
13   information. It's not a credit card. It's like a     13   with payments.
14   debit card.                                          14           So if Mr. Hackman ultimately retained
15       Q So I take it he would have access to the       15   approximately $1,500 of the amount paid to him,
16   numbers -- if you said, hey, Shawn, we need more     16   did he remit that to EAD?
17   printer paper. Go on Office Max, use the firm        17       A So I can't read it. So that's in the
18   debit card. He would have the authority to do        18   amount of how much?
19   that?                                                19       Q This is to you $5,500.
20       A Yes. So did my paralegals but yes.             20       A Okay.
21       Q Let me -- I just want to show a few            21       Q Handed from the documents. There was a
22   documents. It's an e-mail from a Delaware Inc.       22   $5,500 payment to EAD Law?
23   It's referenced as hard number ending 5055. Is       23       A Correct.
24   that the firm debit card you're referring to?        24       Q And there was a $2,200 payment via Shawn
25       A No. Now the card number has probably           25   Hackman?


                                         Page 203                                                        Page 205
 1   changed a couple of times because I lose them         1      A I'm sorry. Yeah, maybe it's just my brain
 2   regularly. But it's not a MasterCard and the card     2   right now, but that was convoluted in my head. So
 3   holder's name is not Shawn Hackman.                   3   okay. I do recognize that to be the last four of
 4       Q So this appears that he was using some          4   my trust account, so what you're showing me is
 5   card of his own for this?                             5   that that money was deposited there. But then
 6       A Yeah. If you want -- well, yeah, I mean,        6   there was an additional invoice which was for the
 7   that's definitely not the card holder's name of       7   other $2,200 or whatever it was; is that right?
 8   anything associated with my firm. However, I'm        8      Q That's my understanding.
 9   just trying to think if I have a credit card that     9      A Okay. I apologize. Was there a question
10   is a MasterCard and I gave them permission to use    10   pending?
11   it. That was not really even EAD related, but I      11     Q Sure. I guess, do you ever recall Mr.
12   think all my cards are Visas and, again, Shawn       12   Hackman telling you about the payment directly to
13   doesn't have a name or, like, a card with his name   13   him?
14   on it.                                               14      A I do not.
15       Q This is for -- I want to scroll down to        15      Q Do you remember him ever giving you money
16   the Delaware tax is showing $624 and change. So      16   for the firm because he received payment relating
17   at least based on what Mr. Hackman put in the        17   to Bio?
18   attachment, it looks like roughly $725.00 in total   18      A I do not.
19   pocket expenses related to this statement?           19      Q Do you know why the client would have paid
20       A It does appear that way.                       20   him directly for work?
21       Q So in terms of $2,200 that was in this --      21      A I do not particularly when they had
22   would that appear to be simply payment for           22   previously paid the firm.
23   purposes rendered?                                   23      Q Do you believe it would be indicia of
24       A One could -- you probably could speculate      24   their view at least of who is doing much of the
25   to that as well as I can. One could come to that     25   work?



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                                          Page 206                                                  Page 208
  1        A No. I can't speculate as to what the           1          THE WITNESS: If you would, please. Thank
  2   reasoning would be. I know if I was the client,       2   you. Okay.
  3   under those circumstances, I would certainly have     3          BY MR. REICHER:
  4   question as to why everything was on EAD              4      Q Yes. Would Mr. Hackman also frequently
  5   letterhead and requesting that someone -- that the    5   use TY in e-mails?
  6   payment come via them particularly in light of        6      A He does.
  7   fact that they previously paid the firm which at      7      Q Do you know whether he uses T-H-N-X for
  8   least purportedly continuing to do the work but       8   thank you or thanks?
  9   it's pure speculation unless someone told them        9      A I've seen it. Yes.
 10   that.                                                10      Q How would you describe Mr. Hackman's
 11        Q When you write an e-mail, how do you tend     11   e-mail style in terms of formal, informal?
 12   to sign off on the e-mail?                           12      A I would say his tendency is to be rather
 13        A I don't have a particular way. There's        13   informal.
 14   not a practice.                                      14      Q In terms of informal, what do you mean by
 15        Q I was thinking of two things in terms of      15   that?
 16   do you usually put your name? Initials? Just E?      16      A Well, it's not exactly verbose. Doesn't
 17        A Sometimes I do just E. Sometimes I say        17   proofread like he should sometimes.
 18   thank you. Sometimes my name. Sometimes nothing.     18      Q We have -- I guess I'll represent to you
 19   There's TY's in there.                               19   that we have -- you said Mr. Hackman's e-mails
 20        Q TY as an abbreviation for thank you?          20   with some regularity have typos, misspellings,
 21        A That's how I intended. Hopefully, it's        21   things like that, but don't you think that's a
 22   taken that way.                                      22   fair assessment?
 23        Q Do you have any -- I know you said there's    23      A I think so.
 24   no exclusive practice, but do you have a tendency?   24      Q And would your e-mails tend to be more
 25        A Not really.                                   25   polished?


                                          Page 207                                                  Page 209
  1      Q Do you capitalize it?                            1      A Indeed.
  2      A I think I've done both.                          2      Q Are you more likely to write in full
  3      Q If you capitalize it, would it be the T or       3   sentences rather than sort of short phrases?
  4   also the Y?                                           4      A Yes.
  5      A I have no idea.                                  5      Q And more likely to have proofread enough
  6      Q You said you use thanks. Would you ever          6   not have to have basic typos?
  7   use abbreviation for thanks?                          7      A Usually.
  8      A No, I don't think so but other than thank        8      Q Did all employees at EAD have their own
  9   you. I don't think -- I mean, okay. Possibly          9   e-mail addresses?
 10   T-H-X. I would say it's more common that I would     10      A Yes.
 11   spell it out or say T-Y but.                         11      Q Did they have access to your e-mail
 12      Q Did you ever use abbreviations for OK?          12   address?
 13      A K.                                              13      A Yes.
 14      Q Just a single K?                                14      Q Did you have access to their e-mail
 15      A Sometimes.                                      15   addresses?
 16      Q Would you use double Ks?                        16      A Yes. I want to say depending on what
 17      A I would typically not.                          17   computer I was using, but I'm not sure.
 18      Q Do you know anyone who does typically use       18   Ultimately, yes. I'm not sure which ones
 19   double K's?                                          19   populated sort of immediately with my EAD, but
 20      A High school kids and Shawn Hackman.             20   overall yes.
 21          THE WITNESS: I'm not going to suggest that    21      Q Would you have reason to send e-mails
 22   we take an official break. Can I just run super      22   using one of your paralegals' computers. Would
 23   fast to grab something to drink?                     23   you have ever had reason to send e-mails using any
 24          MR. REICHER: Yes.                             24   of your paralegal's e-mail addresses?
 25          MR. CARDWELL: I can do it for you.            25      A No. I mean, I can't specifically think of



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                                                Page 210                                                   Page 212
 1   a reason that everyone at the office has sent          1     Q Did you have a signature block that would
 2   many, many from mine but with my -- at least           2   come up automatically?
 3   perceived with my blessing and basically dictation     3      A Yes.
 4   of the general idea of things, but I can't think       4      Q Would that be the case only when you
 5   of a specific reason that I would e-mail from one      5   started an e-mail chain or would also be replies?
 6   of my paralegals' address.                             6      A Sad to say but it may not be on replies;
 7       Q That would include Mr. Hackman, correct?         7   it might be the initiation of the e-mail. I mean,
 8       A Yes.                                             8   I was going to look at my phone, but I'm just
 9       Q What were the rules regarding access and         9   trying to give you, from my brain, the best of my
10   use of your e-mail?                                   10   testimony, and I believe that when I go to reply
11       A Essentially if there was an e-mail -- I         11   there is no signature block.
12   mean, again, we didn't have any rules, so to          12      Q Would there be any reason for any of the
13   speak, but I wouldn't want somebody e-mailing from    13   paralegals' signature block to show up in an
14   my e-mail address unless I had indicated that         14   e-mail from the EAD account?
15   specific information that I wanted sent from          15      A I don't know that I follow that.
16   there. Doesn't mean it didn't happen, but I'm         16      Q I think I've seen from one or two examples
17   just saying that would be my expectation.             17   it coming from EAD but Mr. Hackman's signature
18       Q So your expectation would be that one of        18   block actually comes up. And I was just -- I
19   your paralegals wouldn't send an e-mail from your     19   wasn't sure whether a different signature block
20   account unless you give him specific authorization    20   might come up based on who was actually accessing
21   to do it and conveyed what you wanted to be said?     21   or?
22       A More times than not, yes.                       22      A To be honest, I'm not sure. So you're
23       Q In times where that wasn't the case, can        23   saying the e-mail is coming from EAD Law Group and
24   you explain?                                          24   it contains his signature block?
25       A Well, I guess I answered that way is that       25      Q I believe I've seen at least some examples


                                                Page 211                                                   Page 213
 1   you've shown me an e-mail which suggest to me that     1   of that, yes.
 2   perhaps I had not given my blessing or my general      2      A I'm just not sure why that would be.
 3   information about what I want to convey.               3     Q The paralegals' signature blocks, do you
 4      Q Although were any of those from your EAD          4   know if they came up just at the initiation of an
 5   Law e-mail address?                                    5   e-mail chain or also in the --
 6     A I know of one to my EAD address, I guess.          6      A Don't know offhand. I mean, if it was
 7   I don't know how that was disseminated but just        7   like I'm thinking mine was, probably not, but I
 8   based on what I'm being shown today, I guess           8   don't really have first-hand knowledge of that or
 9   that's sort of a large assumption, but generally       9   paid attention to it frankly.
10   speaking, I'm starting to get that sensation.         10      Q You indicate that an e-mail came from
11      Q Understood. The sensation you're starting        11   them. Would the recipient of an e-mail assume
12   to get is Mr. Hackman may have used your e-mail in    12   that it had been you who was sending the message?
13   ways that you didn't authorize?                       13         MR. CARDWELL: Calls for speculation. She
14     A Well, I guess the reason I'm saying that          14   can answer it, I guess.
15   I'm speculating on this is because I'm seeing a       15      A Based on what I know and on someone else's
16   lot of things that I did not authorize today. So      16   thinking, I suppose someone could come to that
17   one could make a logical jump perhaps that that's     17   conclusion. But again, anything that was sent
18   the case, but...                                      18   from my e-mail was done because I was asking that
19      Q If one of the paralegals used your EAD           19   to be done or at least that's what I desired.
20   e-mail with your permission, were they supposed to    20          BY MR. REICHER:
21   mark in any way that it had come from them?           21      Q Did the paralegals have access to your
22     A Not really.                                       22   e-mail address and phones?
23      Q Were they supposed to mark specifically          23     A I know Shawn does, and I want to say
24   that it came from you?                                24   Kimberly did. I'm not positive about Kimberly.
25      A Other than my signature block, no.               25   I'm not sure how they were set up if they -- one



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                                               Page 214                                                 Page 216
  1   of them, for sure, didn't want it and I can't         1      A It seems like it would be, yes, the proper
  2   remember which one, probably because they didn't      2   thing to do.
  3   want to be bothered at all hours.                     3     Q Otherwise it would seem weird if there
  4           But whether or not they choose to -- my       4   were substantive legal advice appearing to be
  5   policy about that is if they wanted it. But, you      5   coming from the paralegal with no indication that
  6   know, personally I find it very convenient, but if    6   you had weighed in?
  7   they wanted it, great, they could have it and if      7     A I agree.
  8   not, that's cool too.                                 8      Q Do you know what wireless carrier Mr.
  9       Q Were the rules concerning use of your           9   Gewerter had Verizon, Sprint, etc.?
 10   e-mail any different when it came to e-mails sent    10     A No, I don't think so.
 11   via mobile phone versus via the laptop?              11     Q Do you know what wireless carrier Mr.
 12       A Which rules?                                   12   Hackman has?
 13       Q As in the -- if I understood it, the only      13     A No.
 14   -- they should only send e-mails when you            14      Q Which carrier do you have?
 15   specifically authorized it and told them what to     15      A Verizon.
 16   say?                                                 16      Q Have you had Verizon through 2014 through
 17       A So to clarify that, that would be in a         17   the present?
 18   situation there would be -- where I mandated that    18      A I believe so.
 19   they have my expressed permission if it was          19      Q Do you ever remember anyone expressing
 20   something substantive. If it was something that      20   confusion as to who had actually been the one
 21   really wasn't legal advice or legally related, I     21   sending the e-mails?
 22   don't know that I would particularly have a          22      A Not offhand.
 23   problem with someone just responding to my e-mail    23      Q I guess, would there be anyway if the
 24   if it came to my e-mail, because it's more           24   e-mail just came from the EAD Law e-mail and it
 25   convenient.                                          25   was no indication from anybody that a paralegal


                                               Page 215                                                 Page 217
  1     Q So something purely administrative, they          1   had written it, would a client have any reason to
  2   might not need your direct permission?                2   think it was anyone but you?
  3     A Right. Of course.                                 3      A I don't know I would have to ask them.
  4        Q But if you were -- let's say you wanted to     4      Q If you had -- was there anything that you
  5   advise a client no, you don't need to disclose X;     5   could point to that would help indicate it
  6   it's not material. That would be the sort of          6   actually came from you versus it came from Mr.
  7   legal e-mail you would want to specific --            7   Hackman?
  8      A Yes.                                             8      A So again, as I said, I don't think so.
  9      Q If you were trying to convey that sort of        9   Unless it was so noted. In my mind, whoever
 10   legal advice, you would want that coming from your   10   actually physically typed the e-mail is not really
 11   e-mail instead of the paralegal's e-mail?            11   the important part.
 12      A If it would come from the paralegal's           12      Q In terms of substance, would there be
 13   e-mail, I would ask that they convey it was coming   13   anything that indicates on the face of the e-mail
 14   from me, but I don't know if that answers your       14   who necessarily provided the substance?
 15   question.                                            15      A My e-mail address.
 16        Q Given that they had access to your e-mail,    16      Q Sure. Let's say there's an e-mail --
 17   would there be any reason for them, if they were     17            (Reporter interruption.)
 18   simply conveying your legal advice to the client,    18         BY MR. REICHER:
 19   that they wouldn't use your e-mail?                  19      Q Sure. Let's say your e-mail address.
 20      A I mean -- I guess I would expect them to        20   There in the body we'll use the same example --
 21   use mine. I don't know if it was particularly        21   you know, no, don't worry about it. That's
 22   discussed.                                           22   material disclosure. Would there be anything in
 23      Q If they were to use their own, you would        23   the e-mail itself that would be able to indicate:
 24   expect them to say hey, Elaine told me to tell you   24   One, who actually typed it; and two, whether you
 25   X.                                                   25   had actually been the one to convey it if you


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                                                    Page 218                                                   Page 220
 1   weren't the typist?                                        1   was Sprint.
 2     A No.                                                    2     Q And if it came from yours, it would be
 3      Q Let me pull up Exhibit 818. This is for               3   Verizon, not Sprint?
 4   identification an e-mail from Jeremy Davey,                4     A Yes.
 5   D-A-V-E-Y, to Ms. Dowling dated 10/22/19, and I'm          5          (Reporter interruption.)
 6   not going to get into the substance of any of              6         BY MR. REICHER:
 7   this. If you look on the e-mail, there's lots of           7     Q When you said yours would be cleaner, can
 8   back and forth between you and Mr. Davey on                8   you explain?
 9   various issues, and here he refers to Ms. Dowling,         9      A When I was looking at that I just -- and
10   somewhere else here for -- and then do you see the        10   the only thing that -- I tend to be a little bit
11   e-mail now it's from Jeremy to you at 3 p.m.?             11   more robust. I mean, that's not really a
12      A Yes.                                                 12   cleanliness issue if you will, but I just kind of
13      Q He's asking you about where a press                  13   was referring to the indentation on nationally but
14   release should be published. Do you see that?             14   that's what I was referring to.
15      A Yes.                                                 15     Q You mentioned before something about your
16      Q There's a reply nationally TY and he says            16   handwriting and again, if I got the exact word
17   thank you, Elaine.                                        17   right -- I'm not trying to change your
18      A Okay.                                                18   testimony -- you said grandiose or something like
19      Q So are you the one who sent this e-mail?             19   that?
20      A I don't know that I'm the one that                   20      A It can be.
21   physically typed it, but I know that this was a           21     Q Is that your signature or sort of your
22   discussion that was going back and forth between          22   handwriting, generally?
23   the client, myself, and the office. I'll say              23      A It's all over the place. When I say all
24   this, I still represent these people.                     24   over the place, by the way, I just mean I don't
25         MR. CARDWELL: You're not going to ask               25   think I could ever do the same twice.


                                                    Page 219                                                   Page 221
 1   about the substance. They're still clients, so             1       Q In terms of just your general writing. Do
 2   just to be careful.                                        2   you tend to write in cursive or print?
 3          BY MR. REICHER:                                     3       A It goes back and forth, I think, depending
 4       Q That's fine. So do you believe you did or            4   on how fast I'm trying to write or how tired I am
 5   did not actually send the e-mail?                          5   or whatever. It's sort of a combination of both.
 6       A I don't know. I usually would be a little            6       Q Is it fairly neat would you say?
 7   cleaner than that, but I really don't have an              7       A Honestly, it completely depends.
 8   offhand recollection. If I had to guess, it would          8   Sometimes it is and it depends on the audience and
 9   probably -- I'm not going to guess.                        9   if I'm taking notes for myself.
10       Q If you did not actually send it, would              10       Q How is Mr. Hackman's writing?
11   this be the sort of thing that one of the                 11       A I mean, how is it?
12   paralegals should have consulted with you before          12       Q As in, is it neat? Big? Small?
13   sending it?                                               13       A It looks like Ralph's. No.
14       A Yes.                                                14           MR. CARDWELL: How dare you.
15       Q Do you have any recollections regarding             15       A To me, I know this sounds kind of silly,
16   it?                                                       16   but it looks like a man's handwriting, not
17       A There was so much going back and forth in           17   particularly neat. No.
18   this particular matter I don't have a specific            18           BY MR. REICHER:
19   memory of that conversation, but there were a lot         19       Q Let me show you an example and see if you
20   of conversations.                                         20   have a sense of his handwriting. This is Exhibit
21       Q Something of the effect and again, if               21   819 A and it's a 10-K for Cyclone Power?
22   that's the wrong word, I apologize. But what did          22           Is that a firm client?
23   you mean by that?                                         23       A Can you zoom in a bit?
24       A So I'm looking at it right now. I'll tell           24       Q Do you recall?
25   you why I don't think I sent it because it says it        25       A I sort of do recall it, yes.


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  1      Q So let me find some handwriting. Let me          1   was agreed upon.
  2   back out slightly. At the bottom, there's some        2       Q I think I understand. You're saying that
  3   handwriting. Is that your handwriting?                3   if you had conveyed legal advice to a paralegal to
  4      A Doesn't appear to be.                            4   pass along, you would want them to copy you that
  5      Q Does it look like Mr. Hackman's                  5   way you could see it and make sure they got it.
  6   handwriting?                                          6       A Yes, and also confirmation that it was
  7      A To be perfectly honest with you, not             7   done.
  8   really. I -- I mean, I'm not saying that it's not     8       Q Fair enough. If you were sending e-mails
  9   possible that it is but it -- it doesn't really       9   directly yourself, would you copy yourself?
 10   scream Hackman.                                      10       A I do quite often.
 11      Q Do you have any idea of who it looks more       11       Q Is there a particular time or type of
 12   like?                                                12   e-mail you would copy yourself on?
 13      A No. I would agree that it's probably not        13       A No, not particularly. I mean, there's
 14   mine.                                                14   just a lot of times where I want to have that back
 15      Q Let me just pull up Exhibit 819. This is        15   in front of me, so I do it often.
 16   an e-mail from your e-mail account to a Lawrence     16       Q If paralegals were reading e-mails in your
 17   Bornstein and a bunch of other people dated          17   inbox, were they supposed to handle it in certain
 18   7/25/17, and I'll represent to you what we just      18   ways in terms of leave it marked red, for example,
 19   looked at was the attachment to this e-mail.         19   so you'd know that it was there or was there
 20      A Okay.                                           20   anything along those lines?
 21      Q Can you tell whether this e-mail was            21       A So for the most part, they are not
 22   likely sent by you or not?                           22   marked -- they are not marked as unread and it
 23      A Honestly, I do not have any recollection        23   was -- it has been from time to time anyway a
 24   one way or another, and there's nothing about the    24   source of frustration because I don't want to miss
 25   language or the style, if you will, of the e-mail    25   stuff.


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  1   that would suggest that I did not write it, but       1      Q I take it it was a source of frustration
  2   the e-mail itself I do not remember.                  2   because at times things were marked as unread and
  3      Q In terms of looking at the e-mail, is            3   you might miss it?
  4   there anything else that would give you an            4     A Right. They were just opened by one of
  5   indication one way or another?                        5   three or four people in the office and whatever
  6      A No.                                              6   and when they're not left unread, I just feel like
  7      Q Were the rules or not formal rules but           7   the chances of us missing something are greater.
  8   practices of whether paralegals were supposed to      8   But with that said it happened all the time and I
  9   copy you on e-mails, whether from their account or    9   would say Hackman was a big culprit because he
 10   from yours, just generally?                          10   opened stuff all the time.
 11      A Generally speaking, I like it.                  11       Q Just -- I think I understand but just so
 12      Q Let's talk specifically if they're using        12   I -- the biggest culprit was Hackman in the sense
 13   their own e-mail. What types of e-mails would you    13   that he would be more likely than the others to
 14   like them to copy you on?                            14   read something unread thereby increasing the
 15      A I would say something that was more             15   chance that you wouldn't see it?
 16   substantive than not. I don't mind if it's even      16     A I would say that's a fair statement.
 17   not substantive, but and mainly it's just for my     17      Q Given that this was sort of an ongoing
 18   own review and recollection of what was being said   18   issue, was there any steps that you implemented to
 19   and so I can chime in physically. So I do like it    19   try to stop this from being an issue?
 20   because it keeps the flow.                           20      A So I mean, not to make it -- we're not
 21      Q If they're using your e-mail to                 21   talking about an earth-shattering issue but it was
 22   communicate, was it more important? Less             22   like I said, a source of frustration sometimes
 23   important? The same in terms of copying you?         23   because I would miss something. But the only
 24      A I would say potentially more important          24   steps that would be taken would be to say stop it
 25   just so that I know what was being conveyed, what    25   I'm going to miss stuff.



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 1      Q And the purpose of deleting e-mails, were       1       Q Were there any clients where Hackman
 2   they allowed to delete things out of your e-mail     2    indicated exclusively using your e-mail?
 3   account?                                             3       A I really don't know the answer to that.
 4      A Delete things out of the of e-mail              4       Q I'll take away exclusively. Were there
 5   account. You mean the inbox?                         5    any clients where he would communicate almost
 6      Q Yes. Your inbox.                                6    exclusively or the significant entirety of his
 7      A So stuff that's not substantive in nature,      7    time using your e-mail versus his?
 8   I don't care one way or the other, but I would not   8       A Honestly, I've never gone back and done
 9   like anything deleted from the inbox that was        9    such a comparison. It wouldn't shock me if he
10   substantive in nature.                               10   communicated more times than not from my e-mail.
11      Q To your knowledge, was it a problem of          11      Q Were there ever any times where you told
12   that having happened?                                12   him either for this client or on an e-mail
13      A I became aware of some instances aside          13   including this person I want you to only use my
14   from the one that you potentially presented to me    14   e-mail, not your own?
15   today. I became aware of a few instances where       15      A No.
16   that happened shortly before Shawn went in the       16      Q Were there any times, to your knowledge,
17   hospital, and I was not previously aware of such a   17   that a client told him I only want it with you
18   thing.                                               18   with Ms. Dowling's e-mail?
19      Q Can you explain what you learned?               19      A I'm sorry. Repeat that.
20      A I learned that personally through my            20      Q Sure. Were there any times that a client,
21   paralegal, my other paralegals, that an e-mail       21   to your knowledge, told Mr. Hackman that they only
22   would come in and they would see it and then it      22   wanted to communicate with Mr. Hackman with your
23   would just disappear, and they indicated their       23   e-mail?
24   worries about that. During that time period,         24      A Not that I'm aware of, no.
25   leading up to Shawn's hospitalization, for lack of   25      Q Are you aware of any third-party ever


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 1   a better way to put it, he started acting really      1   saying that they only wanted to communicate with
 2   weird and as far as I think I understand from the     2   Mr. Hackman through your e-mail?
 3   doctors and so forth, he wasn't getting any oxygen    3       A I'm not aware of that request being made,
 4   to his brain.                                         4   no.
 5       Q I see. So was the issue with e-mails            5       Q Were there ever any times after our
 6   being deleted only in that timeframe where he had     6   subpoena that a client indicated they were no
 7   gone to the hospital and was already getting sick     7   longer willing to work with Mr. Hackman?
 8   or is that where you found out about this             8       A Indicate to me that they were no longer
 9   happening over a broader period?                      9   willing to work with him?
10       A I think this was more accurate to say that     10       Q Correct.
11   this is the time period that I found out. Now, I     11       A So I'm sure you're going to ask me which
12   don't know if this is the first time -- you know,    12   clients. My firm was fired by a few clients
13   what I'm saying. I don't know what was deleted.      13   because of this, but honestly, don't know who they
14   If I didn't see it because it was deleted, then I    14   are?
15   don't know. But it came to my attention in the       15       Q So other than clients that fired the firm
16   weeks leading up to his hospitalization.             16   altogether, were there clients that said I'm happy
17       Q Absent specific reason to go look for a        17   to work with EAD, but I don't want Hackman
18   deleted e-mail for a general reason, would you       18   involved in my matters?
19   have a general practice of going back through your   19       A I have not heard that. No. I don't know
20   deleted items to look for things?                    20   that that's not true, but I have not been
21       A No.                                            21   specifically told, you know, something along those
22       Q If something had been deleted, unless you      22   lines. I know that we have been terminated -- the
23   had particular reason to go back through for that,   23   firm has been terminated because nobody likes to
24   you likely would never see?                          24   get subpoenas.
25       A That would be accurate.                        25       Q In terms of third parties, were there any


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  1   third parties say an auditor, for example, that         1    as I'm aware of were not even available for public
  2   said they're only comfortable working with EAD Law      2    viewing.
  3   if Mr. Hackman is not involved in the matters           3       Q Sorry. What are you referring -- I didn't
  4   we're working on?                                       4    understand. What were you referring to at the end
  5     A I'm assuming from your question that                5    that wasn't available?
  6   you're aware of someone but to be perfectly honest      6       A The order of suspension that I was
  7   with you, I don't have a memory of an auditor           7    provided after the initiation of this
  8   telling me that they still want to the work with        8    investigation.
  9   me. But as long as Shawn was working on stuff,          9       Q The order suspending Mr. Hackman from
 10   then they were not interested.                          10   appearing or practicing in front of the SEC?
 11      Q Do you think if you had been made aware of         11     A Yes.
 12   that conversation you would likely remember it or       12      Q I think though I could be wrong, did I
 13   not necessarily?                                        13   provide it? I don't remember.
 14      A I think I would remember it but I don't            14      A I think at my request or Rob's request you
 15   know. But yes, I mean, I think I would. Yes.            15   did.
 16      Q If a third party had told Mr. Hackman              16          MR. CARDWELL: Somebody provided it to me,
 17   that, would you expect him to convey that to you?       17   and I showed to it her, as I recall. And I can't
 18      A I would expect him to but I don't know             18   remember -- At some point, I might have asked
 19   that he -- well, I do know that he's never              19   Hackman for it, but I think I also asked you for
 20   conveyed that to me, so I would expect him to do        20   it Eric, and somebody gave it to me.
 21   so, but I have not heard that from him.                 21          BY MR. REICHER:
 22      Q To be more specific, do you have any               22      Q Okay. Understood. Let me ask you, in
 23   recollection of anyone from the firm Adeptis            23   relation to either the suspension or disbarment,
 24   saying that they did not want to work with Mr.          24   did you ever seek any legal advice in terms of
 25   Hackman?                                                25   what Mr. Hackman was and was not permitted to do?


                                                   Page 231                                                    Page 233
  1        A Is that a Canadian auditor.                       1      A At what point?
  2        Q I believe they're from New York or New            2      Q I guess pre our subpoena?
  3    Jersey.                                                 3      A No.
  4        A It's not ringing a bell necessarily, that         4      Q Did you ever -- again pre our subpoena for
  5    they told me that they are not willing to do work       5   this round of questions -- did you ever consult
  6    with the firm if Hackman would be working on their      6   with the Nevada bar?
  7    matters?                                                7      A I did not.
  8        Q Correct.                                          8      Q Did you do any sort of your own
  9        A I don't have a recollection of that being         9   independent research?
 10    told to me. To be perfectly honest, I think I          10      A Aside from -- there was some point I
 11    would remember but I just don't.                       11   believe pre subpoena that I looked at an order
 12        Q I take it if I recall correctly, well, let       12   related to basically a judgement as it would be, I
 13    me ask you -- I'll skip -- in terms of the SEC         13   think it was pre-subpoena. But didn't see
 14    suspension of Mr. Hackman separate from his            14   anything in there that would suggest that he
 15    disbarment, what is your understanding of what         15   couldn't just do the same tasks that any other
 16    that meant he was not allowed to do?                   16   disbarred attorney could do in Nevada.
 17        A So only once this investigation was              17      Q Is that any different than any paralegal
 18    initiated was I ever provided a document or            18   could do who had ever been an attorney?
 19    anything related to that order of suspension. I        19      A I'm not sure I understand your question.
 20    presumed that I was correct in that the same state     20          MR. REICHER: There's a train coming.
 21    bar rules, if you will, would apply; that he was       21   Let's just give it a second.
 22    not able to practice law in front of the SEC, but      22          THE WITNESS: Eric, if you just want to
 23    I've never been provided that order of suspension.     23   hold that question. I just have to run to the
 24    The only things I were aware of were things that       24   restroom.
 25    were related to things and stuff like that as far      25                  (Off record.)


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 1         BY MR. REICHER:                                   1   individuals?
 2      Q Did you ever obtain a legal opinion                2       A Again, when I say it's possible, I'm
 3   regarding the scope of work that Mr. Hackman could      3   really not trying to be elusive. I think that may
 4   or could not do based on the disbarment or SEC          4   ring a bell, but as I sit here, right here, right
 5   suspension?                                             5   now I don't have a vivid or specific memory of
 6      A I did not get a formal, legal opinion              6   such a thing, but like I said, yes, it's
 7   about that. I was not even aware of a separate          7   definitely possible.
 8   order regarding security suspension.                    8       Q Is there anything else that would refresh
 9      Q In terms of SEC ban, have you ever issued          9   your recollection as to whether you issued penny
10   opinions relating to the scope of an SEC ban?          10   stock ban opinions as to any or all of the people
11      A No. The very first part of your question          11   I just mentioned?
12   just broke up. In terms of -- I think that's what      12       A Based on the fact that you're telling me
13   you said.                                              13   or asking me those pointed questions as to each
14      Q Ever issued opinion, so you being the             14   individual, it gives me reason to believe that
15   attorney, relating to an SEC ban?                      15   that's possible.
16      A No.                                               16          I have -- I believe I have issued those
17      Q Just so my question is clear, I'm not             17   opinions in the past, but I do not have any solid
18   necessarily talking only about bands of a lawyer       18   recall of specific letters regarding specific
19   like Mr. Hackman had, I'm talking about a              19   clients, if that makes sense.
20   director, an officer for example?                      20       Q So in terms of those three specific
21      A A director? An officer?                           21   individuals, the only reason you're thinking that
22      Q Bar or ban?                                       22   you may have is that I'm asking about those
23      A No.                                               23   individuals?
24      Q A penny stock bar or ban?                         24       A No. Actually, the question before you
25      A Have I ever issued an opinion about a             25   started naming the particular individuals was


                                                 Page 235                                            Page 237
 1   penny stock bar?                                        1   regarding penny stock opinions period, and I said
 2      Q Correct.                                           2   it's possible which is because I do have what I
 3      A Regarding Shawn or regarding just anyone           3   believe to be some sort of recollection of that,
 4   that's inquiring?                                       4   but just not as to specifics. So just trying to
 5      Q Yes, just generally.                               5   tell the truth.
 6      A I'm not entirely sure.                             6       Q If I told you I'm aware of penny stock
 7      Q Is there anybody or any company that you           7   opinion at least one in your name for one of the
 8   think you may have issued penny stock for?              8   individuals that I mentioned, but only one?
 9      A It's possible.                                     9       A Okay.
10      Q Can you recall anything sitting here              10       Q Do you have any idea which of the three
11   today?                                                 11   would be more likely?
12      A No.                                               12       A Based on criminal history?
13      Q Do you have any reason to believe that            13       Q Just based on you recollection of what you
14   penny stock bar opinions relating to Dempsey           14   did or anything else?
15   Moore?                                                 15       A Not based on my recollection. I could
16      A Again, it's possible.                             16   only speculate.
17      Q Any reason to believe related to Kim              17       Q Was Mr. Hackman allowed to be on calls
18   Southworth?                                            18   with the SEC?
19      A Possible.                                         19       A Was he allowed to be on the calls?
20      Q Any reason to think he might have related         20       Q Correct?
21   to Tracy?                                              21       A Are you referring to pursuant to the SEC
22      A It's possible.                                    22   rules or pursuant to my rules?
23      Q Do you have -- other than anything is             23       Q I guess your rules.
24   possible, do you have any particular reason to         24       A So I would say that it would be a very
25   think that you issued opinions to these                25   infrequent occurrence for him to be on an SEC call


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  1   with me. I can't swear under oath that it never       1   lawyer. I'm sorry. I digress. What was the
  2   happened, but then again, I don't have a memory of    2   question in terms of client contact?
  3   it actually happening either.                         3       Q What were the limits, as you understand
  4          So because I was operating under the           4   it, of things that he can't do in terms of client
  5   belief that our state rules would apply, I            5   contact?
  6   wouldn't have seen necessarily a problem with him     6      A So far as I'm aware, I'm not aware of any
  7   hearing something.                                    7   cap on the amount of time that he can have contact
  8       Q And if he were on the phone with you on a       8   with a client. I am under the believe that they
  9   call with the SEC, would his presence have been       9   do have to have some contact with the attorney and
 10   announced?                                           10   also when legal advice is being disseminated, that
 11       A I believe so.                                  11   it needs to be communicated in some form, even if
 12       Q Was he permitted, based on your                12   it comes ultimately, for lack of a better term,
 13   understanding of the Nevada rules regarding          13   hands of a paralegal, that it needs to come from
 14   disbarred attorney, would he have been allowed to    14   the attorney or supervised by the attorney.
 15   be on a call alone with the SEC?                     15      Q I think we talked about this with respect
 16       A No. I just -- pursuant to the rules, if        16   to e-mail, but let's say there were a phone call
 17   you were just taking a civil litigation matter and   17   where Mr. Hackman was conveying legal advice that
 18   paralegal could talk to -- a disbarred paralegal     18   had come from you. Would you expect him to tell
 19   could talk to a DA, for example. However, it         19   the client, Elaine told me X?
 20   would not be something that I would allow.           20      A I really don't know how to answer that.
 21       Q Let's -- since we're talking about it more     21   Because when I meet a client and I agree to do
 22   broadly, can we -- I want to get your                22   work for a client, I convey to them that he is not
 23   understanding of what a paralegal could or could     23   an attorney. I don't know that I would expect
 24   not do?                                              24   that to be invade every time they spoke.
 25       A Very generally speaking, I haven't             25      Q That's wasn't necessarily what I was


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  1   reviewed the rules in a long time. I shouldn't        1   suggesting. Let's say you had told Mr. Hackman
  2   say long time, at least over a month, and             2   I'll stick with my material disclosure example.
  3   generally speaking, I would say that they could       3   He consulted with you or the client consulted, he
  4   work on documents, communicate with clients on        4   has X amount of material disclosure and for
  5   certain matters -- on certain matters. They could     5   whatever reason you were tied up and you wanted
  6   act as office manager, be involved in every kind      6   Shawn to call the client to say no, it's not a
  7   of aspect aside from just directly providing legal    7   material disclosure.
  8   advice without the attorney's consent.                8       A Okay.
  9       Q So were there times where in terms of           9       Q In that context of him specifically
 10   plain context. I know you're saying client           10   conveying legal advice, would you expect him to
 11   contact isn't per se forbidden, and I'm not trying   11   say Elaine told me to tell you or Elaine said some
 12   to dispute or argue that necessarily.                12   type to indicate the legal advice taken from you
 13       A All right.                                     13   and not him?
 14       Q Are there limits on the nature of client       14       A Again, I think my answer is the same -- I
 15   contact, the frequency at least vis-a-vis relative   15   think my answer is the same. I don't know that I
 16   to the contact with the attorney, the type of        16   necessarily can expect him to every time he
 17   work, anything along those lines?                    17   conveyed advice that came from me that he would
 18       A You're just talking about my understanding     18   say Elaine said. I guess that would be nice but
 19   of Nevada state rules, correct?                      19   I, you know, I don't know.
 20       Q Correct, which I think is based on was it      20       Q In terms of client intake, what was his
 21   your intent to make sure that Mr. Hackman was        21   role?
 22   complying with Nevada rules in working for EAD?      22       A It would depend on where the client came
 23       A Yes. And again I wasn't aware of any other     23   from, what was going on.
 24   separate order other than he can't practice law,     24       Q Were there ever times where a client came
 25   obviously, in front of the SEC because he's not a    25   to him first and, said hey, Shawn, I need help


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 1   with some issue?                                      1       A Not really.
 2       A I'm sure of it but don't ask me the name        2       Q In terms of negotiating fees, was Mr.
 3   of those clients because I really don't know.         3   Hackman allowed to tell a client that he could do
 4       Q If a client came to him and said I need         4   or EAD could do X work for Y fee?
 5   help with whatever legal issue?                       5      A He should not. Just in my opinion, but I
 6       A Yes.                                            6   think that -- and again, I have no specific
 7       Q What would be his responsibility at that        7   recollection of it but there may have been from
 8   point?                                                8   time to time instances where he said, I told him
 9       A To advice me of the same, and to                9   maybe you could do it for in-between this range or
10   eventually set up a meeting with me. Whether it      10   something along those lines. So again,
11   be telephonic or whether it be in person.            11   ultimately, the decision lies with me about
12       Q Would he be allowed to agree to represent      12   whether I'm going to do anything, let alone at
13   a client without you having spoken to them?          13   what cost.
14       A I'm sure over the course of several years      14     Q Were your fees sort of routinized, for
15   I would not -- that would not be my preference,      15   lack of a better word. Routine enough that he
16   but I'm sure of the course of many years it has      16   would have a good enough sense of X work will cost
17   happened that he said, oh, yeah, I'm sure we can     17   Y that in your mind he'd be able to convey that to
18   do that for you, and then proceed from there. He     18   clients himself?
19   can't tell me that's what I'm doing but you          19      A Again, I would prefer that he not do that
20   understand what I mean, I think.                     20   because I'm of the opinion that cases are
21       Q I think so. So you're saying that you          21   different, and depending on what you're talking
22   believe at times there were instances where Mr.      22   about, whether it be -- cases are different.
23   Hackman before consulting you would say to a         23        So I would prefer that that not be
24   potential client "yeah, we can help you with         24   conveyed until I had information from my client.
25   that"?                                               25   Like I said, I wasn't even comfortable giving you


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 1       A It sounds like something that's probably       1    a solid tries for certain things because it
 2   happened, yes, but ultimately, it's my decision      2    varies. So that's the best I can do with that
 3   and under my supervision I have to make the          3    answer.
 4   ultimate determination on whether or not that's      4       Q You may or may not be able to give
 5   something I want to do.                              5    specifics, but do you believe that there likely
 6       Q Why do you think that it sounded like          6    were times where Mr. Hackman would have said to a
 7   something that had occurred?                         7    client that sure we can do X work for Y price?
 8          (Reporter interruption.)                      8        A Based on conversations that I've had
 9       A The reason I say so is that I can recall       9    directly, I think that that is something that
10   specifics of the conversation but I can recall       10   could have happened -- could have happened. Based
11   conversations where something along the lines of,    11   on what he tells me that oh, hey, I told Joe that,
12   you know, so and so want to do so and so. I told     12   you know, you would maybe be able to do this for
13   them we could do it. I'm, like, okay, well, have     13   blank dollars, right? Again, ultimately, whether
14   me talk to so and so. So general conversations       14   or not I do anything for Joe for blank dollars and
15   like that definitely happened.                       15   it's my choice.
16          BY MR. REICHER:                               16      Q Do you recall any instances of overruling
17       Q Can you give me a rough estimate of how        17   Mr. Hackman in terms of either taking on a client
18   many times you're aware of conversations like that   18   all together or taking -- let me just ask that
19   happening?                                           19   question first. Do you recall any instances of
20       A Not really. I've been working with him         20   overruling Mr. Hackman in terms of taking on a
21   for some time now.                                   21   client?
22       Q More than ten? Less than ten?                  22       A Yes. The things is I remember instances
23       A I just said I couldn't do it.                  23   where I said yeah, I'm not interested.
24       Q I'm just trying to get some framework.         24      Q Did those relations --
25   Sitting here you can't give any sort of estimate?    25      A Some of them have related to securities



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  1   work and some of them have related to litigation.       1   have any way of knowing that?
  2      Q Were there reasons that you would have             2       A Not unless I was told.
  3   been disinterested in the securities work?              3       Q Do you institute any particular safeguards
  4      A Again, I could not repeat to you who the           4   to protect Mr. Hackman from answering routine
  5   potential clients were just because I don't             5   questions that he happen to know the answer to
  6   recall, but there have been a few circumstances         6   based on his experience?
  7   without remembering the details that I just did         7       A I wouldn't say that I have any protections
  8   not feel comfortable whether it based on my             8   in place. No. He knows that.
  9   conversation -- more than likely my conversation        9       Q Do you believe -- so I think -- oh, I
 10   with them they just -- I didn't like it.               10   guess, I think you said before that the rules for
 11      Q Do you recall specific instances of               11   a disbarred attorney is the same for any other
 12   overruling him in terms of costs of what he told a     12   paralegal; am I remembering correctly?
 13   potential client work could be done for?               13          (Court reporter interruption.)
 14      A Yes.                                              14          BY MR. REICHER:
 15      Q Can you remember any specifics?                   15       Q So a paralegal is allowed or not allowed
 16      A No, I just remember a couple of times             16   to do the same sort of work, regardless of whether
 17   where he told me that he suggested to a client         17   the paralegal was a more traditional paralegal or
 18   that, you know, I might be able to do something        18   a disbarred attorney; is that fair?
 19   for a specific cost and I felt that it was too low     19       A I don't think that that necessarily
 20   based on the amount of work that that was going to     20   reputes my testimony but I think that it's fair
 21   entail and so when I spoke to the client I let         21   enough.
 22   them know that.                                        22       Q Okay. And let me ask you a clarification.
 23       Q In terms of, let's say, an existing client       23   Is there anything you think a disbarred attorney
 24   is on the phone with Mr. Hackman and they ask him      24   is allowed to do that a paralegal with a more
 25   a question that would constitute legal advice?         25   traditional paralegal background would not be


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  1      A Okay.                                              1   allowed to do?
  2      Q What is he supposed to do there?                   2      A Not that I can think of.
  3      A He should only provide that information            3      Q Are there any particular concerns in your
  4   until, you know, he consults me.                        4   mind regarding the unauthorized practice of law
  5      Q Now, let's say it's a question that                5   with a disbarred attorney versus a more
  6   because of his experience and knowledge as a one        6   traditional paralegal?
  7   time practicing securities lawyer, he was quite         7      A I mean, I suppose it could be suggested
  8   confident he knew the answer. What is he supposed       8   that a disbarred attorney would have more legal
  9   to do there?                                            9   knowledge. However, I know 20-year paralegals
 10      A Same answer.                                      10   that could, you know, bury attorneys in terms of
 11     Q Okay. Do you believe that if Mr. Hackman           11   knowledge. So I think the temptation is probably
 12   was confident he knew the substantive legal            12   the same.
 13   question he was being asked by the client he would     13      Q And I think some of your paralegals have
 14   have declined to answer until he could consult         14   extensive experience. I think Ms. Hale has been a
 15   with you?                                              15   paralegal for quite sometime; is that correct?
 16      A I would say you would really have to ask          16      A As far as I know, yes. Because that's
 17   him whether or not that's what he would do. I          17   what she told me.
 18   mean, in provided that scenario, I'm guessing I'm      18      Q And do you believe that Ms. Hale would be
 19   not around. So do I think it's possible that he        19   equally situated to Mr. Hackman in terms of being
 20   has provided, because he knows, you know --            20   able to convey legal advice to clients?
 21   readily you've provided an answer like that, you       21      A No, I don't. I just said there are some
 22   know, related to legal questions it's certainly        22   paralegals with similar experience or lengthy
 23   possible.                                              23   experience that are extremely sharp on the law.
 24      Q And as I think you eluded to in this              24   So, you know, they need to be careful about what
 25   scenario you wouldn't be on the phone, would you       25   they convey.


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 1      Q Was there anything different you did in          1      Q A draft.
 2   terms of your monitoring of Mr. Hackman,              2      A Okay.
 3   vis-à-vis, any of the other paralegals of the         3      Q Would you typically have edits or was his
 4   firm?                                                 4   work product typically fine without changes?
 5      A I don't know that I did.                         5      A I mean, sometimes there could be edits
 6     Q And in terms of --                                6   sometimes there's not.
 7        MS. SHIMP: I'm sorry, Eric -- oh, never          7      Q Do you have a general sense of which was
 8   mind. We just got something up saying the session     8   more likely?
 9   was going to expire.                                  9      A No. And I presume that you're talking
10        MR. REICHER: I think it wasn't the WebEx,       10   about as it relates to SEC matters?
11   it was the platform we're using to show e-mails.     11      Q Correct.
12       A Oh, got you.                                   12      A Yeah, I don't have a general sensation
13         BY MR. REICHER:                                13   about that.
14      Q In terms of draft documents, what was your      14      Q Okay. Did it happen fairly frequently that
15   understanding of what Mr. Hackman was allowed to     15   you would not have to make edits to SEC filings
16   do with documents?                                   16   that he prepared?
17      A My understanding is that he was allowed to      17      A I think I just answered that. I don't
18   help in the preparation of documents under my        18   really have any sort of sensation as to how often
19   supervision and my ultimate approval.                19   or not that happened.
20      Q And so would any -- let's take SEC filings      20      Q I know you said that -- sorry -- I'm not a
21   for the moment -- would any SEC filing have to be    21   big fan of track changes. If you made edits, you
22   reviewed by you?                                     22   generally make specific edits in a document or you
23      A Yes.                                            23   say hey, this doesn't make sense, clean it up.
24      Q And would you have to review a draft of         24   Like, would you make the line edits to clean it up
25   the SEC filing before it went to the client?         25   or would you say, hey fix this?


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 1      A Yes.                                             1        A Both.
 2      Q And do you believe that every time Mr.           2        Q And so if the times you were sending it
 3   Hackman worked on an SEC filing he would sent it      3   back and forth via e-mail, would the instructions
 4   to you before -- sorry -- before sending it along     4   of what to fix be in the document, comment
 5   to the client?                                        5   bubbles, something like that, or would it tend to
 6      A Send it to me or show it to me.                  6   be in the e-mail itself, hey Shawn fix it?
 7      Q Give you an opportunity to review?               7        A It could be any combination. I don't
 8      A I would expect him to do that. I don't           8   understand bubbles, you mean, handwritten, like,
 9   know if that happened in all circumstances to be      9   little notes or do you mean --
10   perfectly honest, but I don't have any examples to   10        Q What I mean, do you know in a word
11   give you where I'm aware it didn't happen.           11   document you have the ability to, if you go under
12      Q Understanding there may be specific             12   the review tab you can put in a comment. I guess,
13   examples where it didn't happen, do you believe      13   are you familiar with --
14   that there likely were times where he did not give   14        A Are you talking about the tracking of
15   you an opportunity to review a draft before it was   15   edits?
16   sent out?                                            16        Q It's different than tracking edits. So
17      A Without any -- other than what has been         17   for instance, I'm writing a brief right now. My
18   shown to me today which would suggest that there's   18   supervisor will sometimes make line edits but most
19   -- anything's a possibility because I've been made   19   of the time will put a comment bubble, something
20   aware of things that I was never aware of. But       20   simple saying this doesn't make sense, rework it
21   with that said, I don't have any examples of that    21   or something like that.
22   to provide you or of where specifics or not, aware   22        A Right. Okay. Yes. I'm familiar with
23   of that exact thing.                                 23   that. I don't really use it.
24       Q And if Mr. Hackman did a --                    24        Q Okay. Can you give me some idea of what
25      A If he did what?                                 25   sort of things would legal advice that only a


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  1   lawyer can give versus such basic knowledge that,     1         THE WITNESS: It's not good, and I'm
  2   you know, you have a true layperson on the street     2   getting tired.
  3   might know but that's fair for a paralegal to --      3         MR. CARDWELL: All right.
  4       A That's so broad. I mean, I'm assuming           4         MR. REICHER: Shall we take a short break.
  5   that both of us have a basic understanding of what    5         MR. CARDWELL: We're over seven hours now.
  6   is substantive in nature. I've known paralegals       6   And I ask her because I can tell by the way she's
  7   in other areas of practice which, you know, quite     7   sitting that her back is hurting. So I, you know,
  8   often will convey how many days you have to           8   as I indicated before in my e-mails I didn't want
  9   respond to discovery for example that is              9   to go much past 6 o'clock eastern time. We're,
 10   technically, you know, legal information. Don't      10   you know, we're about quarter after. So, you
 11   know that anyone would get to riled up about that    11   know, I'd rather, you know, if you've got one more
 12   information being conveyed, right. If there's        12   area of questioning; is that all right?
 13   something truly substantive than I would consider    13          MR. REICHER: Again, we started somewhat
 14   that legal information.                              14   late, we've had some technical issues. When you
 15       Q And that's exactly -- are the -- in the        15   in terms of quoting the time, that excludes all
 16   SEC context, can you think of anything like you      16   breaks, as I conveyed in my e-mail, you know, that
 17   mentioned that well, yes, maybe technically the      17   6 o'clock was a shorter day than we envisioned.
 18   number of days to respond are considered legal       18   So why don't we take a short break and come back
 19   advice, but as you said most people aren't going     19   in about five minutes and I'll move on --
 20   to get bent out of shape if an experienced           20         MR. CARDWELL: What exactly do you
 21   paralegal answered.                                  21   anticipate for today?
 22       A So again, in the realm of the SEC, you         22          MR. REICHER: I think we obviously have
 23   know, someone asking whether or not they can or      23   one more day scheduled. I think it would be --
 24   cannot do a certain action within a filing or        24   given that we have been well less than seven hours
 25   other, you know, other sort of securities related    25   truly on the record, I think it makes sense to


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  1   matters, depending on how in-depth it is, I would     1   continue for at least an hour after the break.
  2   say that a paralegal should not answer without at     2      A An hour after what?
  3   least confirming with the attorney under their        3      Q After we take a break.
  4   supervision that it was cool.                         4      A I mean.
  5       Q I guess, are most SEC related matters a         5          MR. CARDWELL: How about 30 minutes?
  6   little more technical and a little less routine       6          MR. REICHER: Let's go off the record.
  7   than discovery responses or some of the very basic    7          MR. CARDWELL: That seems fair because you
  8   litigation type work?                                 8   got to take into consideration it's not just the
  9       A Not necessarily. Yeah, I mean, yeah. I          9   amount of time on the record. It's the amount of
 10   mean, not necessarily. I wouldn't say that. It       10   time sitting here. So that is -- I think we're
 11   would depend on the thing. Yes, there are, you       11   over, we're over seven hours taking out 35 minutes
 12   know, technicalities obviously in securities         12   for lunch, which I think we took 35 minutes we
 13   related work, but honestly it's more form driven     13   took about -- a ten minute break before that so.
 14   than a lot of aspects of litigation. So I            14          MR. REICHER: We're off the record now,
 15   wouldn't call one more simplistic than another.      15   correct.
 16       Q And at some point, I'll run down some more     16          MR. CARDWELL: We can be off the record.
 17   concrete examples of whether you would consider      17          MR. REICHER: I was asking the reporter.
 18   something legal or not legal, but let me hold off    18              (A break was taken.)
 19   on that for the moment. Let me --                    19           (Proceedings resumed at 6:25.)
 20       A Okay.                                          20          MR. REICHER: It is 6:25, we're back on
 21       Q -- ask about money? And this is going to       21   the record. Ms. Dowling, did Karen or I discuss
 22   be relating to -- hopefully, it's not a bone of      22   your testimony with you while we were on break?
 23   contention. Give me one second to find out where     23      A No.
 24   I'm...                                               24      Q And other than with your counsel, did you
 25          MR. CARDWELL: How's your back?                25   discuss your testimony?



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 1       A No. Other than it was on going.                   1       A That's how -- I mean, yes.
 2       Q Were there ever times that you would make         2          (Court reporter interruption.)
 3   a payment to Mr. Hackman other than services            3          BY MR. REICHER:
 4   rendered relating to EAD Law.                           4       Q How was he paid -- again, not that he was
 5       A Relating to what?                                 5   an independent contractor, but was he paid a set
 6       Q EAD clients. If we see a check from you           6   amount per week, month or was it project based?
 7   to him, is it anything other than payment for           7       A He wasn't necessarily paid each week or
 8   services to the firm?                                   8   month or every two weeks and not even necessarily
 9       A There might be a couple, but I wouldn't be        9   project based.
10   able to identify them just as somebody who I           10          I think you and I have discussed
11   thought was my friend.                                 11   at length before that it was, you know, just --
12          MR. CARDWELL: Are you talking about --          12   not really documented in any way, but when the
13   I'm not sure I understood the -- I think I             13   firm, you know, would get money in, we just sort
14   understood the answer and I think I understood         14   of work it out.
15   part of the question.                                  15       Q Okay. So was there any formula he would
16       Q So I guess, other -- I mean -- other than        16   use to work it out?
17   -- I guess, were there ever times where he would       17       A Not really, no.
18   purchase supplies, for example, for the firm and       18       Q In a rough sense, was there -- how would
19   you would reimburse him?                               19   you determine what to pay him?
20       A Oh, okay. So I didn't understand that            20       A It would depend, you know, on what's going
21   maybe to be the question. Geez, I really don't         21   on at the firm, what's being done. He worked on
22   think so. Usually my card would be used, but I         22   all kind of matters for me, essentially, you know,
23   don't know.                                            23   acted as an office manager from time to time.
24       Q And In terms of your answer, I think I           24   Done all kinds of tasks that, you know, just all
25   understood, other than a potentially occasional        25   over the place. So when the firm gets money in,


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 1   gift, would there be any reason that a check from       1   you know, we would just have a discussion. There
 2   you to him would be for something other than work?      2   isn't a particular formula.
 3     A Not typically.                                      3      Q So if the firm got in $10,000 dollars
 4         (Court reporter interruption.)                    4   related to an S-1, how would that generally be
 5      A My answer was not typically.                       5   apportioned between you and Mr. Hackman?
 6         BY MR. REICHER:                                   6     A It would just -- it would just depend. I
 7      Q And if there were a gift or something like         7   mean, you know sometimes I would give him a larger
 8   that, would that be a relatively small amount?          8   sum than others.
 9      A It's all relative. But, I mean -- I                9      Q What would be on the high end of the sum
10   guess, relatively small, sure, to help him out.        10   you would give him?
11      Q I mean, I guess, what's the largest gift          11      A Closer to, you know, I guess, combined
12   you ever think you gave him?                           12   with other things. So like I said, when the firm
13     A Well, I don't even know that some of it I          13   gets in money it's not necessarily related to a
14   would characterize as a gift rather than just,         14   particular task. There are times when he hasn't
15   like, you know, maybe loaning him some money.          15   gotten paid for a long time. Do you see what I'm
16   But, I mean, I would say probably no more than a       16   saying?
17   thousand dollars.                                      17        So if an S-1 came in and we charge,
18      Q And so it be fair to say that the vast            18   $10,000 and I wrote him a check for five, that's
19   majority of the money that went from EAD Law to        19   not necessarily because I was giving him 50
20   Mr. Hackman would simply have been as payment for      20   percent of the S-1 portion. It could just be for
21   his work?                                              21   various reasons, so.
22      A I think that's fair to say.                       22      Q So there are days where there would be two
23      Q I believe you told me at some point that          23   checks issued on the same day to Mr. Hackman and I
24   he was treated as an independent contractor; is        24   think, although, I can't absolutely swear, there
25   that correct?                                          25   were days where there were three, but there were



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  1   definitely times where there were many checks in a      1      A I actually don't know because I haven't
  2   very short window of time. If this were for sort        2   employed that many people but, you know, maybe.
  3   of an amalgam of things and not one project, why        3       Q Were any of your other employees paid in a
  4   would there be so many checks in such a short time      4   similar matter?
  5   period?                                                 5      A No, they don't have his experience.
  6      A So again, that's sort of specific to               6       Q Why did Mr. Hackman's experience lead to
  7   what's going on. In certain cases it could be           7   him being paid in this less formal manner rather
  8   because he hasn't been paid for a while. It could       8   than every two weeks?
  9   also be because I -- the firm got more money in         9      A Right. Well, I mean, he was basically
 10   and, you know, he needed the money.                    10   able to work on any -- anything that I needed him
 11         He can tell you himself but he doesn't           11   to work on in drafting for my review in several
 12   ever seem to have any. So many times that would        12   aspects that perhaps Nicole or Garrett or someone
 13   be something I would agree to. And that probably       13   with very little experience. I mean, we're
 14   explains why he would run to the bank,                 14   talking about people that have almost no
 15   potentially, as many times as I would let him in a     15   experience would have.
 16   particular day, just based on money coming in the      16          So obviously he is -- was worth -- more
 17   firm not necessarily related to anything.              17   valuable to me in that way. And like I said, he
 18      Q Okay. So if money came in, the check out          18   was at the office, you know, quite often by his
 19   to Mr. Hackman could happen in very short -- same      19   own choice, I didn't make set hours for him but
 20   day or very short order?                               20   was helpful in the way -- in the way that he was.
 21      A It could.                                         21       Q Was it his legal knowledge and experience
 22      Q And, I guess, do you -- were there any            22   that made him more valuable?
 23   sort of framework around what the expectations for     23      A So -- sure, in that he could, like I said,
 24   you and him relating to payments beyond we'll kind     24   draft documents for my review very, you know,
 25   of work it out as it comes in?                         25   easily whether it be relate to any matter, so, I


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  1      A Not really.                                        1   mean, of course. Neither one of my paralegals
  2      Q It was all just sort of completely                 2   could do anything, you know, near that.
  3   informal between you two?                               3     Q So what differentiated Mr. Hackman from if
  4      A Well, you've seen the checks and                   4   you had an associate attorney at the firm?
  5   they're -- I mean, it's the accounting system is        5     A He can't practice law.
  6   less than desirable but it is what it is.               6        MR. CARDWELL: That would be the main
  7      Q So I have seen the checks, but I actually,         7   difference.
  8   seeing the checks, thought given that there were        8      A Right. That would be the one that stands
  9   so many individual checks that it would have been       9   out to me.
 10   project based.                                         10          BY MR. REICHER:
 11        And, again, maybe I'm wrong. I                    11      Q Right. But in terms of the value that he
 12   understand that you, at some point told me, you        12   provided to you.
 13   didn't have records that X payment went to Y work.     13      A Yeah.
 14   But I didn't understand until we're sitting here       14      Q He couldn't go to court.
 15   today that the individual payments were not for a      15      A No.
 16   specific project?                                      16      Q But other than that, are there areas where
 17      A They could be. I guess that's what I'm            17   there would be a difference in value between
 18   saying. You're asking me to categorize, as you         18   having an associate and having Mr. Hackman with
 19   have recognized, this enormous number of checks in     19   his legal experience?
 20   a certain way and I cannot categorize them in that     20      A I've never had an associate. I can't
 21   fashion as one particular thing.                       21   answer that question.
 22      Q No, I'm just trying to get an idea of --          22      Q Did he do things that you would expect an
 23   having such an informal arrangement between an         23   associate to do?
 24   employee and employer is fairly unusual; would you     24      A Not particularly because an associate
 25   agree?                                                 25   would be able to potentially review their own work



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 1   and file it and submit it and give legal advice to    1      A Like I said I thought it might be similar
 2   their clients, where as in the case of Mr.            2   to what was done in '18 but I wasn't sure, so.
 3   Hackman, he was not able to do.                       3        Q And I'm not disagreeing with your math?
 4       Q Okay. Although -- Would you say that Mr.        4        A I don't know.
 5   Hackman was significantly more valuable than an       5     Q How much was Mr. Denham paid,
 6   ordinary paralegal to you?                            6   approximately?
 7       A I don't know what an ordinary paralegal         7         (Court reporter interruption.)
 8   is. I don't have a frame of reference. I mean,        8        A I want to say that it was in the realm of
 9   I've provided my sort of definitions of what          9   close to 50,000 a year.
10   paralegals are legally able to do under the          10          BY MR. REICHER:
11   professional rules of conduct but, I mean, some      11     Q And Ms. Hale, paid similarly to Mr.
12   people are smarter than others for sure.             12   Denham?
13       Q So let me ask this. How much was Mr.           13        A Similarly Karen may have been paid a
14   Hackman paid in 2019?                                14   little bit less than that, I'm not really comfy
15       A I do not know you have all the checks.         15   with those numbers. But Kimberly was paid
16       Q Okay. Do you -- I mean, I guess you're in      16   similarly.
17   the process of going through the -- your taxes.      17      Q Okay. And I believe Ms. Wilkinson was paid
18   Do you have any sense of what he was paid?           18   less closer to 30 or so?
19       A I don't at this time. I've gotten an           19        A Probably.
20   extension with the pandemic and everything, I have   20        Q Okay. So Mr. Hackman was paid,
21   not -- I have not added it up.                       21   approximately, four times more than the higher of
22       Q Okay.                                          22   your paid paralegals; is that correct?
23       A You're asking, but I'm assuming you have.      23     A I mean, I think that's what you're telling
24   But I really don't know.                             24   me.
25       Q Let me ask. Do you issue him a 1099?           25        Q Do you --


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 1      A I did in 2018, '17 as well. So yeah.             1        A Pardon?
 2      Q Do you have a recollection of what his           2      Q Do you believe that that is inaccurate?
 3   1099 in 2018 showed?                                  3      A No, but you're the one that had to give me
 4      A Two something, I believe.                        4   the numbers for 2019, so I don't believe it's
 5      Q Two hundred thousand something?                  5   inaccurate.
 6      A Yep.                                             6        Q And you told me that your recollection of
 7      Q Okay. And do you have any reason to              7   the 1099 in 2018 was over 200,000, correct?
 8   believe that the amount Mr. Hackman was paid in       8      A I think so. I think so.
 9   2019 differed significantly?                          9        Q So based on the numbers that you provided
10      A I don't know the answer to that.                10   --
11      Q Okay.                                           11        A Or In that realm.
12      A I don't think maybe significant but I'm         12        Q Understood. So based on the numbers that
13   really not comfortable answering because I don't     13   you provided it would be approximately four times
14   know.                                                14   what the other paralegals were paid?
15          Like I said, I haven't added it up. I         15     A Yeah. I mean, that's the math of it all.
16   spent lots of time printing them out so that I       16        Q And how was Mr. Hackman four times more
17   could provide them to you, but I did not let them    17   valuable to you if he wasn't providing the work of
18   out.                                                 18   an attorney?
19      Q So I believe based on the adding that we        19      A He's smart and he's experienced.
20   did --                                               20        Q What is your understanding of the typical
21      A Yeah.                                           21   salary for an experienced paralegal in Las Vegas?
22      Q -- he was paid a little under 206,000 in        22      A I don't have any knowledge of that.
23   2019. Does --                                        23      Q Do you believe it would be anywhere near
24      A Okay.                                           24   $200,000 a year?
25      Q Does that sound about right to you?             25      A I don't know.



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                                                      Page 270                                                   Page 272
  1     Q I will represent to you I went on                       1      A I have answered it. I mean, I said.
  2   Glassdoor, Salary.com and Payscale.com and looked           2         MR. CARDWELL: It's been answered.
  3   at the salaries indicated.                                  3      A He's experienced and smart.
  4      A Yep.                                                   4         BY MR. REICHER:
  5      Q And they gave a range. That the range on               5      Q But if he is not providing legal advice to
  6   those three websites, when I looked on the -- I             6   your clients why that experience and that being
  7   don't remember if it was the top or 75 percent              7   smart so valuable to you as a firm?
  8   range I'm not sure, but the one was 38 to 66 one            8         MR. CARDWELL: It's asked and answered
  9   was 46 to 73 and one was 34 to 69.                          9   tons of different ways.
 10        (Court reporter interruption.)                        10         BY MR. REICHER:
 11        BY MR. REICHER:                                       11      Q Go ahead.
 12      Q So very roughly the high end paralegal on             12      A He's experienced and smart is what I have
 13   the websites were paid give or take 70 grand?              13   answered.
 14        MR. CARDWELL: That's a statement not a                14         MR. CARDWELL: She's answered the same
 15   question.                                                  15   question.
 16      A Is that question?                                     16         BY MR. REICHER:
 17          MR. CARDWELL: It's not a question.                  17      Q Is there anything more than that that you
 18          BY MR. REICHER:                                     18   can provide?
 19      Q Does that sound right to you given your               19      A Well, it's not his looks. Let me think.
 20   understanding of the legal market in Las Vegas?            20   No, I don't think so.
 21      A I am entitled to pay a paralegal what I               21      Q Did he have access to the firm's
 22   feel is appropriate for my firm. So based on the           22   checkbook?
 23   numbers that you gave me from these websites I             23      A He would have the ability to -- at times,
 24   would say I paid him more than that. But I -- I'm          24   yes.
 25   entitled to do that.                                       25      Q Okay. So would he be allowed to sign


                                                      Page 271                                                   Page 273
  1          MR. CARDWELL: You mean glass door and all            1   checks?
  2   that is not any kind of legal standard. We have             2      A No.
  3   no idea how accurate that is.                               3      Q Would he be allowed to write out checks
  4          BY MR. REICHER:                                      4   that you had signed?
  5      Q Ms. Dowling, do you believe that even                  5      A Yes. I mean, if that was the
  6   experienced paralegals make anywhere near $200,000          6   understanding. He didn't have carte blanche, you
  7   a year in Las Vegas?                                        7   know, abilities just to write checks for whatever
  8      A I've already answered that. I said I                   8   or anything for that matter without my permission.
  9   don't know what very experienced paralegals make.           9      Q Understood. But he fiscally would have
 10   You're telling me based on the your research that          10   access to checks that you had signed?
 11   I am paying Shawn more than the average paralegal          11      A At times.
 12   in Las Vegas and that's fine. You can tell me, I           12      Q And when was he and when was he not then?
 13   guess, yeah he's lucky.                                    13      A When he didn't have them then he couldn't
 14      Q Can you explain why you would be willing              14   do that and then when he had them he could.
 15   to pay what appears to be so much beyond the               15      Q Okay. So was there ever a point where you
 16   normal market rate for a paralegal?                        16   rescinded his access to sign checks?
 17       MR. CARDWELL: First of all, I'm going to               17      A There came a point after his medical
 18   object to that in that it's -- I think it's asked          18   episode maybe it was even before his medical
 19   and answered in a couple of different fashions,            19   episode, I can't remember, that I just became a
 20   and secondly, the numbers you are given us I               20   bit concerned about his judgment and asked him not
 21   certainly have no confidence and going on a web            21   to write any checks and that, you know, I could
 22   and, you know, coming up with Glassdoor and all            22   handle that.
 23   that nonsense.                                             23         I don't remember exactly what
 24          So having said that he can answer                   24   transpired with that, but like I said, everything
 25   the question if is she wants.                              25   had to be with my approval, my understanding,



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 1   whether it be down to writing a check for 20 bucks      1   concerns in January -- his permission to rescind
 2   at Staples.                                             2   his access to checkbooks at least for some period
 3      Q Given the informal nature of your payment          3   of time?
 4   arrangement with Mr. Hackman, how would you know        4       A Like I said, for some reason I have a
 5   if he had written himself an extra few hundred          5   sensation that actually -- that the issue that
 6   dollar check?                                           6   came to my attention with Dempsey, I want to say
 7      A I'm sorry. So that hypothetical presumes           7   that I asked him not to write any checks before
 8   that he wrote a check without my permission?            8   that time. Does that make sense? That might have
 9      Q Well, I'm asking how would you know if he          9   been a really bad answer.
10   did given how you described your payments              10           So yes, I mean, it was of great concern,
11   arrangements with him.                                 11   but something tells me that I told him not to do
12      A Uh-huh.                                           12   that prior to that time but I could be wrong.
13      Q And given that you've told me there's no          13       Q In light of what did occur with Mr.
14   sort of records that you could -- this 500 was for     14   Dempsey, why were you comfortable returning his
15   that and this 1500 was for that, and I'm trying to     15   check writing privileges?
16   understand that if he simply written off an extra      16       A It's a good question, but I honestly
17   $500 check to himself how would you have known?        17   believed that he was going to do right by me, and
18      A I would have seen it in the account and           18   I didn't think that this was a pattern of practice
19   would have known that I had not approved that.         19   and, you know, I guess trusted him to do right for
20   That would be probably the most common way that I      20   better or worse, I suppose.
21   would know something like that. Either that or he      21       Q Were there times that rather than issuing
22   told me after the fact, but, I mean.                   22   a check to Mr. Hackman, you issued it to one of
23         (Court reporter interruption.)                   23   his companies?
24         BY MR. REICHER:                                  24       A I believe in my review of the -- I guess
25      Q With so many checks and no system                 25   not review, but when I was going through all the


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 1   recording what specific check is for what, how          1   checks, when I was pulling them all out, I believe
 2   would you keep track and notice that there was one      2   there was very early on in EAD one or two checks
 3   extra check that you hadn't actually authorized?        3   that were written to one of his companies because
 4      A My answer is the same. I mean, with so             4   I -- it's very -- like for example, when I would
 5   many checks, even then, I don't know if I'm just a      5   pay Kimberly, I would pay I think it was called
 6   genius or whatever but I can typically remember a       6   Fat Cat, something like that.
 7   conversation that I just had the day before for         7            That was her LLC and that's how she
 8   example.                                                8   operated as an independent contractor. So I want
 9         So it's my practice to check the account          9   to say there were a couple but it was very, very
10   quite often. So if we had not discussed a check        10   early on that he asked me to make out to an LLC.
11   that he wrote, for whatever reason it maybe, I         11       Q Other than Mr. Mork's situation, which
12   would more than likely notice it.                      12   we've discussed, were there any other concerns
13      Q Was his entitlement to write out checks           13   about mishandling of money that arose when
14   that you had signed, again, with your permission,      14   Mr. Hackman was hospitalized?
15   ever restored post his hospitalization?                15       A When he was hospitalized?
16      A He does have permission at this time, to          16       Q Correct.
17   the extent that he is provided checks, to              17       A So I have a bit of a problem here because
18   handwrite something in, if need be.                    18   I have a -- there was an issue, but I'm not really
19      Q In terms of him handwriting something,            19   able to discuss it as I represent these people
20   that could be a check to him or a check to             20   still.
21   somebody else; is that correct?                        21       Q For the moment, let's do it on a no name
22     A That's correct.                                    22   basis. What happened in terms of concern about
23       Q So there's no --                                 23   misuse of money?
24       A He has my absolute permission.                   24       A It came to my attention or at least I was
25       Q Did the issue with Mr. Mork and his              25   suspicious of the fact that he had written some


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  1   checks that he -- that I had not given my express       1   are going to be drawn. I don't know if he
  2   authority for and that potentially, and I'm not         2   embezzled any funds, misappropriated any funds at
  3   even sure about this, but potentially after a           3   this point.
  4   conversation with a client, he had -- see, I'm not      4          I don't think she knows that, so it's
  5   even entirely sure what transpired but that he had      5   problematic. And it does involve current clients,
  6   represented something to be payment to me as fees       6   and I think it's privileged on that basis
  7   when, in fact, they were not, through --                7   potentially, even the amount of money. That's my
  8           MR. CARDWELL: And that's it.                    8   opinion on it. I'm not trying to be -- it's just.
  9           BY MR. REICHER:                                 9         BY MR. REICHER:
 10       Q I'm not, for the moment, asking about who        10      Q Let me ask Ms. Dowling something. With
 11   this is. I'm just trying to understand. So when        11   the understanding that it hasn't been fully
 12   you said that he wrote checks he wasn't supposed       12   investigated, you're not sure exactly what has
 13   to, I assume the "he" there was Mr. Hackman?           13   happened, do you have a concern that Mr. Hackman
 14       A At least my perception was that, yes, he         14   may have embezzled funds?
 15   had written a couple of checks that I had not          15     A I suppose it could be a concern, that's
 16   given my prior authority to to write and they          16   why it's being dealt with between my clients and I
 17   were, if my memory is serving me correctly, they       17   but at this time, I couldn't say that.
 18   were not even to him, they were to third parties.      18      Q We have been told about an issue relating
 19           And I mean, to go along with what Rob          19   to funds in the amount of $20 to $25,000. Does
 20   said, it's difficult for me to discuss this            20   that sound like we're talking about the same issue
 21   because it's an issue that's being worked out and      21   here?
 22   with clients that I continue to represent. So I'm      22      A I honestly don't know. I would have to
 23   not really comfortable saying anything beyond          23   know what you were talking about.
 24   that.                                                  24      Q Do you have a sense of how much money you
 25       Q And again, I'm sensitive to your client          25   were talking about in the situation that you have


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  1   concerns, and I'm not trying to invade anything         1   been discussing?
  2   that's privileged but having said that, I'm trying      2       A I think Rob was pretty clear that we're
  3   to understand why would Mr. Hackman have made           3   not talking about amounts but also part of this
  4   payments to third parties without your                  4   investigation -- when I say investigation, I just
  5   authorization?                                          5   mean internally and between my clients and I.
  6      A You would have to ask him that.                    6   There is a whole bunch of discrepancy and
  7         (Reporter interruption.)                          7   potentially just misunderstanding about what A,
  8         MR. CARDWELL: Again, I'm going to object.         8   the number is; and B, how many was to be
  9   It's currently under investigation. There are           9   allocated. So I'm just not comfortable giving you
 10   people involved, there are current clients --          10   an answer as to the amount.
 11      A Investigation by --                               11       Q I fail to see how the amount could
 12        MR. CARDWELL: Investigation by the                12   possibly be privileged, but I'm not sure debating
 13   clients and Elaine, so I just don't -- I -- it's       13   further right now is productive. Does -- I'm not
 14   potentially privileged. There's work product           14   asking the specific client -- but does this client
 15   issues involved and she he messed with the money       15   matter relate to SEC work?
 16   and she gave you a general rough claim of what         16       A Potentially. Did you say current SEC
 17   happened.                                              17   work?
 18        MR. REICHER: Mr. Cardwell, we're talking          18       Q I think I just said SEC work.
 19   about potential misappropriation of funds by Mr.       19       A Okay. Potentially.
 20   Hackman. That clearly is relevant. The amount of       20       Q We mentioned the work and we mentioned
 21   money involved wouldn't be privileged.                 21   this client, are there any other clients that have
 22        MR. CARDWELL: My concern -- I agree in --         22   raised money concerns that came up in or around
 23   in a certain sense I agree with you. My concern        23   the time Mr. Hackman --
 24   is that things are going to be said or                 24       A I mentioned, too, that I was aware of
 25   determinations are going to be made or conclusions     25   outside Mr. Mork which we've just gone through.


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 1          (Reporter interruption.)                       1   determined at this point, but concerns that Mr.
 2       A My attention span is dwindling and I'm not      2   Hackman may have misused funds?
 3   remembering what I exactly said. I mentioned to       3       A I don't even know if I can characterize it
 4   you, obviously, the incident regarding Mr. Mork,      4   as misuse. I don't know enough to really say
 5   and then just now discussed two situations where I    5   what's happened or not happened.
 6   have concern, and I'm dealing with. Are you           6       Q Have either of the clients accused Mr.
 7   asking me for anything outside of those things?       7   Hackman of misusing funds?
 8       Q Yes. Are there any beyond those three?          8       A Not in very direct. Well, but the
 9       A I don't believe so. Is your question            9   insinuation was made that funds were misused or
10   limited to SEC matters or anything?                  10   delayed.
11       Q For the moment here, let's say anything.       11       Q In general terms, was this insinuation
12       A I mean, my answer, actually, hasn't            12   made by both of these clients?
13   changed, but I just wanted clarification, for the    13       A More one. One more so than the other.
14   record, I guess and not off the top of my head can   14       Q For the one who made this insinuation,
15   I think of anything.                                 15   what is their concern?
16       Q I did not understand the previous thing we     16       A I think that more of a concern is -- I
17   were talking about to involve two separate           17   really don't know. I'm in the process of working
18   clients.                                             18   it out with this particular client. I think we're
19          But I might have explained that. So are       19   close.
20   -- what we discussed and what we had the sort of     20          I think more so than anything it could be,
21   disagreement of money and what have you, are the     21   anyway, like I said potentially it's related to I
22   two clients there related to each other or are       22   have an accounting issue and potentially just a
23   they two separate issues of potential -- I'll say    23   misunderstanding.
24   potential embezzlement?                              24       Q Have either clients asked you to pay back
25       A So I mean, embezzlement, I don't know if I     25   certain funds?


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 1   would agree that I classified any potential issues    1        MR. CARDWELL: Again, that's privileged
 2   as embezzlement when just giving you my testimony.    2   and we're not going there.
 3   They are two separate clients, and I really don't     3      A I represent both of these clients very
 4   know that either one of them have been                4   actively and I just -- I'm not comfortable.
 5   substantiated and I continue to work for both.        5         BY MR. REICHER:
 6       Q And I'm not going to rekindle, debate of        6      Q Again, I fail to see saying whether
 7   whether you're going to tell us money or the          7   unnamed clients have asked for you to pay back
 8   clients or anything like that. I just want to         8   funds would be privileged.
 9   make sure I understand so there are two entirely      9      A Well, I suspect that you have a name in
10   separate clients raising concerns about how funds    10   mind.
11   have been accounted for?                             11          MR. CARDWELL: They're not really unnamed
12       A Potentially, yes.                              12   clients, Eric. You're talking about a real
13       Q Again with the idea that nothing has been      13   situation.
14   substantiated but do the concerns for each of        14          So you you're talking about real
15   these clients relate to Mr. Hackman?                 15   communications. So I really think that that's a
16       A Yes, they related to -- I mean, it related     16   reasonable objection under those circumstances.
17   to some active conduct. Yes.                         17         BY MR. REICHER:
18       Q I don't think I'd ever clearly asked           18      Q I don't agree but I'm not going to debate
19   whether it was Garret or anyone else that it was     19   at this point?
20   potential concern about?                             20          MR. CARDWELL: I understand. I get that.
21       A Fair enough. We're -- we know why we're        21         BY MR. REICHER:
22   here, so I guess I just made that leap?              22      Q Now, we talked in the beginning in terms
23       Q Just so we're all clear and the record is      23   of Mr. Hackman's disbarment. If Mr. Hackman had
24   clear, in each of these two separate cases there     24   had a history of misappropriating client funds,
25   are concerns, and not saying it's firmly             25   would that make you have concerns given the



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  1   current concerns raised by those two clients?         1    a few checks since I've learned of the Dempsey
  2      A If he had previously been accused or             2    thing.
  3   previously, been for lack of a better term,           3             MR. CARDWELL: Okay.
  4   convicted of it or had discipline action because      4             BY MR. REICHER:
  5   of it?                                                5       Q Since I know you want to wrap up soon, let
  6            Can you narrow it down?                      6    me go back to one issue.
  7      Q Any of that. Let's just say he had been          7      A 17 minutes ago.
  8   accused of misappropriating funds in the past         8       Q We talked before about what Ms. Dowling
  9   would that make you now nervous?                      9    made at EAD Law, and I understand your objections
 10     A Sure.                                             10   being that that's personal and not relevant. I'm
 11     Q Would that have been something that you           11   going to renew the question because in light of
 12   would have wanted to know before hiring him?          12   the testimony that we've just seen where Mr.
 13     A Yes.                                              13   Hackman is being paid roughly four times what
 14      Q When he moved from Gewerter Law to EAD,          14   paralegals would normally make, and in Ms. Dowling
 15   did you do any further background check, any sort     15   position she's entitled to pay him whatever she
 16   of investigation into him prior to hiring him?        16   wants and that's true; but given that it appears
 17       A No. I didn't do any further                     17   to be far closer to an attorney salary than a
 18   investigation. I worked for him for a substantial     18   paralegal and given the formal spread that exists
 19   amount of time, close to three years I think at       19   between a lawyer/owner of a firm and a paralegal
 20   Gewerter, and I didn't have any reason to believe     20   employed and for that matter an associate employed
 21   other than what I knew about the -- some of the       21   but particularly who is a paralegal, I believe it
 22   facts surrounding the disbarment, I had no reason     22   is relevant to know what Ms. Dowling makes to be
 23   to believe that that was a particular problem.        23   in a position to compare and contrast what Mr.
 24      Q And that's before you understanding the          24   Hackman makes.
 25   disbarment didn't have anything to do with misuse     25            Because to the extent they are comparable


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  1   of client funds.                                       1   or to the extent Mr. Hackman were to even make
  2          Is that correct?                                2   more than Ms. Dowling, that would certainly call
  3       A Yeah, I have to say that is correct, and I       3   into question the role that Mr. Hackman was
  4   could be mistaken on that and maybe I'm                4   playing at the firm.
  5   categorizing what I remember about that in a           5         And the standard or the relevancy is quite
  6   different way, but I don't necessarily remember        6   low, and I think Karen sent the comp thing and I'm
  7   that being part of the allegations.                    7   going to see if I can't find it --
  8       Q Let me ask you, given what happened with         8      A Just to be perfectly clear, Eric, I told
  9   Mr. Mork and given the concerns raised by these        9   you I was not going to give you my personal
 10   two other clients, would you feel comfortable         10   banking information. I really -- I really don't
 11   giving Mr. Hackman back access to some checks of      11   think I have a problem telling you how much money
 12   the firm?                                             12   I made in 2019 or 2018, but I said that I did not
 13       A I'm going to put it to you, I guess, as         13   know about 2019 because I really haven't done that
 14   simply as I can, and you know, obviously, I have      14   math.
 15   to do some sort of intersection there, but quite      15          So to the extent that you're just asking
 16   simply, I wouldn't expect him to hurt me. I           16   for those numbers, I'm willing to provide them.
 17   wouldn't expect him to do that to me. I would         17   You know, I'll have my counsel think about it but
 18   expect him to tell the truth.                         18   I mean, I think that that's fair, as long as
 19          I think that -- and unfortunately, maybe       19   that's what you're asking for.
 20   naively and mistakenly believed that he would be      20          BY MR. REICHER:
 21   truthful with me going forward.                       21     Q That is what I'm asking for, so I guess I
 22          MR. CARDWELL: In fairness, Elaine, I'm         22   understand that the 2019 numbers may not be
 23   not sure. I think the question really was would       23   available at this point. Do you know what the
 24   you allow it.                                         24   2018 number would be?
 25       A No, I already told him that he has written      25      A If I'm not getting my hairs mixed up, but



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 1   I really don't know what the number is, but if I'm     1   would not necessarily reflect all payments or
 2   not getting my hairs mixed up between '17 and '18      2   something like that, obviously business expenses,
 3   it's going to be a lot higher in -- it's either        3   your rent, your salaries to the paralegals,
 4   '17 or '18, it's going to be a lot higher than         4   obviously that all comes out but the K-1, I
 5   $200,000 but it requires me to go through quite a      5   believe, but I'm not a business owner, would show
 6   bit to figure that out but that's okay.                6   your profits from the business; is that correct.
 7        Q Would you be -- we're going to come back        7       A It won't -- so far as I understand it,
 8   on Monday.                                             8   it's not going to provide the personal income that
 9           Would you be able by Monday to look at         9   I made.
10   what records you have for '17 and '18?                10           Okay. Now, I'm not an accountant. I'm
11        A Maybe. It's going to require me to dig a       11   just saying that I'm not entirely sure that such a
12   bit and the reason I say so -- the reason it's not    12   quick glance at some of those documents is going
13   necessarily because a K-1 was done for the            13   to give you the answer that you were looking for
14   business in conjunction with a joint filing with      14   which is how much more, less or equal to Hackman
15   my husband and I. My K-1 is not indicative            15   did Elaine make; is that fair?
16   necessarily of my personal income. Does that make     16       Q Right, that's fair.
17   sense?                                                17       A And my point is, I don't know just by
18        Q Is it not indicative of your personal          18   looking at that document, which I would need to
19   income through firm work or are you just saying       19   find or get in touch with my accountant, I don't
20   more broadly?                                         20   know that just looking at that document is really
21        A I'm saying that, you know, every single,       21   going to give you that information but I can go
22   you know, thing that I pay for related to the firm    22   through text.
23   obviously comes outside of the taxes and so forth.    23       Q If -- let me ask you this, if from your
24   So I -- I'm trying to think if there's just an        24   lacking or talking to your accountant you think
25   easy way to do this. I can talk to my guy or I        25   the number that's reflected on the K-1 does not


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 1   can just go through and add it up. I can't             1   accurately reflect what you received from the
 2   promise you Monday, but I'll shoot for it. How is      2   business, would you be willing to tell us what the
 3   that?                                                  3   K-1 number is and then what you believe is the
 4      Q With the understanding that it may be a           4   more accurate number?
 5   little more complicated in terms of Monday, are        5      A I don't know.
 6   you agreeing to provide us the number and it's         6           MR. CARDWELL: I have a thing about that.
 7   simply a matter of you're sure whether you can do      7   Why don't we define what the number is. Okay. So
 8   it by Monday or is there some hesitation to            8   what we're really trying to find out is what she
 9   providing the number period?                           9   paid herself after all her expenses, correct?
10     A I don't -- like I said, I can talk to Rob         10           MR. REICHER: Correct.
11   about this, but quite honestly, I don't have a        11           THE WITNESS: What I paid myself after all
12   problem providing those numbers. I don't know         12   of my expenses?
13   that I can promise it by Monday but I can shoot       13           MR. CARDWELL: Well, yeah, after the firm
14   for it.                                               14   expenses because.
15          I would rather just have it over with,         15           THE WITNESS: Those are paid monthly by me.
16   but I don't have a problem providing those            16           MR. CARDWELL: Right. But what I'm saying
17   numbers, '17, '18, '19 to the extent 19 is not        17   is what you actually -- your gross take home,
18   available but '17 and '18 could be a deal too just    18   shall we say that. We don't mean take home in the
19   to look into, however, with that said, I'll           19   net sense, we mean what you actually paid yourself
20   provide the numbers, but I don't expect that you      20   after all firm expenses. Am I right, Eric, that's
21   would expect anything else out of my personal         21   what you're looking for?
22   checking account.                                     22           MR. REICHER: Correct but obviously the
23     Q I'm just interested in monies that you            23   firm expenses have to be factored in because the
24   made from work at EAD. So I guess I want to make      24   firm might have grossed $1 million but if between
25   sure you understand that when you said your K-1       25   rent --



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  1          MR. CARDWELL: Exactly.                         1          MR. REICHER: I would like the number and
  2          MR. REICHER: -- and salaries you only          2   presumably there is some documentation supporting
  3   pulled in two -- I mean, and I'm making up the        3   that. And again --
  4   numbers, obviously, but the two is the relevant       4          MR. CARDWELL: It would not be privileged
  5   number, not the million.                              5   tax records in some way.
  6          THE WITNESS: I understand. Yeah. I get         6          THE WITNESS: Yeah, handing over my tax
  7   you.                                                  7   returns, I don't feel like is appropriate because
  8          Like I said, the problem that I had was        8   there's a lot of that goes into that that's
  9   providing my personal banking information, you        9   completely unrelated to any of this, trust me,
 10   know, I'm under oath, and I'm required to tell the   10   including my husband's income.
 11   truth, so if I give you that information, I don't    11          MR. REICHER: And we're not interested in
 12   expect any subpoenas for my personal banking         12   that and so there would presumably be ways to
 13   information.                                         13   provide some sort of documentation to support what
 14          MR. CARDWELL: Is that fair, Eric?             14   is EAD Law income without getting into your
 15          MR. REICHER: Is what fair?                    15   husband income or if you have some other business
 16          MR. CARDWELL: She gets you her gross          16   or if you have a trust or I'm not looking for any
 17   income for '17, '18, well, at some point '19 I       17   of that stuff.
 18   guess what she can offer, and it's her gross         18          I'm -- but Mr. Cardwell, let's say Ms.
 19   income before she takes taxes out but after her      19   Dowling comes to us and just says a number,
 20   business expenses are paid.                          20   whatever is, whether it's $100,000, $600,000, a
 21          THE WITNESS: Isn't that net?                  21   million.
 22          MR. CARDWELL: Well, there's net -- your       22          We can't necessarily just say, okay,
 23   net income is actually your personal income taxes.   23   we've been told the number and that's it. We do
 24   He wants your gross income. He just doesn't want     24   have -- it is reasonable for us to want to have
 25   the business because it's a lot of expenses for      25   some sort of documentation supporting that rather


                                           Page 295                                                  Page 297
  1   the business, he doesn't want those factored in,      1   than purely simply taking it at face value, and
  2   because that's not really your income. So if I'm      2   not even necessarily saying that Ms. Dowling is
  3   not mistaken.                                         3   going to misrepresent something to us, but just to
  4          So she just said you're agreeing in            4   make sure that what I'm talking about is the same
  5   exchange for that not to get into her personal        5   thing.
  6   bank account for finances and so forth.               6          MR. CARDWELL: I think your point is fair.
  7          MR. REICHER: Hold on. I'm not interested       7   The only reason why I said it the way I said it
  8   in her personal finances. I am not necessarily --     8   was because that's what you're doing right now,
  9   to the extent there are questions I need to           9   you're taking oral testimony and to the extent you
 10   confirm or check information that's provided --      10   want some sort of substantive documentation
 11   it's unclear to me whether you're planning on just   11   subsequent to that that would support that number,
 12   sort of orally telling me this is the number or      12   I'm not sure she would object to it. But since
 13   giving me any records that would back up the         13   you'll be continuing on Monday, you can ask the
 14   number.                                              14   question again. Probably the only thing she can
 15          So just to be clear, I'm not sitting here     15   give you is an answer orally on the record and the
 16   agreeing necessarily to not subpoena any             16   only way for her to get that would be from
 17   particular records. I'm not saying that. I just      17   contacting her account.
 18   want it to be really clear I have not necessarily    18          THE WITNESS: Or by quite literally going
 19   agreed to anything on that term.                     19   through my account to see any checks, transfers,
 20          MR. CARDWELL: Well, let me say this. Is       20   etc. that went into my personal account would --
 21   it your -- do you want it in some form of writing    21   because I don't pay bills for the firm out of my
 22   or do you want her to contact her accountant,        22   personal account, I don't pay payroll out of my
 23   explain to him what the number that she needs to     23   personal account, that would be my net.
 24   get to you. That's probably what she's going to      24          MR. CARDWELL: Okay.
 25   end up doing.                                        25          THE WITNESS: Do you see what I'm saying.


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                                                   Page 298                                                   Page 300
 1         MR. CARDWELL: Yes.                                  1   related to EAD Law would not be the most accurate
 2         THE WITNESS: So anything that was                   2   way to see what income you derived from the firm?
 3   transferred to EAD to Elaine personal, which is a         3       A Because my tax return related to EAD Law
 4   joint account with my husband, but I'm saying             4   is not indicative of how much money my personal
 5   anything that was transferred from EAD to my              5   account got in from EAD Law.
 6   personal account would be net income and anything         6        MR. CARDWELL: And the question would be
 7   that, you know, all business expenses or payroll          7   why wouldn't it be?
 8   or anything related to the business would not be          8     A Because I don't think that's the way it
 9   included in those numbers because I don't pay any         9   reads. Everything is written off and you know
10   of that stuff out of my personal account, it's           10   what I'm saying. So I'll take a look at it. I
11   paid out of my business. Fair?                           11   will agree -- I will promise you I will take a
12         MR. REICHER: Understood.                           12   look at it.
13         BY MR. REICHER:                                    13         If I think that there is a section
14      Q Let me ask you, if you tend to write, like          14   that doesn't contain other personal information
15   you wrote a check for Mr. Hackman, would you tend        15   other than what I've agree to provide you that
16   to write a check to yourself or would you use            16   would be an accurate depiction of how much
17   wires or?                                                17   personal income I took in from EAD, I'll give you
18      A This is why I'm so bewildered right now             18   that number and I'll even give you an excerpt
19   because most of the time I would just do a               19   showing you how I derived that number.
20   transfer unlike -- so it's just going to be a bit        20        I'll talk to my tax guy, I'll go through
21   time consuming and nothing really tricky about it,       21   my own documents. I can even make a spreadsheet
22   just time consuming to go through all that.              22   of all the transfers or whatever I've done. So I
23      Q Although I presume that you would have had          23   will agree to do that, but that's the extent of
24   to either do that or provide the rope numbers to         24   what I'm willing to do in terms of substantiating
25   your accountant at some point I would think, no?         25   how much money I made.


                                                   Page 299                                                   Page 301
 1           MR. CARDWELL: I'm just wondering if a             1         BY MR. REICHER:
 2   call to the accountant -- I don't know.                   2      Q Okay. I understand that and again, I'm
 3       A I don't either and I would prefer to see            3   not an accountant but I guess I'm still --
 4   it with my own eyes what was actually coming into         4   obviously, you have write-offs and business
 5   my personal bank account rather than to rely on my        5   expenses and stuff like that, but I'm still, based
 6   taxes, let's put that it way, and I'm not really          6   on my understanding which may be incorrect, that a
 7   comfortable turning over tax information like             7   K-1 from EAD Law I would think would show profits
 8   that.                                                     8   derived from the firm which I believe would be the
 9           I mean, maybe I could get that number from        9   same number as sort of the net that you would get
10   there, but I don't know if that's really an              10   and be able to transfer to a personal account?
11   accurate -- I just don't know.                           11     A The number from the K-1 is going to be how
12           MR. CARDWELL: I'm going to say that I            12   much the company netted less write-offs and
13   think that there's a way to do this without              13   expenses.
14   worrying about tax documents by first getting            14         MR. CARDWELL: I think the K-1 is not
15   something you can orally testify to that is at           15   that. I think the K-1 does show you the gross
16   least a reasonable estimate that the SEC does not        16   amount that you are paid by your business. I
17   have to actually rely on, and then determining if        17   don't think the K-1 -- but I think the business
18   there's a way we can create a document or there          18   expenses are not in the K-1 but I could be wrong.
19   exists a document that they can rely on without          19         BY MR. REICHER:
20   turning over any tax -- without turning over             20      Q You two own firms. I don't. Why don't we
21   returns.                                                 21   see what the accountant has to say and we can go
22           BY MR. REICHER:                                  22   from there.
23       Q And again, just to be clear, I'm not               23         MR. CARDWELL: Fair enough.
24   looking for returns but I guess could you explain        24         MR. REICHER: We have a little closing
25   a little more why the part of your tax return            25   script, but give me 30 seconds to make sure with



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                                         Page 302                                                                            Page 304
  1   Ms. Shimp there's nothing else. Give me one          1              PROOFREADER'S CERTIFICATE
  2   second.                                              2
  3          MR. CARDWELL: Okay.                           3    In the Matter of: POTENTIAL MISCONDUCT RELATING TO
  4          (Pause in the proceedings.)                   4    DISBARRED ATTORNEY
  5          BY MR. REICHER:                               5    Witness: Elaine Dowling
  6       Q If we went off, we're back on. If we did       6    File No: GC-0813
  7   go off, I'm not sure, did we have any discussions    7    Date:      Thursday, August 13, 2020
  8   regarding her testimony?                             8
  9       A That's a question to me? Is do I have any      9        This is to certify that I, Christine Boyce, (the
 10   questions.                                          10    undersigned) hereby certify that the foregoing transcript
 11       Q No. No. No. If we went off the record,        11    is a complete, true and accurate transcription of all
 12   which as I said I'm not sure. Did you have any --   12    matters contained on the recorded proceedings of
 13   in the time from when you took the short break to   13    the investigative testimony
 14   now, did Ms. Shimp or I discuss your testimony at   14
 15   all?                                                15
 16       A No.                                           16    __________________________ ___________________
 17       Q Now, now at this time we are adjourning       17    (Proofreader's Name)                (Date)
 18   your testimony to Monday the 17th. Is it your       18
 19   preference to start at 7:30 Pacific again?          19
 20       A Let me ask Rob because I prefer to get        20
 21   started early. I get tired later in the afternoon   21
 22   so and I know that you're on the east coast so I    22
 23   prefer just to rock and roll. So if 7:30 works      23
 24   for you, it works for me.                           24
 25          MR. CARDWELL: That's fine.                   25


                                         Page 303                                                                            Page 305
  1          MR. REICHER: We're adjourned until 7:30       1      CERTIFICATE OF SHORTHAND REPORTER- E-NOTARY PUBLIC

  2   Monday morning, I believe that's the 17th. And       2          I, Okeemah S. Henderson, the officer before whom

  3   Ms. Dowling although the testimony is adjourned,     3   the foregoing proceedings were taken, do hereby certify

  4   you remain under subpoena. Ms. Dowling, do you       4   that the foregoing transcript is a true and correct record

  5   wish to clarify anything or add anything to the      5   of the proceedings; that said proceedings were taken by me

  6   statement you've made today?                         6   stenographically and thereafter reduced to typewriting

  7          THE WITNESS: Not at this time.                7   under my supervision; and that I am neither counsel for,

  8          MR. REICHER: Mr. Cardwell, do you wish to     8   related to, nor employed by any of the parties to this case

  9   ask any clarifying questions?                        9   and have no interest, financial or otherwise, in its

 10          MR. CARDWELL: Not at this time. I'd          10   outcome.

 11   rather reserve that until the end.                  11          IN WITNESS WHEREOF, I have hereunto set my hand
 12          MR. REICHER: Okay. We'll do the same         12   and affixed my notarial seal this 25th day of August, 2020.
 13   script again, so you'll have that opportunity.      13   My commission expires:
 14          MR. CARDWELL: Okay.                          14   August 31, 2024
 15          MR. REICHER: Then we are off the record      15   E-NOTARY PUBLIC IN AND FOR THE DISTRICT OF COLUMBIA
 16   at 7:40 Eastern.                                    16
 17          (Whereupon, at 7:40 p m., the examination    17
 18   was concluded.)                                     18
 19                *****                                  19               ___________________________
 20                                                       20                Okeemah S. Henderson, LSR
 21                                                       21                Official Court Reporter
 22                                                       22
 23                                                       23
 24                                                       24
 25                                                       25




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